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                      EXHIBIT B
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STATE OF MINNESOTA                                                               DISTRICT COURT

COUNTY OF RAMSEY                                                    SECOND JUDICIAL DISTRICT


                                                                                  Case Type: Other
In the Matter of the National Collegiate
Student Loan Trusts 2003-1, 2004-1,                                         File No. 62-TR-CV-16-5
2004-2, 2005-1, 2005-2 and 2005-3.




      PETITION OF U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE
     TRUSTEE, FOR INSTRUCTIONS IN THE ADMINISTRATION OF TRUSTS
                  PURSUANT TO MINN. STAT.§ 501C.0201

    TO THE DISTRICT COURT FOR THE SECOND JUDICIAL DISTRICT:

          1.      Petitioner U.S. Bank National Association ("U.S. Bank") files this
petition (the "Petition") solely in its capacity as indenture trustee (the "Indenture
Trustee") acting for the benefit of the holders of notes issued through certain
securitization trusts (the "Indenture Trusts") in connection with the following
Delaware Statutory Trusts: National Collegiate Student Loan Trust 2003-1, National
Collegiate Student Loan Trust 2004-1, National Collegiate Student Loan Trust 2004-2,
National Collegiate Student Loan Trust 2005-1, National Collegiate Student Loan
Trust 2005-2 and National Collegiate Student Loan Trust 2005-3 (the "Issuers").
          2.      The Indenture Trustee seeks the Court's instruction regarding VCG
Securities LLC' s ("VCG") attempt to appoint Odyssey Education Resources LLC
("Odyssey") as a servicer or special servicer for each Issuer under a December 30,
2014 servicing agreement (the "Odyssey Agreement"). I VCG holds all, or the
majority, of the beneficial interest in each Issuer and is attempting to act through the
owner trustee to (1) appoint Odyssey as servicer or special servicer and (2) direct


1
    A true and correct copy of the Odyssey Agreement is attached as Exhibit 1.
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approximately $1.46 million in indenture trust funds to Odyssey.
       3.      The Indenture Trustee's rights and responsibilities are contained in an
indenture entered into with each Issuer (the "Indentures"). Under the Indentures, the
Indenture Trustee maintains certain trust accounts that hold funds for payments to
Noteholders and other parties including servicers. In this case, the Indenture Trustee
has been instructed to release trust funds to pay numerous invoices from Odyssey,
but is concerned that payment of such funds may violate the terms of the Indentures
and harm the N oteholders.
       4.      Among the Indenture Trustee's concerns is the fact that Odyssey does
not appear to have actually performed any services to benefit the Noteholders.
Additionally, Odyssey's appointment appears to alter the current servicing
arrangements in a way that requires, at the very least, Rating Agency Confirmation
and Noteholder consent. Lastly, the Odyssey Agreement grants Odyssey the power
to purchase trust assets at below-market value, which creates a potential for self-

dealing.
       5.      The Indenture Trustee seeks the Court's instruction on three issues.
First, the Indenture Trustee seeks instruction regarding whether,          und~r   the
Governing Agreements,2 Odyssey was properly appointed as a Servicer or Special
Servicer and whether the Odyssey Agreement is valid and binding, such that the
Indenture Trustee should release funds necessary to compensate Odyssey for any
future services performed.
       6.      Second, to the extent Odyssey was properly appointed as Servicer or
Special Servicer and the Odyssey Agreement is valid and binding under the
Governing Agreements, the Indenture Trustee seeks instruction regarding how to
resolve certain conflicts between the Odyssey Agreement and the Governing
Agreements.
2
 The "Governing Agreements" include, for each Issuer respectively, the Trust Agreement, Indenture,
the Servicing Agreement, the Administration Agreement and the Special Servicing Agreement.
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        7.      Third, to the extent Odyssey was properly appointed as Servicer or
Special Servicer and the Odyssey Agreement is valid and binding under the
Governing Agreements, the Indenture Trustee seeks instruction regarding whether to
release the funds necessary to pay Odyssey's outstanding invoices, although Odyssey
has not provided the Administrator or Indenture Trustee any evidence that it has
performed any services for the Issuers, and the Indenture Trustee has not received
any funds for forwarding to Noteholders generated by Odyssey's alleged servicing
activities.

                                      Jurisdiction and Venue
        8.      The Indenture Trustee is a national banking association and has its
principal corporate trust office in St. Paul, Minnesota. This Court has jurisdiction in
rem over this Petition under Minn. Stat. § 501C.0201 because the Indenture Trusts'

assets are administered by and through the Indenture Trustee's St. Paul corporate
trust office.
        9.      This petition is properly venued in this Court pursuant to Minn. Stat.§
501 C.0207 (2) (ii).
                                Issuance of Student Loan-Backed Notes
        10.     Each Issuer is a Delaware Statutory Trust for which Wilmington Trust
Company acts as the current trustee (the "Owner Trustee").
        11.     The Issuers were created to facilitate the issuance and sale of notes (the
"Notes") backed by private student loans (the "Loans") to investors (the
"Noteholders"). To facilitate this process, each Issuer pledged its interest in the Loans
to the Indenture Trustee under an Indenture.3 The Notes entitle the Noteholders to a
portion of the cash flows generated by repayment of the Loans.
        12.     Each Issuer also retained an interest in any residual cashflow generated


3 A true and correct copy of the Indenture relating to National Collegiate Student Loan Trust 2005-3 is
attached as Exhibit 2. The terms of the 2005-3 Indenture relevant to this Petition are substantially similar
to those of the other Indentures.
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by the Loans after the Notes are paid in full.

                                       Additional Relevant Parties

          13.     In addition to the Owner Trustee, the operations of each Issuer and

Indenture Trust are carried out by numerous parties including the Indenture Trustee,

Servicers, a Special Servicer, and an Administrator.

          14.     U.S. Bank is the Indenture Trustee of, and is responsible for

administering, each Indenture Trust. This includes holding deposits received from

the Servicers or Special Servicer, making distributions to Noteholders in accordance

with reports received from the Administrator, and making reports or other

information received from various parties available to Noteholders.

          15.     The Pennsylvania Higher Education Assistance Agency ("PHEAA") acts

as the primary Servicer for each Issuer. Each Servicer collects principal and interest

payments on the Loans from the borrowers and remits those payments to the

Indenture Trustee for distribution to Noteholders.

          16.     First Marblehead Education Resources, Inc. ("First Marblehead") was

the original Special Servicer and U.S. Bank was the back-up Special Servicer for each

Issuer under the Special Servicing Agreement dated March 1, 2009 (the "Special

Servicing Agreement").4 When First Marblehead later resigned, U.S. Bank succeeded

First Marblehead as Special Servicer. Under the Special Servicing Agreement, the

Special Servicer provides certain services for Loans that are more than 30 days

delinquent. U.S. Bank later contracted with Transworld Systems Inc. ("TSI") to act as

Sub-Servicer and with Turnstile Capital Management, LLC ("TCM") to act as Special

Sub-Servicer for each Issuer.

          17.     GSS -q?ta Services Inc. ("GSSDS") acts as the Administrator for each

Issuer (the" Administrator") under an Administration Agreement (collectively, the

"Administration Agreements").5 The Administrator performs certain duties under
4
    A true and correct copy of the Special Servicing Agreement is attached as Exhibit 3.
5
    A true and correct copy of the Administration Agreement relating to National Collegiate Student Loan
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the Governing Agreements including directing payment of expenses of the Issuers

and creating monthly reports to Noteholders.
        18.     VCG holds all, or the majority, of the beneficial interest in each Issuer.
As the Issuers' owner, VCG has instructed the Owner Trustee to take certain actions

with respect to Odyssey and the Odyssey Agreement. Upon information and belief,
VCG owns, controls, or is otherwise affiliated with Odyssey.

                                         The Odyssey Agreement

        19.     On December 30,2014, VCG directed the Owner Trustee to enter into
the Odyssey Agreement, which purports to appoint Odyssey as a "Servicer" for each

Issuer. Before this, neither the Administrator nor the Indenture Trustee was involved

in or aware of the negotiation or execution of the Odyssey Agreement.
        20.     While the Odyssey Agreement purports to appoint Odyssey as a
"Servicer," the Odyssey Agreement allows Odyssey to perform certain collection and

enforcement services with respect to Loans that are more than 30 days delinquent.
The Special Servicing Agreement also provides for U.S. Bank as the Special Servicer to

perform similar services with respect to Loans that are more than 30 days delinquent.
As a result, it is unclear whether the Odyssey Agreement appoints Odyssey as a

Servicer or replacement Special Servicer. This distinction is significant because the
procedures for appointing a Servicer differ from those for appointing a replacement

Special Servicer.

        21.     A Servicer cannot be properly appointed unless 10 days' prior notice of
the appointment is provided to the Rating Agencies and, during the 10 days, none of
the Rating Agencies notify the Administrator or the Indenture Trustee in writing that
the appointment will result in a reduction or withdrawal of the Notes' current rating. 6


Trust 2005-3 is attached as Exhibit 4. The terms of the 2005-3 Administration Agreement relevant to this
Petition are substantially similar to those of the other Administration Agreements.
6 See, e.g., Ex. 2 at A-20, A-23 (defining "Rating Agency Condition" and "Servicer"). Additionally, to the
extent the Odyssey Agreement would increase the amount of servicing fees being paid, the Indentures
require that the Rating Agencies be given 10 days' prior notice and, during the 10 days, none of the
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        22.     A replacement Special Servicer cannot be properly appointed without
written confirmation from each Rating Agency (other than Fitch, Inc.) that the
appointment will not result in a reduction or withdrawal of the Notes' current
rating. 7 Here, to the extent Odyssey is able to service Loans pursuant to the Odyssey
Agreement, it will effectively replace U.S. Bank as Special Servicer as to such Loans. 8
        23.     On February 4, 2015, the Administrator received a letter from VCG
requesting that the Administrator acknowledge the Odyssey Agreement. 9 This letter
stated that "the Rating Agency Condition has been satisfied." This letter, however,
did not attach or describe the purported notice and did not attach or describe any
confirmation from the Rating Agencies that the appointment would not result in a
rating reduction or withdrawal. Neither the Administrator nor the Indenture Trustee
was involved in or aware of the purported satisfaction of the Rating Agency
Conditions with respect to the Odyssey Agreement. Thus, it is unclear if the Rating
Agency Conditions for appointment of Odyssey as a Servicer have been satisfied,
much less the more stringent conditions for replacement of a Special Servicer.
        24.     The Odyssey Agreement also materially alters how Loans may be
released from the Indentures. The Odyssey Agreement permits Odyssey to purchase
defaulted Loans at below-market prices, which is not allowed by any of the other

servicing agreements.
        25.     Another potential defect in Odyssey's appointment as Servicer is that
Odyssey never obtained Noteholder consent of the appointment. To the extent that
Odyssey's appointment would waive, amend, modify, supplement, or terminate the
current Servicing or Special Servicing Agreements, the Indentures require Noteholder



Rating Agencies notify the Administrator or the Indenture Trustee iri writing that such action will result
in a reduction or withdrawal of the Notes' current rating. See id. at A-23 (defining "Servicing Fees").
7 See, e.g., Ex. 3 at § 6(E).
8
  Additionally, a failure by the Issuers to send Loans that are more than 30 days delinquent to U.S. Bank
as Special Servicer would violate the Special Servicing Agreement.
9
  A true and correct copy of this letter is attached as Exhibit 5.
                                                   6
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consent.lO Here, because all Loans are currently being serviced by the current Servicer

and Special Servicer, it is unclear what Loans would be available for Odyssey to
service. To the extent Odyssey's servicing would amend, modify, or terminate the
current Servicing or Special Servicing Agreements, the Indentures require Noteholder
consent.
        26.     On February 10, 2015, the Administrator responded to VCG's letter by
informing VCG that Odyssey was not an approved servicer because various
preconditions to its appointment had not been fulfilled.
        27.     On March 23, 2015, the Owner Trustee, on behalf of the Issuers, sent a
letter to the Administrator stating that it was forbidden from having any

communication regarding Odyssey with PHEAA or any Rating Agency. The letter
also stated that the Administrator should not take any action that would cause or
allow any defaulted Loan to be transferred to the Special Servicer, and that it should
not hire any entity to service defaulted Loans.
        28.     On October 1, 2015, the Owner Trustee, on behalf of the Issuers, sent a
letter to the Administrator instructing it to "cease and desist" with giving PHEAA
any direction with respect to the servicing of defaulted Loans.
                                           The Odyssey Invoices
        29.     On December 8, 2015 the Issuers' /VCG's counsel, Mr. Lance Gotthoffer,
emailed the Administrator invoices that sought "Reimbursement of Expenses"
purportedly incurred by Odyssey for each Issuer during each month of 2015. 11
        30.     On December 10,2015, the Administrator responded to Mr. Gotthoffer's
email by requesting a detailed description of the expenses for which Odyssey was
seeking reimbursement.12

10
   See, e.g., Ex. 2 at§ 3.07(c) ("Issuer shall not waive, amend, modify, supplement or terminate any Basic
Document or any provision thereof without the consent of the Indenture Trustee and the Interested
Noteholders"); see also id. at A-4 (defining "Basic Documents" to include "Servicing Agreements").
11 True and correct copies of this email and all of the 2015 invoices are attached hereto as Exhibit 6.
12
   A true and correct copy of this email is attached as Exhibit 7.
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        31.     Mr. Gotthoffer responded on December 11,2015 that further detail was
not required under the Odyssey Agreement, and that none would be provided unless
the Administrator could direct him "to a provision in [the Odyssey Agreement]
requiring Odyssey to provide the detailed explanation of expenses requested in [the
Administrator's] email[.]"I3
        32.     The Administrator's outside counsel, Kutak Rock LLP, wrote Mr.
Gotthoffer on December 16, 2015, stating that Odyssey had not been validly
appointed as Servicer and, therefore, Odyssey's invoices would not be paid.
        33.     In addition to Odyssey's 2015 invoices, Odyssey has subsequently sent
the Administrator invoices for January and February of 2016.14 The Odyssey invoices
received to date total $1.46 million. IS
        34.     No documentation or backup for the expenses allegedly incurred by
Odyssey has been provided to the Administrator as of the date this Petition was filed.
        35.     As of the filing of this Petition, the Indenture Trustee has not received
any proceeds from Odyssey's purported servicing of the Loans. If Odyssey serviced
any Loans during 2015 or later, it should have remitted monies collected to the
Indenture Trustee for disbursement to the Noteholders.
                                          Threatened Litigation
        36.     On December 23, 2015, Mr. Gotthoffer sent a draft complaint to Kutak
Rock LLP, counsel to the Administrator, naming the Administrator and the Indenture
Trustee as defendants. Mr. Gotthoffer stated that the complaint would be filed unless
the Odyssey invoices were paid by December 28,2015.
        37.     The draft complaint sought to compel the Indenture Trustee and


13 See id.
14
   A true and correct copy of the January 2016 invoices are attached hereto as Exhibit 8. The February
2016 invoices were received too late to be included in the Monthly Issuer Order for the February
distribution date.
15
   The invoices attached as Exhibits 6 and 8 total $1.35 million through January, 2016. With the addition
of the February, 2016 invoices, Odyssey's outstanding invoices to date total $1.46 million.
                                                   8
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Administrator to pay Odyssey's outstanding invoices. The draft complaint also
asserted a claim against the Administrator seeking indemnification under the
Administration Agreement. Lastly, the draft complaint asserted a tortious
interference claim against the Indenture Trustee for "tortiously interfer[ing] with, and

caus[ing] [the Administrator] to breach, the Administration Agreement."
                                     Orders to Pay Odyssey Invoices
        38.     On January 14, 2016, VCG sent an "Officers Certificate" to the Indenture
Trustee attesting that the all conditions precedent for the execution of the Odyssey
Agreement had been satisfied and requesting that the Indenture Trustee
acknowledge the Odyssey Agreement.l6
        39.     Also on January 14, 2016, Mr. Gothoffer's law firm, Chaitman LLP, sent
an "Opinion of Counsel" to the Indenture Trustee in which Chaitman LLP opined
that "the execution of the Odyssey Agreement is authorized and/ or permitted by the
applicable Indentures and that all conditions precedent to such execution have been
complied with."17

        40.     On January 20, 2016, the Owner Trustee, at the direction of the
Issuers/VCG, sent an "Issuer Order" to the Administrator that instructed the
Administrator to (1) acknowledge the Odyssey Agreement, (2) cause the payment of
the Odyssey invoices that had been submitted, (3) cause the payment of all future
Odyssey invoices, and (4) prepare and execute all additional documents and take all
action necessary to cause the payment of all current and future Odyssey invoices. 18
Under Section 1(c) of the Administration Agreements, the Administrator is not
obligated to take any action with respect to a non-ministerial action unless the
Administrator shall have received instructions from the Indenture Trustee under the
Indenture or from the Owner Trustee or the owners of the respective Issuer under the


16 A true and correct copy of this letter is attached as Exhibit 9.
17 See id. at Exhibit C.
18 A true and correct copy of this Issuer Order is attached as Exhibit 10.
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Trust Agreement.
        41.      Based solely upon the "Issuer Order" instruction to cause the payment
of the Odyssey invoices, on February 17, 2016, the Administrator sent the Indenture
Trustee a Monthly Issuer Orders ("MIOs") to release the funds necessary to pay the
Odyssey invoices.19 In a letter accompanying the MIO, the Administrator also
expressed its concerns as to whether Odyssey was validly appointed as a Servicer or a
replacement Special Servicer under the Indentures or the Special Servicing
Agreement and that the Odyssey invoices lack sufficient authorization, detail, and
backup to warrant payment. The Administrator stated that, "[a]bsent the Issuer
Order, the Administrator would not have submitted the Invoices for payment[.]"
                                          Request for Relief

        WHEREFORE, pursuant to the provisions of Minn. Stat. §§ 501C.0201,

501C.0202 and all other applicable law, the Indenture Trustee respectfully requests

that this Court:
              a. Make and enter herein an Order designating the time and place when
                 the respective parties in interest may be heard upon the matters set
                 forth in this Petition, and that notice of the hearing be served in the
                 manner specified in the accompanying Order and as provided by Minn.
                 Stat. § 501C.0203 subdivision 1.
              b. Undertake to represent all parties in interest who are unascertained or
                 not in being, or who are minors or incapacitated, pursuant to the
                 provisions of Minn. Stat.§ 501C.0305.
              c. At such designated time and place make a further Order as follows:
                     i. Determining whether, under the Governing Agreements,
                        Odyssey was properly appointed as a Servicer or Special Servicer
                        and whether the Odyssey Agreement is valid and binding;

19
 A true and correct copy of the MIO and accompanying letter (absent attachments) are attached as
Exhibit 11.
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             ii. If Odyssey was properly appointed as Servicer or Special
                   Servicer and the Odyssey Agreement is valid and binding under
                   the Governing Agreements, resolving the conflicts and
                   inconsistencies that arise between the Governing Agreements

                   and the Odyssey Agreement.
            iii. Determining that the Administrator should not provide for
                   payment of the Odyssey invoices in its Monthly Issuer Orders
                   submitted as of the date this Petition was filed;
            iv. Determining that the Administrator should not provide for the

                   payment of any Odyssey invoices submitted in the future unless
                   the Odyssey Agreement is determined to be valid and binding
                   under the Governing Agreements and Odyssey provides to the
                   Administrator invoices that contain documented, verifiable
                   descriptions of the work performed by Odyssey and funds are
                   received by the relevant trust;
             v. Determining that the Indenture Trustee should not pay, or cause
                   the release of, any funds to Odyssey pursuant to the Odyssey
                   Agreement or any Monthly Issuer Order;
            vi. Determining that the Indenture Trustee has acted without willful
                   misconduct, negligence or bad faith in ascertaining whether the
                   requirements under the applicable Indentures have been
                   satisfied;
            vii. Directing that the Indenture Trustee and the Issuers shall not be
                   subject to the continuing supervision of the Court for the
                   purposes of Minn. Stat.§ 501C.0205 or General Rule of Practice
                   417.02; and
           Vlll.   Granting such other and further relief as the Court may deem

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                   lawful, just and proper.




DATED: February 18,2016
                                      By:    /s/ Thomas F. Berndt
                                      Michael A. Collyard (302569)
                                      Thomas F. Berndt (389080)
                                      Peter C. Ihrig (390392)
                                      ROBINS KAPLAN LLP
                                      2800 LaSalle Plaza, 800 LaSalle Avenue
                                      Minneapolis, Minnesota 55402-2015
                                      Phone:(612) 349-8500
                                      FAX (612) 339-4181
                                      mcollyard@robinskaplan.com
                                      tberndt@robinskaplan.com
                                      pihrig@robinskaplan.com

                                      Attorneys for U.S. Bank National Association, as
                                      Indenture Trustee




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                                     Acknowledgement

      The undersigned hereby acknowledges that sanctions may be imposed

pursuant to Minn. Stat. § 549.211.


DATED: February 18,2016
                                         By:    Is/ Thomas F. Berndt
                                         Michael A. Collyard (302569)
                                         Thomas F. Berndt (389080)
                                         Peter C. Ihrig (390392)
                                         ROBINS KAPLAN LLP
                                         2800 LaSalle Plaza, 800 LaSalle A venue
                                         Minneapolis, Minnesota 55402-2015
                                         Phone:(612) 349-8500
                                         FAX (612) 339-4181
                                         mcollyard@robinskaplan.com
                                         tberndt@robinskaplan.com
                                         pihrig@robinskaplan.com

                                         Attorneys for U.S. Bank National Association, as
                                         Indenture Trustee
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                    EXHIBIT 1
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                                       SERVICING AGREEMENT

         This Servicing Agreement, dated as of December 30, 2014 (this "Agre~ment"), is entered into by and
among Odyssey Education Resources LLC ("Odys~"), as the Servicer (together with its successors and
assigns, the "ServifS1"), and each of the Trusts listed on Schedule A attached hereto (the "Trusts"), Any
capitalized terms used, but not defined herein shall have the meaning given to such term set forth in the Basic
Documents (as that term is defined in the Indenture applicable to each such Trust, the "]3asic Documents").

         WHEREAS, the Trusts desire to, from time to time, dispose of certain defaulted Financed Student
Loans;

         WHEREAS, pursuant to the Indenture applicable to each Trust, Financed Student Loans may only be
sold, transferred or otherwise disposed of to a servicer at a disposition price specified under the applicable
Servicing Agreement;

        WHEREAS, each of the Trusts has previously appointed other entities as the servicer of certain
Financed Student Loans and accordingly Odyssey is likely not perfom1ing all of the servicing responsibilities
with respect to the Financed Student Loans;

        WHEREAS, none of the existing servicers of the Financed Student Loans nor their applicable
Servicing Agreements have a mechanism currently in place to dispose of Financed Student Loans;

       WHEREAS, Odyssey will utilize employees and agents (appointed from time to time by it, as
provided herein) who are experts in the management of collections on and the disposition of Financed Student
Loans;

        WHEREAS, each of the Tmsts is appointing Odyssey as a Servicer under each Trust's respective
Trust Agreement, to perform certain limited duties with respect to certain Financed Student Loans owned by
the Trusts that are defaulted or Loans Eligible For Sale (as defined below); and

        WHEREAS, Servicer is being engaged pursuant hereto to purchase Loans from each Trust as directed
or permitted by the applicable Trust.

         NOW, THEREFORE, in consideration of the premises and the mutual covenants hereinafter set forth,
the parties agree as follows:

         Section 1.      Definitiorg;, Capitalized terms used and not otherwise defined herein shall have the
meanings assigned to such terms in the Basic Documents. For purposes of this Agreement, the following
capitalized terms shall have the respective meanings set forth below:

        "Loans _Eligible Ec->t£>ale" means Financed Student Loan(s) owned by a Tmst for which the borrower
of such Financed Student Loan has failed to repay such Financed Student Loan according to the terms agreed
to in the applicable controlling loan documents and agreements, and such Borrower(s) shall have been
delinquent in its repayment obligations for no less than 180 days.

        "Pefaulted Lom( means any Financed Student Loan owned by a Trust for which the borrower of
such Financed Student Loan has failed to repay such Financed Student Loan according to the terms agreed to
in the applicable controlling loan documents and agreements, provided however, tlwt such Borrower shall
have been delinquent in its repayment obligations for no less than 31 days;

         "Default PrevJ<ntion Services" means such services determined by the Servicer to be desirable to
collect and seek enforcement of Financed Student Loans that are greater than 30 days past due and less than
180 days past due. Default Prevention Services may include both telephonic and mail correspondence and
related monthly reporting.
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         ''Early Awareness Services" means such services determined by the Servicer to be desirable to reduce
the number and percentage of Financed Student Loans becoming delinquent in the repayment process prior to
the initial payment due date, including without limitation, services that are intended to alert borrowers and
co-borrowers to their repayment obligations, available borrower benefits (such as ACH automatic payments)
and contact information for the Scrviccr. Early Awareness Services may include both telephonic and mail
contacts, as well as address verification and skip tracing.

        Section 2.      Appointment:     Servicing Duties.

         A. Appointment. Each of the Trusts hereby hires, designates and appoints the Servicer as a Servicer
under each Trust's applicable, respective Indenture to pertonn the servicing duties (as defined below) with
respect to Loans Eligible For Sale and Defaulted Loans, and the Servicer accepts such appointment and agrees
to perform such duties with respect to the Loans Eligible For Sale and Defaulted Loans in accordance with the
terms of this Agreement and each Indenture.

        B. Services. The Servicer shall take such actions as it shall deem reasonably necessary or appropriate
to administer and oversee the enforcement and collection of Loans Eligible For Sale and Defaulted Loans, and
to provide recommendations to the relevant Trust with respect to those Loans Eligible For Sale to be sold by
the terms hereof, to maximize the collection of amounts payable on the Financed Student Loans (collectively,
the "Services"), including without limitation:

        (i)     Retaining and entering into agreements with licensed collection agencies, loan brokers and
                other legally authorized persons (the "Subservicers") engaged in providing default prevention
                and collection services and loan sale services, in fom1 and substance satisfactory to the
                Servker, pursuant to which the Subservicers, for and on behalf of the applicable Trust, will
                contact borrowers with respect to the Loans Eligible For Sale and Defaulted Loans, and seek
                enforcement and collection of such Loans Eligible For Sale and Defaulted Loans, including
                without limitation Early Awareness Services and Default Prevention Services when
                applicable;

        (ii)    At the sole discretion of the Servicer, (a} performing periodic audits of Subservicers for
                compliance and performance reviews and (b) providing oversight of the activities of
                Subservicers with regard to account management, litigation assistance, and/or settlement
                strategies;

        (iii)   Replacing any Subservicer who, in the sole judgment of the Servicer, is deemed to be
                deficient or negligent in performing the duties outlined in its subservicing agreement with the
                Servicer;

        (iv)    Requiring in the applicable subservicing agreement that the Subservicers provide certain
                monthly reports to the Scrvicer with respect to Loans Eligible For Sale and Defaulted Loans
                serviced by such Subservicer, in each case, in a form and substance satisfactory to the
                Servicer;

        (v)     With respect to Loans Eligible For Sale and Defimlted Loans, reviewing claim packages as
                described in subparagraph (xi);

        (vi)    With respect to Loans Eligible For Sale and Defaulted Loans being serviced by the Servicer
                or Subservicers, remitting within two (2) days of receipt to the Odyssey Collection Account
                (as hereinafter defined) for the receipt of all cash collected by Servicer and for the receipt of
                collections from a Subservicer for the benefit of the respective Trusts.

        (vii)   With respect to Loans Eligible For Sale or Defaulted Loans (a) roll or reassign such loans
                being serviced by Servicer into a default recovery queue for collection effort or a queue for
                sale efforts in accordance with the provisions of Section 2(C) below, (b) direct any
                Subservicer to roll or reassign any loans that become Charge-Off Loans to the Servicer for
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                 assignment into the queue for sale efforts, and (c) remit within two (2) days ofreceipt to the
                 Odyssey Collection Account (as hereinafter defined) for the receipt of collections for the
                 benefit of the respective Trusts, as their interests may appear, all cash collected on all Loans
                 Eligible For Sale in the queue for sale until such time as the loan is sold.

        (viii)   Repotiing to the relevant Trust all Loans Eligible For Sale being held in the queue for
                 purchase; soliciting direction from the Trust as to which loans shall be sold pursuant to the
                 terms of Section 2(C) below.

        (ix)     Conduct the sale of all Loans Eligible For Sale in accordance with the provisions or Section
                 2(C) below.

        (x)      Establishing and maintaining an account or accounts (the "Odyssey Collection Account") in
                 the name of the Indenture Trustee (or its agent or custodian), for benefit of the applicable
                 secured parties of the Trusts under the respective Indentures, for the deposit by Servicer and
                 any Subservicer of net collections (including all net proceeds of any sale of Loans Eligible
                 For Sale in accordance with the provisions of 2(C) below) on all Loans Eligible For Sale and
                 Defaulted Loans serviced by Servicer or Subservicer for the respective Trust and in
                 c01mection therewith, preparing or causing to be prepared such control agreement or
                 agreements as may be necessary or desirable to maintain and preserve the lien and security
                 interest therein of the Indenture Trustee under the respective Indentures;

        (xi)     Reviewing claim packages prepared by any Servicer or Subservicer with respect to Loans
                 Eligible For Sale and Defaulted Loans to confirm, on the basis of such review, that (a) the
                 Servicer or Subservicer has complied with applicable servicing guidelines and (b) the loan
                 originator has complied with applicable program guidelines;

        (xii)    Receiving reports from Servicers and Subservicers related to payments with respect to Loans
                 Eligible For Sale and DeEmlted Loans and updating records with respect to Financed Shtdent
                 Loans as interest and other charges accrue and amounts are collected;

        (xiii)   Remitting or causing the Subservicers to remit net collections received on Loans Eligible For
                 Sale and Defaulted Loans to the Odyssey Collection Account;

        (riv)    Retaining counsel on behalf of the applicable Trust (whether directly or through collection
                 agencies) to further pursue enforcement and collection of Loans Eligible For Sale and
                 Defaulted Loans, including through litigation and bankruptcy or probate proceedings; and

        (xv)     Negotiating any settlement or compromise of any claim with respect to a Loans Eligible For
                 Sale or Defaulted Loans, which in the reasonable judgment of the Servicer are more likely to
                 produce greater proceeds of collection than by virtue of a forbearance, payment management
                 or other accommodation with the borrower; and

        (;wi)    At the sole discretion of the Servicer, identifYing, recommending, selling, transferring,
                 exchanging, purchasing or otherwise disposing of Loans Eligible For Sale in accordance with
                 the Basic Documents,

For the avoidance of doubt the parties hereto hereby acknowledge and agree that nothing in this Agreement is
intended to nor does it amend the applicable Tmst Agreement, Indenture or Administration Agreement for
each Trust or limit in any way the Trusts' rights thereunder, including without limitation, the right to direct or
restrict the activities of the Servicer,

        C. Purchase of Loans Eligible For_S11k. The Servicer shall take all such action, as it shall deem
reasonably necessary or appropriate to purchase the Loans Eligible For Sale, including without limitation:
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        (i)     Entering into custodial agreements either directly or through agents for the purpose of
                perfecting a security interest in the Loans Eligible For Sale and to provide for the safekeeping
                of the Loans Eligible For Sale and all documents and information relating to the Loans
                Eligible For Sale;

        (ii)    Preparing all necessary sale documentation including, but not limited to, appropriate terms
                required for each bidder, the loan purchase agreement and other related documentation
                required to memorialize and accomplish the sale of the Loans Eligible For Sale;

        (iii)   In its sole discretion, determining the purchase price for each such Loan Eligible For Sale that
                it determines to purchase pursuant to the terms hereof based on one of the two following
                methods: (a) l 0% less than the highest bid received pursuant to the Servicer marketing the
                Loans Eligible For Sale for sale to at least three (3) qualified bidders and conducting the sale
                process in a manner that, in the sole judgment of the Servicer, will yield the highest and best
                net proceeds to be paid in exchange for the Loans Eligible For Sale, provided however, that
                with respect to such sale process, Servicer shall, at a minimum: (i) provide an information
                packet ("Information Packet") applicable to each sale which desctibes the loans offered for
                sale and contains such other customary information applicable to such sale; (ii) in a good
                faith effort to maximize the proceeds to the Trust from the sale of the Loans, invite a
                sufficient number of qualified bidders under the circumstances to participate in such sale, and
                in no event shall the Servicer receive less than three (3) bids from qualified bidders; (iii)
                establish a time period between the distribution of the Information Packet and the acceptance
                of bids to allow the prospective bidders to research and analyze the Loans Eligible For Sale;
                and (iv) hold the sale at a convenient time and in a convenient location or (b) I 0% less that
                the average value established pursuant to the Servicer engaging two (2) reputable appraisers,
                in the business of appraising loans, to appraise the Loans Eligible for Sale which the Servicer
                intends to purchase;

        (iv)    Notifying the Relevant Trust and the Administrator that each of the Loans Eligible For Sale
                sold pursuant to the Loan Sale is a Liquidated Student Loan pursuant to the Basic
                Documents;

        (v)     Simultaneous with the Loan Sale, remitting or causing the Subservicers to remit the
                Liquidation Proceeds and all Recoveries associated with the Liquidated Student Loans to the
                Odyssey Collection Account.

         Section 3.      Incorporation. As of the date hereof, the definition of "Servicing Agreement" in
each of the Indentures shall include this Agreement, the definition of ''Serviccr" in each of the Indentures
shall include the Servicer and any Servicing Fee and other fees and expenses payable under this Agreement to
the Servicer shaH be a "Servicing Fee" for purposes each of the Indentures.

        Section 4.      Subscrvicers. In carrying out its duties under this Agreement with respect to the
Loans Eligible For Sale and Defaulted Loans, the Servicer may retain and employ Subservicers to perform
any of the Services with respect to the Financed Student Loans owned by any of the Trusts, and to commence
any actions or proceedings the Subservicers deem necessary or appropriate in connection with such
enforcement or collection efforts on such Loans Eligible For Sale and Defaulted Loans.

        Section 5.        Servicing Fee; Reimbursement for Expenses. As compensation tor the performance
of the Servicer's obligations under this Agreement and as reimbursement for its expenses related thereto, the
Servicer shall be entitled to a fee and expense reimbursement (the "Servicing Fee") payable from each Trust
in accordance with the related lndenture on each Distribution Date consisting of:

         A.     Reimbursement by each Trust for all of the Servicer's expenses incurred in performing its
obligations hereunder for such Trust, including all fees and expenses of all Subservicers and other persons
appointed as agents of the Servicer pursuant to this Agreement and any other expenses incurred by the
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Servicer on behalf of each Trust, including costs and expenses incurred by the Servicer in establishing and
maintaining the Odyssey Collection Account; provided that the lees and expenses of Subservicers with
respect to collections on Loans Eligible For Sale and Defaulted Loans shall be paid from such collections
prio'r to remittance to such Odyssey Collection Account, as described in Section 2(B)(vii), 2(B)(x) and
2(c)(vii) above. The reimbursement described in this Section 5(A) with respect to Default Prevention
Services (but not with respect to Early Awareness Services) shall not exceed the dollar amount listed for each
Trust on Schedule B, attached hereto, in the aggregate per calendar month per respective Trust. The
reimbursement described in this Section S(A) with respect to Early Awareness Services shall not exceed the
dollar amount listed for each Trust on Schedule C attached hereto, in the aggregate for each such Trust until
its respective Indenture is discharged.

        B.       In carrying out the foregoing duties or any of its other obligations under this Agreement, the
Servicer may charge a fee for any collection services that it provides and enter into transactions or otherwise
deal with any of its affiliates, including, without limitation, collection agency which affiliates may also charge
reasonable fees and receive other forms of remuneration, provided however, that the terms of any such
transaction or dealings with an affiliate shall be, in the Servicer's opinion, no less favorable to the Trusts than
would he available from unaffiliated parties.

        Section 6,        Term of Agreement: Resignation and Removal of Servicer.

         A. Term. This Agreement shall continue in force with respect to each Trust until the dissolution of
such Trust and the payment in full of the Notes under the related Indenture, upon which event this Agreement
shall automatically terminate with respect to that Tmst.

        B. Resignation. Subject to Section 6(D) of this Agreement, the Servicer may resign its duties
hereunder by providing the Trust, the Administrator and the Indenture Trustee with at least 10 days' prior
written notice.

        C. Removal for Call.§SJ. Subject to Section 6(D) of this Agreement, the Indentme Trustee shall have
the right to remove the Servicer with the prior written consent of the Trust, by delivering to the Servicer
written notice of termination if any ofthe following events shall occur:

        (i)      The Servicer shall default in the perfom1ance of any of its duties under this Agreement and,
                 after written notice of such default, shall not cure such default within forty-five days (or such
                 longer period as shall be reasonably satisfactory to the Indenh1re Trustee);

        (ii)     A court having jurisdiction in the premises shall enter a decree or order for relief, and such
                 decree or order shall not have been vacated within 60 days, with respect to any involuntary
                 case commenced against the Servicer under any applicable bankruptcy, insolvency or other
                 similar law now or hereafter in effect or shall appoint a receiver, liquidator, assignee,
                 custodian, trustee, sequestrator or similar official for the Servicer or any substantial part of its
                 property or order the winding-up or liquidation of its afl'airs; or

        (iii)    The Servicer shall commence a voluntary case under any applicable bankruptcy, insolvency
                 or other similar law now or hereafter in effect, shall consent to the entry of an order for relief
                 in an involuntary case under any such law, or shall consent to the appointment of a receiver,
                 liquidator, assignee, tn1stee, custodian, sequestrator or similar official for it or any substantial
                 part of its property, shall consent to the taking of possession by any such official of any
                 substantial part of its property, shall make any general assignment for the benefit of its
                 creditors or shall fail generally to pay its debts as they become due.

         The Servicer agrees that if any of the events specified in clauses (ii) or (iii) of this Section shall occur,
it shall give written notice thereof to the Trust, each of the Rating Agencies and the Indenture Trustee within
two Business Days after the happening of such event Concurrently with the giving of such notice as
provided above (and in any event no later than five (5) Business Days after receipt of such notice of
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termination), the Servicer shall identify any Loans Eligible For Sale and Defaulted Loans still being serviced
by it hereunder.

         D. Successjon. No resignation or removal of the Servicer pursuant to this Section shall be effective
until a successor Servicer (which Servicer shall be reasonably acceptable to the Indenture Trustee) shall have
agreed in writing to be bound by the terms of this Agreement in the same manner as the Servicer is bound
hereunder. The appointment of any successor Servicer shall be effective only after each Rating Agency shall
have been given I 0 days' prior notice of such proposed appointment and each Rating Agency other than Fitch
Ratings (Fitch, Inc.) shall have declared in writing that such appointment will not result in a reduction or
withdrawal of the then-current rating of the Notes.

         Section 7.      Action upon Termination. Resignation or RemovaL Promptly upon the effective
date of termination of this Agreement pursuant to Section 6(A) of this Agreement or the resignation or
removal of the Servicer pursuant to Section 6(B) or Section 6(C) of this Agreement, the Servicer shall be
entitled to be paid all fees and reimbursable expenses accruing to it to the date of such termination,
resignation or removal. The Servicer shall forthwith upon such termination pursuant to Section 6 of this
Agreement deliver to the Trusts as appropriate, all property and documents of or relating to the Financed
Student Loans then in the custody of the Servicer pursuant to this Agreement. In the event of the resignation
or removal of the Servicer pursuant to Section 6 of this Agreement, the Servicer, for a period of not less than
120 days following notice of such resignation or removal, shall cooperate with the Trusts and take all
reasonable steps requested to assist the Trusts in making an orderly transfer of the duties of the Servicer to the
successor Servicer, as applicable.

        Section 8.     Representations and Warranties~          The Servicer hereby makes the following
representations and wananties to each ofthe Trusts:

        (i)     Organization and Good Stamlil}g. The Servicer is an entity duly organized, validly existing,
                and in good standing under the laws of its state of incorporation or formation or the laws of
                the United States, and is in compliance with the laws of each state in which any property is
                located to the extent necessary to perform its obligations hereunder.

        (ii)    No ViolatiQg. Neither the execution and delivery by the Servicer of this Agreement, nor the
                consummation by it of the transactions contemplated hereby, nor the perfom1ance of and
                compliance by the Servicer with the provisions hereof, will conf1ict with or result in a breach
                or violation of, or constitute a default (or an event which, with notice or the lapse of time, or
                both, would constitute a default) under, the organizational documents (its articles of
                incorporation or charter or by-laws) of the Servicer, any of the provisions of any judgment,
                decree, demand, or order of any federal, state, or local court binding on the Scrviccr, or (lily
                of the provisions of any indenture, mortgage, contract, instrument, or other document to
                which the Servicer is a party or by which it is bound, or result in the creation or imposition of
                any lien, charge, or encumbrance upon any of its properties pursuant to the terms of any
                indenture, mortgage, contract, instrument, or other document. Neither the execution and
                delivery by the Servicer of this Agreement, nor the consummation by it of the transactions
                contemplated hereby, nor the performance of and compliance by the Servicer with the
                provisions hereof will, to its knowledge, result in a breach of any law, rule or regulation of
                any federal, state or local governmental or regulatory authority binding on the Servicer. The
                Servicer is not otherwise in violation of any law, rule, regulation, judgment, decree, demand,
                or order (of any federal, state or local governmental or regulatory authority or court), which
                violation, in the Servicer's good faith and reasonable judgment, is Jjkely to affect materially
                and adversely either its ability to perform its obligations hereunder, or the financial condition
                of the Servicer.

        (iii)    Authorization and Enforce_ability, The execution and delivery by the Servicer of this
                 Agreement, the consummation of the transactions contemplated hereby, and the performance
                 and compliance by the Servicer with the terms hereof are within the powers of the Servicer
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                and have been duly authorized by all necessary action on the part of the Servicer. All
                organizational resolutions and consents necessary for the Servicer to enter into and
                consmnmate all transactions contemplated hereby have been obtained, This Agreement has
                been duly executed and delivered by the Servicer and constitutes the legal, valid and binding
                obligation of the Servicer enforceable against it in accordance with its terms, subject to
                applicable banknlptcy, insolvency, reorganization, moratorium, and other similar laws
                affecting creditors' rights generally, and to general principles of equity, regardless of whether
                such enforcement is considered in a proceeding in equity or at law. The Servicer has not
                failed to obtain any consent, approval, authorization, or order of, or t~1iled to cause any
                registration or qualification with, any court or regulatory authority or other governmental
                body having jurisdiction over the Servicer, which consent, approval, auth01·ization, order,
                registration, or qualification is required for, and the absence of which would materially
                adversely affect, the legal and valid execution, delivery, and performance of this Agreement
                by the Servicer,

        (iv)    A_pprovals _and Permit§.. The Servicer possesses such certificates, authorizations, licenses,
                and permits issued by the appropriate state, federal, and foreign regulatory agencies or bodies
                necessary to conduct the business now operated by it, and it has not received any notice of
                proceedings relating to the revocation or modification of any such certificate, authorization,
                or permit which, singly or in the aggregate, if the subject of an unfavorable decision, ruling,
                or finding, would materially and adversely affect the ability of the Service.r to perform its
                obligations hereunder.

        (v)     No Litigation. No litigation is pending or, to the best of the Servicer's knowledge,
                threatened against it, which, if determined adversely to the Servicer would prohibit the
                Servicer from entering into this Agreement or, in the good faith and reasonable judgment of
                the Servicer, is likely to materially and adversely affect either its ability to perform its
                obligations hereunder or the financial condition of the Servicer,

        (vi)    Standard of Care. In exercising its duties hereunder, Servicer agrees to use at least the same
                degree of care that it would use if the Defaulted Loans and Loans Eligible For Sale were
                Servicer' s own property, but no less than a reasonable degree of care.

         Section 9.       Indemnification. The Servicer will indemnify each of the Trusts, the Owner Trustee
and the Indenture Trustee and their respective officers, directors, employees and agents for, and hold them
hannless against, any losses, liability or expense, including reasonable attorneys' fees and expenses, incurred
in the absence of willfbl misconduct, negligence or bad faith on the part of the Trusts, the Owner Trustee, the
Indenture Trustee (as applicable) and any Administrator, Servicer, Sub-Servicer or other agent of or servicer
provider to the Trust and any of their agents, arising out of the willful misconduct, gross negligence or bad
faith of the Servicer (or its agents) in the perfonnance of the Servicer's duties contempluted by this
Agreement; provided that neither the Servicer nor any of its directors, officers, employees or agents shall be
liable for any action taken or for refraining from the taking of any action pursuant to instructions or directions
from the Trust, the Administrator or the Indenture Tmstee or in accordance with this Agreement. To the
extent any indemnification amounts are not paid by the Servicer, such amounts shall be paid by each Trust (to
the extent permitted under the applicable Indenture as indemnities, fees and expenses of the Servicer paid
after the payment of principal and interest) in accordance with the respective Pool Balance of Financed
Student Loans then owned by each Trust                                                    ·

        Section 10,      Records: Inspection. The Servicer shall maintain appropriate books of account and
records relating to services performed hereunder, which books of account and records shall be accessible for
inspection by the Indenture Tmstee at any time during normal business hours, The Servicer hereby grants the
Indenture Trustee the right, for so long as any of the Notes remain outstanding, to perform ongoing due
diligence review of the Servicer's activities hereunder; provided that, such due diligence be conducted in a
reasonable manner, convenient to the Servicer and the Indenture Trustee. All expenses associated with the
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performance of the due diligence review shall be paid by the Trusts and shall be subject to the Monthly
Reimbursement Limit described in Section 5(A).

         Section 11.      Rep9rting; Additional Information to be Furnished. On the tenth Business Day after
the end of each calendar month, the Servicer shall furnish the Administrator, on behalf of the Trusts, an
electronically transferred data file containing a monthly collection report regarding the Loans Eligible For
Sale and Defaulted Loans in a forrn satisfactory to the Administrator. On the tenth Business Day after the end
of each calendar month, the Servicer shall furnish the Administrator on behalf of the Tmsts an electronically
transferred data file containing recovery data for Loans Eligible For Sale and Defaulted Loans owned by each
respective Trust and other infom1ation as required by Regulation AB, each for investor reporting purposes.
The Servicer shall furnish to the Administrator on behalf of the Tmsts from time to time such additional
information regarding the Loans Eligible For Sale and Defaulted Loans as the Administrator on behalf of the
Trusts shall reasonably request.

         Section 12.     ~ubservicing Agreement.       The Servicer will cause each subservicing agreement
with a Subservicer to contain provisions consistent with this Agreement, including provisions requiring the
applicable Subservicer to maintain adequate records and procedures with respect to a Financed Student Loan
and its performance. Each subservicing agreement shall be terminable by the Servicer upon thirty days written
notice, and shall provide that any successor to the Servicer shall succeed to the Servicer thereunder.

         Section 13.     Regul~ion Al.3__, On or before September 15 of each calendar year beginning in
2015, the Servicer shall deliver to the Administrator any reports, Servicer compliance statements and
attestations as may be required pursuant to the terms of any Indenture. In the event the Servicer is required to
deliver to the Administrator the documents described in this Section 13, the costs associated with delivering
such reports, including the fees and expenses of a registered public accounting firm, shall be borne by the
Administrator and reimbursed by the Trusts as a Servicer expense; provided however that the obligation of
the Servicer to deliver any such reports shall terminate if such reports arc no longer required by Regulation
AB.
          Section 14.     Securi!y__l11terest. Each of the Trusts hereby Grants to the Indenture Trustee as of
the date hereof, all of the Trust's right, title and interest in and to this Agreement and all present and future
claims, demands, causes and chooses in action in respect of this Agreement and all payments on or under and
all proceeds of every kind and nature whatsoever in respect of this Agreement. The foregoing Grant is made
in trust to secure the payment of principal of and/or interest on, as applicable, and any other amounts owing in
respect to the Notes, all as provided in the Indentures. The Indenture Trustee, as Indenture Trustee on behalf
of the holders of the Notes, acknowledges such Grant, and accepts the Grant in accordance with the
provisions of the Indentures.

         Section 15.     Amendments. This Agreement may be amended from time to time by the parties
hereto to add additional trusts, provided that any amendment must be accompanied by the written consent of
the Trust and upon satisfying the Rating Agency Condition.

        Section 16.      Inf!~pende~;tce of the Seryk~. For all purposes of this Agreement, the Servicer shall
be an independent contractor and shall not be subject to the supervision of the Trusts with respect to the
manner in which it accomplishes the performance of its obligations hereunder. Unless expressly authorized by
the Trusts, the Servicer shall have no authority to act for or represent the Trusts, respectively, in any way
other than as specified hereunder and shall not otherwise be deemed an agent of the Trusts.

        Section 17.       No ~oint Venture. Nothing contained in this Agreement (i) shall constitute the
Servicer and any of the Tmsts as members of any partnership, joint venture, association, syndicate,
unincorporated business or other separate entity, (ii) shall be construed to impose any liability as such on any
of them, or {iii) shall be deemed to confer on any of them any express, implied or apparent authority to Ineur
any obligation or liability on behalf of the others.
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         Section 18.     Q_!l1er Acti vitiespft1Ie_Servic~r. Nothing herein shaH prevent the Servicer or its
Affiliates from engaging in other businesses or, in its or their sole discretion, from acting in a similar capacity
as servicer for any other person or entity even though such person or entity may engage in business activities
similar to those of the Tmsts.

        Section 19.     Notices. Any notice, report or other communication given hereunder shall be in
writing and addressed as follows;

        If to the Servicer, to:

                 Odyssey Education Resources LLC
                 800 Corporate Drive,
                 Ft. Lauderdale, FL 33334
                 Attn: Tom Glanfield

                 With a copy to:

                 Cook and Sadorf, PL
                 1744 N. Belcher Rd., Suite 150
                 Clearwater, FL 33765
                 Attn: Rick Sadorf

        If to the Trusts, to:

                 Wilmington Tmst Company
                 Rodney Square North
                 1100 North Market Street
                 Wilmington, DE 19890-000 i
                 Attn: Corporate Tmst Administration

                 With a copy to:

                 VCG Securities LLC
                 407 SE l st Street
                 Delray Beach, FL 33483
                 Attn: Donald Uderitz

Or to such other address as any party shall have provided to the other parties in writing. Any notice required
to be in writing hereunder shall be deemed given if such notice is mailed by certified mail, postage prepaid;
sent by ovemight courier for next-day delivery or hand-delivered to the address of such party as provided
above.

         Section 20.     Notice to Noteholders. Promptly upon execution of this Agreement; but in any event
no later than 30 days following execution hereof, the Servicer shall deliver to the Indenture Tmstee of each of
the Trusts an executed copy of this Agreement along with a form of notice to each Noteholder to be
distributed to each Noteholder by the Indenture Trustee in accordance with Article XI of each Indenture to the
effect that the respective Trust has entered into this Agreement and has appointed Odyssey as Servicer and
each Noteholder can request a copy of the Agreement by contacting the Indenture Trustee.

        Section 21.       Miscellaneous.

        A. Successors and Assigns. This Agreement may not be assigned by the Servicer unless such
assignment is previously consented to in writing by the Indenture Trustee and unless each Rating Agency,
after having been given lO days prior notice of such assignment, shall have declared in writing that such
assignment wilt not result in a reduction or withdrawal of the then-current rating of the Notes or Certificates.
An assignment with such consent and satisfaction, if accepted by the assignee, shall bind the assignee
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hereunder in the same manner the Servicer is bound hereunder. Notwithstanding the foregoing, this
Agreement may be assigned by the Servicer, without the consent of the Indenture Trustee to a corporation or
other organization that is a successor (by merger, consolidation or purchase of assets) to the Servicer;
provided that such successor organization executes and delivers to the Indenture Trustee and the other parties
hereto an agreement in which such corporation or other organization agrees to be bound hereunder in the
same mmmer as the Servicer is bound hereunder. Subject to the foregoing, this Agreement shall bind any such
pcm1itted successors or assigns of the patiies hereto.

        B. Governing L<!_\-Y.. This Agreement shall be governed by, and construed in accordance with, the laws
of the State of New York, without giving effect to conflicts of laws provisions thereof (other than Section
5-1401 of the New York General Obligations Law).

         C. Headings. The section headings hereof have been inserted for convenience of reference only and
shall not be construed to affect the meaning, construction or intent of this Agreement.

         D. ~_gunterparts. This Agreement may be executed in counterparts, each of which when so executed
shall together constitute but one and the same agreement.

         E. S~vembility. Any provision of this Agreement that is prohibited or unenforceable in any
jurisdiction shall be ineffective to the extent of such prohibition or unenforceability without invalidating the
remaining provisions hereof and any such prohibition or unenforceability ill any jurisdiction shall not
invalidate or render unenforceable such provision in any other jurisdiction.

         F. Limitation of Liability of Owner Trustee. Notwithstanding anything contained herein to the
contrary, this instmment has been executed by Wilmington Trust Company, not in its individual capacity but
solely in its capacity as Owner Trustee of each of the Tmsts, and in no event shall Wilmington Tmst
Company in its individual capacity or any beneficial owner of the Tn1sts have any liability for the
representations, warranties, covenants, agreements or other obligations of the Trusts hereunder, as to all of
which recourse shall be had solely to the assets of the Trusts. For all purposes of this Agreement, in the
performance of any duties or obligations of the Tmsts hereunder, the Owner Trustee shall be subject to, and
entitled to the benefits of, the terms and provisions of Articles VIII, IX and X of the each Trust Agreement of
the Trusts.

        G. Third Party Beneficiary. The parties hereto acknowledge that the Noteholders, Certificateholders
and the Indenture Trustee are express third party beneficiaries l1ereof and are entitled to enforce their
respective rights hereunder as if actually parties hereto.

        H. No PetitiQII. The parties hereto will not at any time institute against the Trusts any hankmptcy
proceeding under any United States federal or state bankruptcy or similar law in connection with any
obligations of the Trusts under any Basic Documents as defined in the Indenture.

        I. Grant. Each Trust hereby acknowledges that this Agreement is a "Servicing Agreement" for all
purposes of its applicable Indenture. Each Trust hereby grants to the Indenture Trustee, as trustee under each
Indenture for the benefit of the Noteholders and other secun:d parties as applicable under the applicable
Indenture, all of its right, title and interest in and to (i) the Agreement; and (ii) all present and future claims,
demands, causes and choses in action in respect of any or all of the foregoing and all payments on or under
and all proceeds of every kind and nature whatsoever in respect of any or all of the foregoing, including all
proceeds of the conversion, voluntary or involuntary, into cash or other liquid property, all cash proceeds,
accounts, accounts receivable, notes, drafts, acceptances, chattel paper, checks, deposit accounts, insurance
proceeds, condemnation awards, rights to payment of any and every kind and other forms of obligations and
receivables, instnnnents and other property which at any time constitute all or part of or are included in the
proceeds of the foregoing. The Administrator on behalf of each Trust shalt take all steps necessary to ensure
the perfection and priority of the Indenture Tmstce's security interest in the foregoing collateral. By its
signah1re below, the Indenture Trustee on behalf of the Noteholders and other secllred parties as applicable,
acknowledges such Grant.
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 IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed by their
 respective officers hereunto duly authorized, as of the day and year first above written.

                                                 ODYSSEY EDUCATION RESOURCES LLC, as the
                                                 Servicer



                                                By: ____-r~b~~---.--~---- ·--------
                                                Name:    o )l'l..o....\cl U.Je.r-·ti "'L
                                                Titl . ALLt-Vtor 12-e c( '5 t:Y'-ccl-o     rj
                                                Each of the Trusts listed on Schedule A, attached hereto

                                                By: WILMINGTON TRUST COMPANY, not in its
                                                individual capacity but solely as Owner Trustee


                                                By~;WJ/k
                                                Name:       Dorrl Costello
                                                Title: Assistant VIce President
ACKNOWLEDGED:

GSS DATA SERVICES, INC., as Administrator




By. __
Name:
Title:



U.S. BANK NATIONAL ASSOCIATION, as Indenture Trustee
for each of the Indentures listed on Schedule A attached hereto



BY·----------------~-----
Name:
Title:
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                                                .SCHEDULE A



Trusts:

• The National   Collegiate Student Loan Trust 2003" 1;
• The National   Collegiate Student Loan Trust 2004-1;
• The National   Collegiate Student Loan Trust 2004-2;
• The National   Collegiate Student Loan Trust 2005-1;
• The National   Collegiate Student Loan Trust 2005-2; and
• The National   Collegiate Student Loan Trust 2005-3.


Indentures:

Each of the following Indenh1res, as amended or supplemented, entered into by and between U.S. Bank
National Association, as Indenture Trustee and:

   The National    Collegiate Student Loan Trust 2003-1, dated as ofDecember 1, 2003;
   The National    CoJlegiate Student Loan Trust 2004-1, dated as of June I, 2004;
   The National    Collegiate Student Loan Trust 2004-2, dated as of October 1, 2004;
   The National    Collegiate Student Loan Trust 2005-1, dated as of February 1, 2005;
   The National    Collegiate Sh1dent Loan Trust 2005-2, dated as of June 1, 2005; and
   The National    Collegiate St1.1dent Loan Trust 2005-3, dated as of October 1, 2005.




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[Schedule of Default Prevention Services Reimbursement Limits per Trust by Calendar Month]
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                                     SCHEQULE C

 [Schedule of Early Awareness Services Reimbursement Limits per Trust by Calendar Month]
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                                                                            EXECUTION COPY




                                          INDENTU RE


                                             between


                Ti lE NATIONAL COLLEGIATE STUDE:--JT LOAN TRU T2005-3,
                                            as Issuer


                                               and

                            U.S. BANK ATIONAL A SOCIATION.
                                     as Indenture Trustee


                                          Relating l'o:
                         fhc ational Collegiate Student Loan Trust 2005-3


                                   Dated as of October I, 2005




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              T JTR NATIO AL COLLEG IATE ST UDENT LOAN TRUST 2005-3

Reconciliation and tie between Trust Indenture Act of 1939, as amended (the "Trust In denture
Act" or "TIA'') and this Indenture ofTrust, dated as ofOctobcr I , 2005.

                        T rust Ind enture Act Section            Lnde ntu r e Section

               Section 3 I O(a)( I)                                      6.11
                ection 3 1O(a)(3)                                        9.08
                cction 3 I O(b)                                          6. 11
                cction 313(c)                                            3.24, 9.07
                cction 3 14(c)                                           8. 13
               Section 3 14(d)( l )                                      8. 13
               Section 3 18                                              9.08




          10TE:   This reconci liation and tic shall not, for any purpose, be deemed to be a part of
the I ndenture.

Attention should also be directed to Section 3 18(c) of the Trust Indentu re Act, which provides
that the provisions of ections 3 10 to and including 317 orthc Tt·ust Indenture Act arc a part o l'
and govern every qualified indenture. whether or not physically contained therein.




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I~XH!BIT      /\-2               Form o f Ciass /\-2 Note
EXIIIBIT A-3                     Form of Class A-3 Note
EXIJIBIT A -4                    Ponn of Class A-4 ~ole
l:.X IIIBIT A-5                  Form of Class A-5 . ote
I.,X I-J I BIT A-6               Form of Class B Note
EXI IIBIT A-7                    Porm of Class C Note
EX 11 1Bl1 B                     Form of truden t Loan Acquisition Certificate
I:.X II IBIT C                   Form ofTransferec Letter
FXI II BIT I)                    Form of Rule 144A Certification
EXII I BITE                      l·orm ofT1·ansler Certificate for Rule 144A Cllobal J ole to Regu lationS
                                 Global Note during Restricted Period
EXI I IBIT r                     Form of rransfcr Certificate lor Rule 144A Global Note to RegulationS
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       INDENTURE dated as of October I, 2005, between THF. NATIONAL COLLEGIAT E
STUDENT LOAN TRUST 2005-3, a Delaware stan1tory trust (the "Issuer"), and U.S. BANK
NATIONAL ASSOCIATJON, a national banking association, as trustee and not in its individual
capacity (the "Indenture Trustee").



         WHEREAS, the Issuer is duly created as a statutory trust under the laws of the State of
Delaware and by proper action has duly authorized the execution and delivery of this lndenntre,
which l ndcnturc provides for the issuance of student loan asset-backed notes to finance the
acqu isition or certain student loans from The National Collegiate Funding LLC (the "Depositor")
and the payment to holders of the Notes; and

        WH EREAS. this Indenture is subject to the provisions of the Tmst Indenture Act of
1939, as amended (Lhe "Trust Indenture Act'' or "TlA''), that are deemed to be incorpo rated into
this Jndenntre and shall, to the extent applicable, be governed by such provisions;

         NOW, TH EREFOR E, each patty agrees as fo llows for the benefit of the other patiy and
for the equal and ratable benefit of the holders of the Issuer's Class A-1 Notes (the "Class A-I
Notes"), Class A-2 Notes (the "Class A-2 Notes"), Class A-3 1\otcs (the "Class A-3 Notes"),
C lass A-4 Notes (the "Class t\-4 Notes"), Class A-5-1 1'\otcs (the "Class A-5-1 l\otcs"), Class
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Notes (the "Class A-5-8 Notes"), Class A-5-9 Notes (the "Class A-5-9 Notes"), Class A-5- I 0
Notes (the "Class A-5-l 0 Notes"), Class A-5-1 1 Notes (t he "Class A-5- I I Notes"), Class A-5-12
Notes (the "Class A-5-12 Notes''), Class A-5- 13 Notes (the "Class A-5- 13 Notes"), Class A-5-14
Notes (the "Class A-5-14 Notes''), Class A-5-15 Notes (the "Class A-5-15 Notes"), Class A-5-16
Notes (the "Class A-5- 16 Notes"), Class A-5- 17 Notes (the "Class A-5-17 Notes"), Class A-5- l g
Notes (the "Class A-5-18 Notes"), Class A-5-19 Notes (the "Class A-5-1 9 Notes"), Class A-5-20
Notes (the "Class A-5-20 Notes"), Class A-5-2 1 Notes (the "Class A-5-2 1 Notes"), Class A-5-22
Notes (the ''Class A-5-22 Notes"), Class /\-5-23 Notes (the ''Class A-5-23 Notes"), Class /\-5-24
)!otcs (the "Class A-5-24 Notes'') and Class A-S-25 :--Jotes (the "Class A-5-25 Notes"), C lass B
~otes (the "Class B Notes"), Class C ·otes (the ·'Class C Notes" and together with the Class A-I
:\otes, the Class A-2 ~otes, the Class A-3 '\Jotcs, the C lass A-4 otes, the Cla1>s A-5-1 Notes, the
Class A-5-2 Notes, Class A-5-3 Notes, Class A-5-4 Notes. Clnss A-5-5 Notes, Class A-5-6
Notes, Class A-5-7 Notes, Class A -5-8 Notes, C lass A-5-9 Notes, Class A-5- 10 Notes, C lass
A-5-ll Notes, C lass A-5-1 2 Notes, Class A-5-13 Notes, Class A-5- 14 Notes, C lass A-5- 15
Notes, C lass A-5-16 Notes, Class A-5-17 Notes, Class A-5-18 Notes, Class A-5- 19 Notes, Class
A-5-20 Notes, Class A-5-21 Notes, Class A-5-22 Notes, C lass A-5-23 Notes, Class A-5-24
Notes and Class A-5-25 Notes and the Class B Notes, the "Notes''):

                                      GRANTING CLAUSE

The Issuer hereby Grants to the Indenture Trustee at the Closing Date with respect to the Initial
Financed Student Loans, and as of each Subsequent Transfer Date with respect to Subsequent


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Loans acquired as of such date, as trustee for the benefit of the holders of the >lotcs, all the
Jssuer's right, title and interest in and to the following:

                (a) the Student Loans, and all obligations of the Obl igors thereunder including all
         moneys paid thereunder on or after the Cutoff Date (and, in the case of Subsequent
         Student Loans, on or after the related Subsequent Cutoff Date);

                 (b) all Servicing Agreements and all Student Loan Purchase Agreements,
         including the right of the Issuer to cause the Selle rs to repurchase or the Servicer to
         purchase, Student Loans from the Issuer under circumstances described therein;

                (c) each Guarantee Agreement, including the right of the fssuer to cause the
         Guarantee Agency to make Guarantee Payments in respect of the Student Loans, the
         TERl Deposit and Security Agreement and the TERI Pledge Fund as the same relate to
         the Student Loans and the proceeds thereof, and each of the other Basic Documents;

                (d) all funds on deposit from time to time in the Trust Accounts related to the
         Notes (and sub-accounts thereof), including the Reserve Account Initial Deposit and the
         Pre-Funding Account; and

                (e) all present and f11 ture claims, demands, causes and choses in act ion in respect
         of any or all of the foregoing and all pCtyments on or under and all proceeds of eve1y kind
         and nature whatsoever in respect of any or al l of the foregoing, including all proceeds of
         the conversion, voluntary or involuntaty, into cash or other liquid property, all cash
         proceeds, accounts, accounts receivable, notes, drafts. acceptances, chattel paper, checks,
         depostt accounts, insurance proceeds, condemnat ion awards, rights to payment of any and
         every kind and other forms of obligations and receivables, instruments and other property
         which at any tim~.: constitute all or part of or arc included in the proceeds of any of the
         foregoing (collectively, "Collateral").

The foregoing Grant is made in trust to secure the payment of principal of and/or interest on, as
applicable, and any other amounts owing in respect of, the Notes, equally and ratably, without
prejudice, priority or distinction, except as otherwise provided for herein, and to secure
compliance with the provisions of this Indenture, all as provided in this Indenture.

The Indenture Truslee, as Indenture Tru~tec on behalf of the holders of the Notes, acknowledges
such Grant, accepts the tmsts under this Indenture in accordance with the provisions of thjs
Indenture and agrees to perform its duties required in this Lndenture to the best of its ability to the
end that the interests of the holders of the Notes may be adequately and effectively protected.

                                              ARTICLE I

                                        Defin itions and Usage

               SECTTON 1.01 Definitions and Usage. Except as otherwise speci fied herein or
as the context may otherwise require, capitalized terms used but not defined herein are defined in
Appendix A hereto, which also contain rules as to usage that shall be applicable herein.

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                                           ARTICLE II

                                             The Notes

                 SECTION 2.0 I Fonn. The Notes, together with the Indenture Trustee 's
certificate of authentication, shall be in substantially the fom1s set forth in Exhibits A- l through
A-7, with such appropriate insertions, omissions, substitutions and other variations as are
required or permitted by this Indenture and may have such letters, numbers or other marks of
identification and such legends or endorsements placed thereon as may, consistently herewith, be
detennined by the officers executing the Notes, as evidenced by their execution of the Notes.
Any portion of the text of any Note may be set forth on the reverse thereof, with an appropriate
reference thereto on the face of the Note.

The Definitive Notes shall be typewritten, printed, lithographed or engraved or produced by any
combination of these methods (with or without steel engraved borders), all as dctennined by the
officers executing such Notes, as evidenced by their execution of such Notes.

Each Note shall be dated the date of its authentication. The tenns of the Notes set forth in
Exhibits A-I through A-7, are part of the terms of this Indenture.

              SECTION 2.02 Execution, Authentication and Dcliverv. The t\otes shall be
executed on bchal f of the Issuer by any of its Authorized Officers. The signature of any such
Authorized Officer on the Notes may be manual or facs imile.

Notes bearing the manual or facsimile signature of individuals who were at any time Authorized
Officers of the Issuer shall bind the Issuer, nOtwithstanding that such individuals or any of them
have ceased to hold such offices prior to the authentication and delivery of such Notes or did not
hold such offices at the date of such Notes.

The Indenture T rustee shall upon an Issuer Order authenlicate and deliver l\otes for original
issue in the following Classes and aggregate principal amounts:

                                            Initial                                        Initial
                                          Aggregate                                       Aggregate
                        Note              PrinciRM                  Note                   Princip~l
                        Class              Amount                   Class                  Amount

                  Class A-I           $213,375.000             Class A-5-12         $227,863.000
                  C'Jass A-2          $415,110,000             Clal>S A-5-13        s      6,000
                  Class A-3           $302,434,000             Class A-5-14         s     12,000
                  Class A-4           $137,008,000             Class A-5-15         $     I 1,000
                  Class A-5-l         $ I0,207,000             Class A-5-16         $     10,000
                  Class A-S-2         $ 18,988,000             Class A-5-17         ~     15.000
                  Class A-5-3         $ 18.989,000             Class A-5-18         s 14,000
                  Class A-5-4         $ 16,990,000             Class A-5-19         s 14.000
                  Class A-5-5         $ 23,985,000             Class A-5-20         $     13,000
                  Class A-5-6         s 22,986,000             Cli!SS A-5-21        s 12,000
                        Note                Initial                 Note                  Initial

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                                            Aggregate                                         Aggrcgutc
                                            Principal                                         Principal
                                            J\mount                                             Amount

                 Class A-5-7             $23,986,000              Class A-5-22          s     11,000
                 Class A-5-8            $ 20,987,000              Class A-5-23          $     10,000
                 Class A-5·9            $ 19,988,000              Class A-5-24          s 137.000
                 Clas!' A-5-10          s 18,989,000              Class B               $ 83.000,000
                 Class A-5-l l          S I6,990,000              Class C               $ 84,500,000

Each Note shall be dated the date of its authentication. The ::--.fotes shall be issuable as registered
Notes in minimum denominations of $100,000 and in integral multiples of$1 in excess thereof.

No Note shall be entitled to any benefit under this Indenture or be valid or obligatory for any
purpose, unless there appears on such Note a certificate of authentication substantially in the
form provided for herein executed by the Indenture Trustee by the manual signature of one of its
authorized signatories, and such certificate upon any ote shal l be conclusive evidence, and the
only evidence, that such Note has been duly authenticated and delivered hereunder.

               SECTION 2.03 Temporary 1\;otes. Pending the preparation of Definitive
Notes, the Issuer may execute, and upon receipt of an Issuer Order the Indenture Trustee shall
authenticate and deliver, temporary Notes which arc printed, lithographed, typewritten,
min1eographed or othe1wise produced. of the tenor of the Definitive Notes in lieu of which they
are issued and with such variations nol inconsistent with the terms of this Indenture as the
officers executing such Notes may determine, as evidenced by their execution of such Notes.

lf temporary Notes ar~ issued, the Issuer will cause Definitive Notes to be prepared without
unreasonable delay. After the preparation of Definitive Notes, the temporary Notes shall be
exchangeable for Definitive Notes upon surrender of the temporary Notc.;s at the oflice or agency
of the Issuer to be maintained as provided in Section 3.02, without charge to the holder of the
>Jotcs. Upon surrender for cancellation of any one or more temporary Notes, the Issuer shall
execute and the Indenture Trustee shall authenticate and deliver in exchange therefor a like initial
principal amount or Definitive Notes of authorized denominations. LJntil so exchanged, the
temporary Notes shall in all respects be entitled to the same benefits under this Indenture as
Definitive Notes.

                SECTION 2.04 Registration; Registration of Transfer Rnd Exchange. (a) The
indenture Trustee shall cause to be kept a register (the "Note Register") in which, subject to such
reasonable regulations as it may prescribe, the Issuer shall provide for the registration of Notes
and the registration of transfers and exchanges of Notes as herein provided. The Indenture
Trustee shall be ''Note Registrar" for the purpose or registering Notes and transfers of ~otes as
herein provided. Upon any resignation of any Note Registrar, the Issuer shall promptly appoint a
successor.

               (b)     If a Person other than the lndenture Trustee is appointed by the Issuer us
Note Registrar, the Issuer wi ll give the Indenture Trustee prompt wri tten notice of the
appo intment of such Note Registrar and of the location, and any change in the location, of thc
Note Register, and the Indenture Trustee shall have the right to inspect the Note Register at all
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reasonable times and to obtain copies thereof, and the Indenture Trustee shall have the right to
rely upon a certificate executed on behalf of the Note Registrar by an Executive Officer thereof
as to the names and addresses of the holders of the Notes and the principal amounrs, and number
of such Notes.

                (c)    The Issuer initially appoints the Indenture Tn1stee to act as custodian with
respect to the Notes. The Securities Legend shall be placed on each Private Note.

                (d)     Every Note presented or surrendered for registration of transfer or
exchange shall be duly endorsed by, or be accompanied by a written instrument of transfer in
form satisfactory to the Indenture Tmstee duly executed by the holder of the Notes thereof or
such holder's attorney duly authorized in writing, with such signature guaranteed by an "eligible
guarantor institution" meeting the requirements of the Note Registrar, which requirements
include membership or participation in Securities Transfer Agent's Medall ion Program
("STAM P") or such other "signature guarantee program" as may be dctemlined by the 1\ote
Registrar in addition to, or in substitution for, STA.\liP. a II in accordance with the Exchange Act.

                (e)     No service charge sha ll be made to a holder of the Notes for any
registration of transfer or exchange of Notes, but the Indenture Trustee may require payment o f a
sum suffic ient to cover any tax or other governmental charge that may be imposed in connection
with any registration of transfer or exchange of Notes, other than exchanges pursuanr to
Section 2.03 or 9.06 not involving any transfer.

                (I)     On the Closing Date, the Issuer wi II execute and the Indenture Trustee
will, upon lssuer Order, authenticate one or more Global Notes in an aggregate principal amount
that shall equal the applicable Original Principal Balance for each Class of Notes.

        The Global Notes, pursuant to the Depository's instructions, shall be delivered by the
Administrator on behalf of the Depository to and depos ited with the DTC Custodian, and shall be
registered in the name of Cede & Co. and shall bear a legend substantially to the fo llowing
effect:

                 "Unless this Note is presented by an authorized representative of
                 The Depository Trust Company, a New York corporation
                 ("DTC"), to the Issuer or its agent for regi. tration of transfer,
                 exchange or payment, and any otc issued is registered in the
                 name of Cede & Co. or in such other name as is requested by an
                 authorized representative of DTC (and any payment is made to
                 Cede & Co. or Lo such other entity as is requested by an a uthorized
                 representative of DTC), ANY TRANSFER, PLEDGE OR OTilER
                 USE HEREOF FOR VALUE OR OTHERWiSE BY OR TO ANY
                 PERSON IS WRONGFUL inasmuch as the registered owner
                 hereof, Cede & Co., has an inlercst herein."

       The Global Notes may be deposited with such other Depository as the Administrator
may from time to time designate, a nd shall bear such legend as may be appropriate; provided that


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such successor Depository maintains a book-entry system that qualifies to be treated as
" registered form" under Section 163(1) o f the Code.

The Issuer and the Indenture T rustee arc hereby authorit:cd to execute and deliver a N ote
Depository Agreement w ith the Depository relating to the Global '\lotes.

                    (g)    With respect to   otcs registered in the N ote Reg ister in the name o f Cede
& Co., as nominee o fthe Depository . the Administrator, the Back-Up A dministrator, the Ow ner
Trustee and the Indenture T rustee shall have no responsi bi I ity or obi igation to Participants or
Ind irect Participants or Beneficial Ow ners for which the Depository ho lds Notes fr·om time to
time as a Depository . Without limiting the immediately preceding sentence, the Administrator,
the B ack- Up A dministrator, the Owner T rustee and the Indenture Trustee shall have no
respo nsibility or obl igation w ith respect to (a) the accuracy o f the records of the Deposirory,
Cede & Co., or any Participant or Indirect Participant or Beneficial Owners w ith respect to the
ownership interest in the Notes, (b) the delivery to any Partic ipant or Indirect Participant or any
other Person, other than a registered Noteholder, (c) the payment to any Participant or lndirect
Participant or any other Person, other than a registered Note holder as shown in the N ote
Reg ister, of any amount with respect to any distribution o f principal or interest on the N otes or
(d) the making o f book-entry transfers among Participants o f the Depos itory w ith respect to
Notes registered in the N ote Register in the name of the nominee of the Depository. No Person
other than a registered Noteho lder as shown in the Note Register shall receive a Note evidencing
such Note.

                 (h)    Upon deli very by the Depositor) to the Indent ure Trustee of written notice
to the effect that the Depository has determined to substitute a new nominee in place of Cede &
Co., and subj ect to the provisions hereo f w ith respect to the payment o f distributions by the
mai I ing of checks or drafls to the registered Noteholdcr appearing as registered owners in the
Note Register on a Record Date, the name ··cede & Co:· in this Indenture shal l refer to such new
nom inee of the Depository.

                 (i)     Subject to the preceding paragraphs, upon surrender for registration of
transfer o f any Note at the o ffice o f the Note Registrar and. upon satisfaction ofthe conditions
set fo rth below, the Issuer shall execute in the name o f the designated transferee or transferees. a
ne\\ Note of the same principal balance and dated the date of authentication by the Indenture
 I rustee. rhe 1 ole Registrar shall notify the Adm inistrator and the Indenture 1 rustec of any such
tram.ler.

         By acceptance of an Individual Note relating to a Private '\lotc, w hether upon original
issuance or subsequent transler, each holder o f such a Pri vate Note acknowledges the restrictions
on the transfer of such Private N ot e set forth in the Securities Legend and agrees Ihat it w ill
trans fer such a Private Note only as provided herein . The N ote Registrar shall register the
transfer o f any Indiv idual ole relating to a Private Note if prior to the transfer the transferee
furni shes to the 0-ote Registrar a T ransferee Letter in the form of E:-.hibit C hereto, prov ided that,
if based upon an Opinion of Counsel to the cfTect that the delivery of such Transferee Letter is
not sufficient to confirm that the proposed transfer is being made pursuant to an exemption !'rom,
or in a transaction not subject to, the registration requirements o f the Securities Act and other
applicable laws, the 0lotc Regbtrar may a5 a condition of the registration of any such transfer

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require the transferor to furnish other certifications, legal opinions or other infonnation prior ~o
registering the transfer of an Individual Note relating to a Private Note.

                 U)     Subject to Section 2.04(n), so long as a Global Note re lating to a Private
Note remains outstand.ing and is held by or on behalf of the Depository, transfers of beneficial
interests in the Global Note relating to a Private Note, or transfers by holders of Individual Notes
relating to a Private Note to transferees that take delivery in the form ofbenefieial interests in the
Global Note relating to a Private Note, may be made only in accordance with this Section 2.040)
and in accordance with the rules of the Depository.

                (i)     Rule 144A Global Note to RegulationS Global Note During the
                Restricted Period. If, during the Restricted Period, a Beneficial Owner of an
                interest in a Rule I44A Global Note wishes at any time to transfer its beneficial
                interest in such Rule I44A Global Note to a Person who wishes to take delivery
                thereof in tJ1c form of a beneficial interest in a Regulation S Global Note, such
                Beneficial Owner may, in addition to complying with all applicable rules and
                procedures of the Depository and Clearstrcam or Euroclcar applicable to transfers
                by Lheir respective participants (the "Applicable Procedures"), transfer or cause
                the transfer of such beneficial interest for an equivalent beneficial interest in the
                RegulationS Global Note only upon compliance with the provisions of this
                Section 2.04U)(i). Upon receipt by the Note Registrar at its Corporate Tmst
                Office of (I) written instructions given in accord<mce with the Applicable
                Procedures from a Depositoty Participanr directing the Note Registrar to credit or
                cause to be credited to another specified Depository Participant's account a
                bencficiaJ interest in the Rebrulation S Global Note in an amount equal to the
                tknomination of the beneficial interest in the Rule 144A Global Note to be
                transfcn·cd, (2) a written order given in accordance with the Applicable
                Procedures containing information regarding the account of the Depository
                Participant (and the Euroclear or Clearstrcam account, as the case may be) to be
                credited with, and the account of the Depository Participant to be debited for,
                such beneficial interest, and (3) a certifica te in the form of Exhibit E hereto given
                by the Beneficial Owner that is transferring such interest, the Note Registrar shall
                instruct the Depository to reduce the denomination of the Rule 144A Global Note
                by the denomination of the beneficial interest in the Rule 144A Global Note to be
                so transferred and, concurrently wtth such reduction, to increase the denomination
                of the RegulationS Global Note by the denomination of the bencticial interest in
                the Rule I44A Global Note to be so transferred, and to credit or cause to be
                credited to the account of the Person spcci tied in such instructions (who shall be a
                Depository Participant acting for or on beha lf of Euroclenr or Clearstream, or
                both, as the case may be) a beneficial interest in the RegulationS Global Note
                having a denomination equal to the amount by which the denomination of the
                Rule 144A Global Note was reduced upon such transfer.

                (ii)    Rule I44A Global Note to Regulation S Global Note After the Restricted
                Period. If, after the Restricted Period, a Beneficial Owner of an interest in a
                Rule 144A Global Note wishes at any time to transfer its beneficial interest in
                sucl1 Rule 144A Global Note to a Person who wishes to take delivery thereof in
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                  Lhe form of a beneficial interest in a RegulationS Global Note, such holder may,
                  in addition to complying with all Applicable Procedures, transfer or cause the
                  transfer of such beneficial interest for an equivalent beneficial interest in a
                  Regulation S Global Note only upon compliance with the provisions of this
                  Section 2.04(j)(ii). Upon receipt by the ~ote Registrar at its Corporate Trust
                  Office of (I) written instructions given in accordance with the Applicable
                  Procedures from a Depository Patticipant directing the Note Registrar to credit or
                  cause to be credited to another specified Depository Participant's account a
                  beneficial interest in the Regulation S Global Note in an amount equal to the
                  denomination ofthc beneficial interest in the Rule 144A Global Note to be
                  transferred, (2) a written order given in accordance with the Applicable
                  Procedures containing information regarding the account of the Depository
                  Participant (and, in the case of a transfer pursuant to and in accordance with
                  Regulation S, the E uroclear or Clearstrcam account, as the case may be) to be
                  credited with, and the account of the Depository Participant to be debited for,
                  such beneficial interest, and (3) a certifica te in the form of Exhibit F hereto given
                  by tlhe Beneficial Owner that is transferring such interest, the Note Registrar shall
                  instruct the Depository to reduce the denomination of the Rule 144/\ Global Note
                  by the aggregate denomination of the beneficial interest in the Rule 144A Global
                  Note to be so transferred and, concurrently with such reduction, to increase the
                  denomination of the Regulation S Global Note by the aggregate denomi nation of
                  the beneficial interest in the Rule 144A Global Note to be so transferred, and to
                  credit or cause to be credited to the account of the Person specified in such
                  instructions (who shall be a Deposit01y Participa11t acting for or on behalf of
                  Euroelear or Clearstream, or both, as the case may be) a beneficial interest in the
                  Regulation S Gl.obal Note having a denomination equal to the amount by which
                  the denomination ofthe Rule L44A Globa l Note was reduced upon such trans fer.

                  (iii) RegulationS Global Kote to Rule 144A Globall\otc. If the Beneficial
                  Owner of an imcres t in a RegulationS Global Note wishes at any t11ne to transfer
                  its beneficial interest in such Regulation S Global Note to a Person who wishes to
                  take delive1y thereof in the form of a beneficial interest in the Rule l44A Global
                  Note, such holder may, in addition to complying with all Applicable Procedures,
                  transfer or cause the transfer of such beneficial interest for an equivalent
                  beneficial interest in the Rule 144A Global lote only upon compliance with the
                  provisions of this Section 2.04(j)(iii). Upon receipt by the Note Registrar at its
                  Corporate Trust Office of ( I) written instructions given in accordance with the
                  Applicable Procedures from a Depository Participant directing the Note Registrar
                  to credit or cause to be credited to another speci fied Depository Participant's
                  account a beneficial interest in the Rule 144A Global Note in an amount equal to
                  the denomination of the beneficial interest in the RegulationS Global Note to be
                  transferred. (2) a written order given in accordance with the Applicable
                  Procedures containing information regarding the account of the Depository
                  Participant to be credited with, and the account of the Depository Participant (or,
                  if such account is held for Emoclear or ClcMstream, the Euroclear or Clearstream
                  account. as the case may be) to be debited for such beneficial interest, and
                  (3) wi th respect to a transfer of a beneficial interest m the Regulation S Global
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                 Nolc for a beneficial interest in the related Rule 144A Global Note (i) during the
                 Restricted Period, a certi licate in the form of Exhibit G hereto given by the
                 Beneficial Owner, or (ii) after the Restricted Period, a Rule 144A Certification in
                 the form of Exhibit D hereto from the lransferec to the effect that such transferee
                 is a Qualified Institutional Buyer, 1he Note Registrar shall instruct the Depository
                 to reduce the denomination of the Regulation S Global Note by the denomination
                 of the beneficial interest in the Regulation S Global Note to be transferred, and,
                 concurrently with such reduction, to increase the denomination of the Rule 1441\
                 Global Note by the aggregate denomination of the beneficial interest in the
                 Regulation S Global Note to be so transferred, and to credit or cause to be
                 credited to the account of the Person specified in such instructions (who shall be a
                 Depository Participant acting for or on behalf of Euroclear or Clearstream, or
                 both, as the case may be) a beneficial interest in the Rule 144A Global Note
                 having a denomination equal to the amount by which the denomination of the
                 Regulation S Global Note was reduced upon such transfer.

                 (iv)     Transfers Within Regulation S Global Notes During Restricted Period. If,
                 during the Restricted Period, the Beneficial Owner of an interest in a Regulation S
                 Globall\ote wishes at any time to transfer its beneficial interest in such
                 Regulation S Global Note to a Person who wishes to take delivery thereof in the
                 form of a Regulation S Global Note, such Benelicial Owner may transfer or cause
                 the transfer or such beneticial interest for an equivalent beneficial interest in such
                 RegulationS Globa l Note only upon compliance with the provisions of this
                 Section 2.04U)( iv) and all Applicable Procedures. Upon receipt by the Note
                 Registrar a l its Corporate Tn.st Office of ( I) written instmcrions given in
                 accordance with the Applicable Procedures from a Depository Pat1icipant
                 directing the Nore Registrar ro credit or cause to be credited to another specified
                 Depository Participant's accounr a beneficial interest in such RegulationS Global
                 Note in an amount equal to the denomination of the bcnclicial interest to be
                 transferred, (2) a written order given in accordance with the Applicable
                 Procedures containing information regarding the account of the Depository
                 Participant to be credited with, and the account of the Deposi tory Participant (or,
                 if such account is he ld for Euroclear or Clearstream, the Ruroclcar or Clearstream
                 account, as the case may be) to be debited for, such beneficial interest and (3) a
                 certificate in the fo rm of Exh ibit 1I hereto given by the transferee. the Note
                 Registrar shall instruct the Depository to credit or cause to be credited to rhe
                 account of the Person specifi ed in such instructions (who shall be a Depository
                 Parti cipant acting for or on behalf ofEuroclcar or Clearstream, or both, as the
                 case may be) a beneficial interest in the Regulation S Global Note having a
                 denomination equal to the amount speci fied in such instructions by which the
                 account to be debited was reduced upon such transfer. The Note Rcgisn·ar shall
                 no! be rcqttircd to monitor compliance by Beneficial Owners of the prov isions of
                 lhis Section 2.04U)(iv).

                (k)     Any and al l transfers from a Globa l Note relating to a Private Note to a
transferee wishing to take delivety in the form of an Individual Note relating to a Private Note
will require the transferee to take delivery subject to the restrictions on the transfer of such
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Individual Note relating to a Private Note described on the face of such Note, nnd such transferee
agrees that it will transfer such lndividual Note relating to a Private Note only as provided
therein and herein. No such transfer shall be made and the Note Registrar shall not register any
such transfer unless such transfer is made in accordance with this Section 2.04(k).

                         (i)     Transfers ofa.bcncficial interest in a Global Note relating to a
         Private Note to a Qualified Institutional Buyer or a RegulationS Investor wishjng to take
         delivery in the form of an individual Note relating to a Private Note will be registered by
         the Note Registrar only upon compliance wilh the provisions of Section 2.04(j) and if the
         Note Registrar is provided with a Rule 144A Certification or a RegulationS Transfer
         Certificate, as applicable.

                         (ii)    Notwithstanding the foregoing, no transfer of a beneficial interest
         in a Regulation S Global Note to an Individual Note relating to a Private Note shall be
         made prior to the expiration of the Restricted Period. Upon acceptance for exchange or
         transfer of a beneficial interest in a Global Note for an Individual Note relating to a
         Private Note, as provided herein, the Note Registrar shall endorse on the schedule affixed
         to the related Global Note (or on a continuation of such schedule affixed to such Global
         Note and made a part Lhereol) an appropriate notation evidencing the date of such
         exchange or transfer and a decrease in the denomination of such Global Note equal to the
         denomination of such Individual Note relating to a Private Note issued in exchange
         therefor or upon transfer thereof. Unless determined otherwise by the Administrator in
         accordance with applicable law, an Individual Note relating to a Private Note issued upon
         transfer of or exchange for a beneficial interest in the Global Note shal l bear the
         Securities Legend.

                 (I)     Transfers oflndividual Note to Lhe Global Notes. If a Noteholder of an
individual Note relating to a Private Note wishes at any time to transfer such Note to a Person
who wishes to take delivery thereof in the form of a beneficial interest in the related
RegulationS Global Note or the related Rule 144A Global 1 ole, such transfer may be effected
on ly in accordance with the Applicable Procedures, and this Section 2.04(1). Upon receipt by the
Note Rcgistrar at the Corporate Trust Office of (I) the Individual Note relating to a Private Note
to be transferred with an assignment and transfer, (2) written instructions given in accordance
with the Applicable Procedures from a Depository Participant directing the Note Registrar to
credit or cause to be cred1ted to another specified Depository Panicipant's account a beneficial
interestm such RegulationS Global ote or such Rule 144/\ Global 1'\ote, as the case may be, in
an amoun t equal to the denomination of the Individual Note to be so transferred, (3) a written
order given in accordance with the Applicable Procedures containing information regarding the
account of the Depository Participant (and, in the case of any transfer pursuant to RegulationS,
the Euroclear or Clearstream account, as the case may be) to be credited with such beneficial
interest, and (4) (x) if delivery is to be taken in tJ1e fonn of a beneficial interest in the
RegulationS Global Note, a RegulationS Transfer Certificate from the transferor or (y) a
Rule J44A Certification from the transferee Lo the effect that such transferee is a Qualified
Instit utional Buyer, if delivery is to be taken in the fonn of a beneficial interest in the Rule L44A
Global Note, the Note Registrar shall cancel such Individual Note relating to a Private Note, the
Issuer shall execute and the Indenture Tmstee shall authenticate and deliver a new Individual
Note relating to a Private Note for the denomination of the Individua l Note not so transferred,
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registered in the name of the oteholder, and the 1ote Registrar shal l instruct the Depository to
increase the denomination of the RegulationS Global Note or the Rule I 44A Global Note, as the
case may be, by the denomination of the Individual ole to be so translcrred. and to credit or
cause to be credited to the account of the Person specified in such instructions (who. in the case
of any increase in the RegulationS Global 1 ote during the Restricted Period. shall be a
Depository Participant acting for or on behalf of Euroclear or Clearstrenm. or both, as the case
may be) a correspond ing denomination of the Rule 144A Global Note or the Regu lation S G lobal
Note, as the case may be.

It i5 the intent of the foregoing that under no circumstances may an investor that is not a
Qua I i fied Institutional Buyer or a Regulation S Investor take delivery in the l'orm of a beneficial
interest in a G lobal otc relating to a Private Note or an Indi vidual otc relating to a Private
Note.

                (m)    An exchange of a beneficial interest in a Global Note for an Individual
Note or Notes, an exchange of an Individual Note or Notes for a beneficial interest in a Global
Note and an exchange of an Individual ote or Notes for another Individual Note or Notes (in
each case, whether or not such exchange is made in anticipation or subsequent transfer, and in
the case of the Global Notes, so long as the Global Notes remain outstanding and arc held by or
on behalfol"thc Depository), may be made only in accordance with this Section 2.04 and in
accordance with the rules of the Depository and Applicable Procedures.

                (n)    (i) Upon acceptance for exchange or transfer of an Individual Note
relating to a Private Note tor a beneficial interest in the Global Note as provided herein. the Note
Registrar shall cancel such Individual ;-.:otc and shall (or shall request the Depository to) endorse
on the schedule affixed to the applicable Global Note (or on a continuation of such schedule
affixed to the Global Note and made a part thereof) an appropriate notation evidencing the date
of such exchange or transfer and an i ncreasc in the ole balance of the G loba I Note equa I to the
Note balance of•;uch lndi' idual Note exchanged or transferred therefor.

                         (ii)     Upon acceptance for exchange or transfer of a beneficial interest in
         the G loba l ote !or an Individual Note relating to a Private Note as provided herein, the
         Note Registrar shall (or shall request the Depository to) endorse on the schedule affixed
         to the Global 1\:otc (or on a continuation of such schedule affixed to the Global Note and
         made a part thereof) an appropriate notation C\ idcncing the date of such exchange or
         transfer and a decrease in the 1 ote balnnce of' the Global Note equal to the Note balance
         of such Individual Note issued in exchange therefor or upon transfer thereof.

               (o)     The Securities Legend shall be placed on an) Individual Note relating to a
Private Note issued in exchange for or upon transfer of another Individual ! ote relating to a
Private Note or of a beneficial interest in the Global Note.

No transfer of any Private Note shall be made unless such transfer is exempt from the
registration requirements of the Securities Act and any applicable state securities laws or is made
in accordance with said Act and laws. o transfer of any Private Note shall be made if such
transfer would requ ire the Issuer to register as on '·investment company" under the In vestment
Company Act or 1940, as amended. In the event o f any such transfer, unless such trans fer is

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made in reliance <?n Rule 144A under the Securities Act or RegulationS under the Securities
Act, (i) the Indenture Trustee may require a written Opinion of Counsel (which may be in-house
counsel) acceptable to and in form and substance reasonably satisfactory to the Indenture Trustee
that such transfer may be made pursuant to an exemption, describing the applicable exemption
and the bas is therefor, from said Act and laws or is being made pursuant to said Act and laws,
which Opinion of Counsel shall n-ot be an expense of the lndenture Trustee or the Trust and
(ii) the Indenture Trustee shall require the transferee to execute a Transferee Letter certifyi ng to
the lssuer and the Indenture T mstec the facts surrounding such transfer, which Tra nsferee Le tter
shall not be an expense of the Indenture Trustee, or the Trust. The holder of a Private )lote
desiring to effect such transfer shall, and docs hereby agree to, indemnify the Indenture Trustee,
and the T rust against any liability that may result if the transfer is not so exempt or is not made in
accordance with such federa l and s tate laws. None of the Issuer, the lndenture Trustee or the
Tntst intends or is obligated to register or qualify any Private Note under the Securities Act or
any state securities laws.

        No Note may be acquired directly or indirectly by a fiduciary of, on behalf of, or with
" Plan Assets" (within the meaning of Section 25 10.3-IO l of the U.S. Department of Labor
regulations (the "Plan Asset Regulation")) of, an "employee benefit plan" as defined in Section
3(3) of ERlSA, a "plan" within the meaning of Section 4975 of the Code or a ny other entity
whose underlying assets include Plan Assets by reason of any plan's investment in the entity,
which is subject to T itle I of ERISA or Section 4975 of the Code (a " Plan"), unless (i) s uch Note
(other than a Class A-5 Note) is rated investment grade or better as oftbe date of purchase, (ii)
the transferee of the Note believes that the Note is properly treated as indebtedness without
substantial equity features for purposes of the Plan Asset Regu lation and agrees to so treat such
Note and (iii) the acquisition and holding of the Note do not result in a violation of the prohibited
transaction ntles of ERISA or Section 4975 of the Code (A) because it is covered by an
app(jcable exemption, including Prohibited Transaction Class Exemption 96-23, 95-60, 9 1-38,
90-1 or 84-1 4, or (B) by reason of the Trust, the Administrator, the Back-up Administrator. the
Underwriters, the Servicer, the Indenture Trustee, the Owner Trustee, the Grantor Trustee, any
provider of credit support or any of their affiliates not being a "Party in Jntcrcst" (within the
meaning ofSection 3( 14) of ERlSA) wiih respect to such P lan. Any transferee of a Note shall be
deemed to have represented that such transferee is acqu iring a Note in conformance with the
requirements of the preceding sentence.

        The Indenture Trustee shall have no obligation or duty to monitor, detenn mc or inquire
as tO compl iance with any restrictions on transfer imposed under this Indenture or under
applicable law with respect to any transfer of a ny interest in any Note (including any tra nsfers
between or among Participants, members or Beneficial Owners in any Note) other than to require
delivery of such certificates and other documemation or evidence as arc expressly required by,
and to do so if and when expressly required by, the terms of thi Indenture, and to examine the
same to determine substantial compliance as to form with the express requirements hereof.

                SECTJON 2.05 Mutilated. Destroyed, Lost or Stolen Notes. If (i) a ny
muti latcd ~otc is sun endered to the Indenture Trustee, or the Indenture Trustee receives
evidence to its satisfaction of the destruction, loss or thclt of any Note, and (ii) there is delivered
to the Indenture Trustee such security or indemnity as may be required by it to ho ld the rssucr
and the Indenture Trustee harmless, then, in the absence of notice to the Issuer, the Note

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Registrar or the Indenture Trustee that such Note has been acquired by a bona fide purchaser,
and provided that the requirements of Section 8-405 of the UCC are met, the Tssuer shall execute
and ·Upon its reques t the Indenture Trustee shall authenticate and deliver, in exchange for or in
lieu of any such mtttilated, destroyed, lost or stolen l\'ote, a replacement Note; provided,
however, that if any such destroyed, lost or stolen Note, but not a mutilated Note, shall have
become or within IS days shall be due and payable instead of issuing a replacement Note, the
Issuer may pay s uch destroyed, lost or stolen Note when so due or payable without surrender
thereof. If, after the delivery of such replacement Note or payment of a destroyed, lost or stolen
Note pursuant to the proviso to the preceding sentence, a bona fide purchaser of the original Note
in lieu of which such replacement Note was issued presents for payment such original Note, the
Issuer and the Indenture Trustee shall be entitled to recover such replacement Note (or s uch
payment) from the Person to whom it was delivered or any Person taking such replacement Note
from such Person to whom such replacement Note was delivered or any assignee of such Person.
except a bona fide purchaser, and shall be entitled to recover upon the security or indemnity
provided therefor to the extent of any loss, damage, cost or expense incurred by the Issuer or the
Indenture Trustee in connection therewith.

Upon the issuance of any replacement Note under this Section, the Issuer may require the
payment by the holder of the Notes thereof of a sum sufficient to cover any tax or other
governmental charge that may be imposed in relation thereto and any other reasonable expenses
(including the fees and expenses of the Indenture Tmslee) connected therewith.

Every replacement Note issued pursuant to this Section in replacement of any muti Ia ted,
destroyed, lost or stolen Note shall constitute an original additional contractual obligation of the
Issuer, whether or not the mutilated, destroyed, lost or stolen Note sht11l be at any time
enforceable by anyone, and shall be e ntitled to all the benefits of this Indenture equally and
propot1ionately with any and all other Notes duly issued hereunder.

The provisions of this Section are exclustve and shall preclude (to the extent lawful) all other
rights and remedies w ith respect to the replacement or payment of mutilated, destroyed, lost or
stolen Notes.

                SECTION 2.06 Persons Deemed Owner. Prior to due presentment for
registration of transfer of any ::--!Ole, the Issuer, the lndenrure Trustee and any agent of the Issuer
or the lndcnture Ttustee may treat the Person in whose name any Note is registered (as of the day
of determination) as lhe owner of such Note for the purpose of receiving payments of principal
of and interest on such Note and for all other purposes whatsoever, whether or not such Note be
overdue, and neither the Issuer or the Indenture Trustee nor any agent of the Issuer or the
Indenture Trustee shall be affected by notice to the contrary.

                SECTION 2.07 Payment of Principal and Interest: Defaulted Interest. (a) Each
Class of Notes shall accrue interest as provided in the applicable form of such Class set forth in
Exhibits A-I through A-7 respectively, and such interest accrued on each Class ofNotes shall be
payable on each applicable Distribution Date as speci fied therein, subject to Section 3.0 l. Any
installment of interest or principal, if any, with respect to each Class of Notes payable on any
appli~;ablt: Note wh ich is puncntally paid or duly provided for by the Issuer on the applicable
Distribution Date shall be paid to the Person in whose name such Note (or one or more

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Predecessor "\lotes) is registered o n the Record Date by c heck mailed first-class, postage prepaid
to such Person's address as it appears on the Note Register on such Record Date, except that,
un less Definitive Notes have been issued pursuant to Section 2. 12, with respect to Notes
registered on the Record Date in the name of the nominee of the Clearing Agency (initially, such
nominee to be Cede & Co.), payment will be made by wire transfer in immediately avai lable
funds to the account designated by such nominee and except for the final installment of principal
payable with respect to such Note on a Distribution Date or on the applicable Note Final
Maturity Date which sball be payable as provided below. The funds re[prcsented by arny such
checks returned undelivered shall be held in accordance with Section 3.03.

                (b)     The principal of each Note shall be payable in installments on each
Distribution Date as provided in the applicable form ofNote set fort h in Exhibits A- I through A-
7, respectively, to the extent the amount of fu nds required and available to be distributed in
respect of principal on such C lass of Notes pursuant to the terms of this Indenture; provided,
however, the entire unpaid principal amount of each Class of Notes shall be due and payable on
its respective Final Maturity Date. Notwithstanding the foregoing, the entire unpaid principal
amount of the Notes sball be due and payable, if not previously paid, on the date on which an
Event of Default shall have occurred and is continuing, if the Indenture Trustee or the Interested
~otcholders holding a majority ofthe Outstanding Amount of the related Classes ofNotcs have
declared the Notes to be immediately due and payable in the manner provided in Section 5.02.
All p rincipal payments on each Class of Class A Notes shall be made JllQ rata to the holders of
such Class of Notes entitlecl therelo. The Indenture Trustee shall notify the Person in whose
name a Note is registered at the close of business on the Record Date preceding the Distribution
Date on which the Tssuer expects that the final installment of principal of and interest on any
('lass of~otes will be pa id. Such notice shall be mai led or transmitted by facsimile prior to such
final Distribution Date and shall specifY that such fina l installment wi ll be payable only upon
presentation and su rrender of such Note and shall specify the place where such Note may be
presented and surrendered for payment of such installment.

                (c)      If the Issuer defaults in a payment of interest on any Class of I he Notes,
the Issuer shall pay defaulted interest (plus interest on such defaulted interest to the extent
lawful) at the applicable Note Interest Rate in any lawfu l mailller. The (ssuer shall pay such
defa·ulted interest to the persons who are holders of such Class or Classes of Notes on a
subsequent special record date, which date shall be at least three Business Days prior to the
payment date. The Issuer ~hal l fix or t:ause to be fixed any such special record date and payment
date, and, at least 15 days before any such special record date, the Issuer shall mail to each
holder of the affected C lass or Classes of Notes and the Indenture Trustee a notice that states the
special record date, the payment date and the amount of defaulted interest to be paid.

                SECTION 2.08 Cancellation. All Notes surrendered for payment, registration
of transfer or excha nge shall , if surrendered to any Person other than the Indenture Trustee, be
delivered to th~ lndenntre Trustee and shall be promptly cancelled by the Indenture Tmstee. The
Issuer may at any ti me deliver to the Indenture Trustee for cancellation any Notes previously
authenticated and delivered hereunder which the Issuer may have acquired in any manner
whatsoever, and all Notes so delivered shall be promptly cancelled by the Indenture Trustee. No
Notes shall be authenticated in lieu of or in exchange for any Notes cancelled as provided in this
Section, except as expressly permitted by this Indenture. All cancelled Notes may be held or
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disposed of by the Indenture Trustee in accordance with its standard relention or disposal policy
as in effect at the time, unless the lssuer shall direct by an Issuer Order that they be returned to it
and so long as such lssuer Order is timely and the Notes have not been previously disposed of by
the Jndenture Trusttee.

               SECTION 2.09 Release of Collateral. Subject to Section L1.0 I and the terms
of the Basic Documents, the Indenture Trustee shall release property from the lien of this
indenture only upon receipt or an Issuer Request accompanied by an omcers' Certificate of the
Issuer.

                SECTION 2. 10 Book-Entry Notes. The Notes, upon original issuance, wi ll be
issued in the form o ftypewrillen Notes representing the Book-Entry Notes, to be delivered to
The Depository Trust Company, the initial Clearing Agency, by, or on behalf of, the Issuer.
Such Notes shall initially be registered on the 'otc Register in the name of Cede & Co., the
nominee of the initial Clearing Agency, and no Note Owner will receive a Definitive Note (as
defined below) representing such Note Owner's interest in such Note, except as provided in
Secti on 2.12. Unless and until dcfmitivc, fu lly registered Notes (the "Definiti ve Notes.,) have
been issued to Note Owners pursuant to Section 2. 12:

                           (i)   the provisions of this Sec6on shall be in full force and effect;

                        (ii)    the ~otc Registrar and the Indenture Trustee may deal with the
          Clearing Agency for all purposes (including the payment of principal of and interest and
          other amounts on the Notes) as the authorized representative of the Note Owners;

                         (iii)   to the extent that the provisions of this Section conflict with any
          other provisions of this Indenture, the provisions ofth1s Section shall control;

                          (iv)   the rights of Note Owners sha ll be exerci~ed only through the
          Clearing Agency and shall be limited to those established by law and agreements
          between such Note Owners and the Clearing Agency and/or the Clearing Agency
          Participants pursuant to the Note Deposito•y Agreements. Unless and until Definitive
          Notes are issued pur~uant to Section 2. J2, the initial Clearing Agency will make book-
          entry transfers among the Clearing Agency Participants and receive and transmit
          payments of principal of and interest and other amounts on the Notes to such Clearing
          Agency Pntticipants; and

                         (v)     whenever this Indenture requires or permits aclions to be taken
          based upon instntctions or directions of the holders of the Notes evidencing <1 speci ficd
          percentage of the Outstanding Amount of the Notes, the Clearing Agency shall be
          deemed to represent such percentage only to the extent that it has received instructions to
          such effect fiom Note Owners and/or Clearing Agency Participants owning or
          representing, respectively, such required percentage of the beneficial interest in the Notes
          and bas delivered such instructions to the Indenture Trustee.

              SECTION 2. 11 Notices to Clearing Agency. Whenever a notice or other
communication to the holders of the Notes is required under this Indenture. unless and until
Definitive Notes shall have been issued to Note Owners pursuant to Sectjon 2. 12, the lndentmc
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Trustee shall give all such notices and communications specified herein to be given to the
holders of the Notes to the C learing Agency.

                  SECT10N 2. 12 Definitive Notes. If (i) the Administrator advises the Indenture
Trustee in writing that the Clearing Agency is no longer will ing or able to properly discharge its
rc.'\ponsibilities with respect to the Notes, and the Administrator is unable to locate a qualified
successor, (ii) circumstances change so that the book-entry system through the Clearing Agency
is less advantageous due to economic or administrative burden or the usc of the book-entry
system becomes unlawful with respect to the Notes or the Issuer notifies the Indenture Tmstee in
writing that because of Lhe change in circumstances the Issuer is terminating the book-entry
system with respect to the Notes or (iii) after the occurrence of an Event ofDefault, Note Owners
representing beneficial interests aggregating at least a majority of the Outstanding Amount of
such C lass ofNotes advise the Clearing Agency (which s hall then notify the Indenture Tntstee)
in writing that the continuation of a book-entry system through the Clea ring Agency is no longer
in the best interests of the Note Owners of such Class of Notes. then the Indenture Trustee will
cause the Clearing Agency to notify all Note Owners of such Class of Notes, through the
Clearing Agency, of the occurrence of any such event and of the availability of Definitive Notes
to such Note Owners requesting the same. Upon surrender to the Indenture Trustee of the
typewritten Notes representing the Book-Ently Notes by the Clearing Agency, accompanied by
registration instructions, the Issuer shall execute and the Indenture Trustee shall authenticate the
Definitive Notes in accordance wi th Lhe instructions of the Clearing Agency. None of the Issuer,
Lhe Note Reg istrar or the Indenture Trustee shall be liable for any delay in delivery of such
instructions and may conclusively rely on, and shall be protected in relying on, such instn1ctions.
Upon the issuance of Definitive Notes, the Tndenrure Trustee sha ll recognize the holders ofthe
Definitive Notes as lhe Noteholders for such Class of Notes.

                 SECT10N 2. 13 T ax Treatment. T he Issuer has entered into this Indenturc, and
the Notes will be issued, with the intention that, for federal, state and local income. business and
franchise tax purposes, the Notes will qualify as indebtedness of the Issuer. The Issuer, by
enter ing into this Indenture, and each ~oteholder, by its acceptance ofiLs Note, agree to treat the
Notes for federal, state and local incomt!, business and franchise tax purposes as indebtedness of
the Issuer.

                                           ARTICLE Ill

                                            Covenants

                SECTION 3.0 I Payment to Noteholders. The Issuer w ill duly and punctually
pay the principal of and interest owing on each Class of Notes pursuant 1o the terms of this
Jndcnturc. Without limiting the foregoing, subject to Section 8.02, the Issuer will cause to be
distributed to the holders of the each Class of Notes that portion of the amounts on deposit in the
Trust Accounts on a Distribution Date, to which the holders of each Class of Notes an; entitled to
rccei vc pursuant to the tenns of this Indenture. Amounts properly withheld under the Code by
any Person from a payment to any holder of the Notes of interest on and/or principal of shall be
consjdcred as having bee n paid by the Issuer to such holder of the applicable Notes for all
PUI1)0Ses of this Indenture. The Notes will be non-recourse obligations of the Issuer and shall be


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limited in right of payment to amounts available from the Indenture Tmst Estate as provided in
this Indenture and the Issuer shall not be otherwise liable on the Notes.

                 SECTION 3.02 Maintenance of Office or Agency. The Issuer wi ll maintain in
the Borough of Manhattan, The City of New York. an office or agency where 1\'otes may be
surrendered for registration of transfer or exchange. The Issuer hereby initially designates U.S.
Bank ;-.Jational Association, U.S. Bank Trust New York, I00 Wall Street, Suite 1600, New York,
New York 10005 to serve as its agent for the foregoing purposes. Tbc Issuer will give prompt
written notice to the Indenture Tmstec of the location, and of any change in the location, of any
such office or agency. If at any time the Issuer shall fai l to maintain any such office or agency or
shall fail to furnish the Indenture Trustee with the address thereof, such surrenders may be made
or served at the Corporate Trust Office, and the Issuer hereby appoints the Indenture Trustee as
its agent to receive all such surrenders in respect of the Notes.

                SECTION 3.03 Money for Pavmcnts To Be Held in Trust. As provided in
Section 8.02, all payments of amounts due and payable with respect to any Notes that are to be
made from amounts distributed from the Collection Account or any other Trust Account
pursuant to Section 8.02 shall be made on behalf of the Issuer by the Indenture Trustee or by
another Paying Agent, and no amounts so distributed from the Collection Account for payments
of Notes shal l be paid over to the Issuer except as provided in rhis Section. The Indenture
T111stee is hereby appointed as the initial ·'Paying Agent" hereunder and the Indenture Tmstec
hereby accepts such appointment.

On or before the Business Day next preceding each Distribution Date, the Issuer shall distribute
or cause to be distributed to the Indenture Trustee (or any other Paying Agent) an aggregate sum
sufficient to pay the amounts then becoming due under each Class of the Notes, such sum to be
held in trust Cor the benefit or the Persons entitled thereto and (unless the Paying Agent is the
indenture Trustee) shall promptly noti fy the Indenture Trustee of its action or failure so to act.

The Issuer will cause each Paying Agent other than the Indenture Tmstee to execute and deliver
to the Indenture Trustee an instrument in which such Paying Agent shan agree with the Indenture
Trustee (and if the Indenture Trustee acts as Paying Agent, it hereby so agrees), subject to the
provisions of this Section, that such Paying Agent will:

                        (i)     hold all sums held by 1t for the payment of amounts due with
         respect to each Class of the Notes in trust for the bene fit of the Persons entitled thereto
         until such sums shall be paid to such Persons or otherwise disposed of as herein prov ided
         and pay such sums to such Persons as herein provided;

                       (ii)    give the Indenture Trustee notice of any default by the Issuer of
        which it has actual knowledge (or any other obligor upon the Notes) in the making of any
        payment required to be made with respect to any Class of "t\otes;

                         (iii) at any time during the continuance of any such default, upon the
         written request of the Indenture Trustee, forthwith pay to the lndentmc Trustee all sums
         so held in trust by such Paying Agent;


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                          (iv)   immediately resign as a Paying Agent and forthwith pay to the
         Indenture Trustee all sums held by it in trust for lhe payment of each applicable Class of
         Notes if at any time it ceases to meet the standards required to be met by a Paying Agent
         at the time of its appointment; and

                        (v)   comply with all requirements of the Code with respect to the
         withholding from any payments made by it on any Class of the Notes of any applicable
         withholding taxes imposed thereon and with respect to any applicable repOiting
         requirements in connection therewith.

The Administrator may at any time, for the purpose of obtaining the satisfaction and discharge of
this Indenture or for any other purpose, by written order direct any Paying Agent to pay to the
Indenture Trustee all sums held in rrust by such Paying Agent, such sums to be held by the
Indenture Trustee upon the same tmsts as those upon which the sums were held by such Paying
Agent; and upon such payment by any Paying Agent to the Indenture Trustee, such Paying Agent
shall be released from all further liability with respect to such money.

Subj ect to applicable laws with respect to escheat of funds, any money held by the lndenture
Trustee or any Paying Agent in trust for the payment of any amount due with respect to any Note
and remaining unclaimed for two years after such amount has become due and payable shall be
discharged from such trust and be paid to the Issuer on .Issuer Request; and tbe holder of such
Noles thcn;ofshall thereafter, as an unsecured general creditor, look only to the Issuer for
payment thereof (but only to the extent of the amounts so paid to the Issuer), and all liability of
the Indenture Trustee or such Paying Agent with respect to such trust money shall thereupon
cease; provided, however, that the lndcnn•rc Trustee or such Paying Agent, before being required
to make any such repayment, shall at the expense and direction of the Issuer cause to be
publjshed once, in a newspaper published in the English language, customarily published on
each Business Day and of general circulation in The City of New York, notice that such money
remains unclaimed and that, after a date specified therein, which shall nor be less than 30 days
from the date of ·uch pub Iication, any unclaimed balance of such money then remaining wil l be
repaid to the Issuer.

                SECTION 3.04 Existence:. The Issuer will keep in full effect it existence,
rights and franchises as a trust under the laws of the Slate of Delaware (unless it becomes, or any
successor Issuer hereunder is or becomes, organized under the laws of any other State or of the
United States or America, in which case the Issuer will keep in fu ll effect its ex istcnt;e, rights and
franchises under the laws of such other jurisdiction) and will obtain and preserve its qualification
to do business in each jurisdiction in which such qualification is or shall be necessary to protect
the validity and enforceabi lity of this Indenture, the Notes, the Collateral and each other
instrument or agreement included in the Indenture Trust Estate.

               SECTION t05 Protection of lndcmurc Trust Estate. The Issuer will from time
to time execute and deliver all such supplements and amendments hereto and all such fi nancing
statements, continuation statements, instmments of fuJ1her assurance and other instruments, and
will take such other action necessary or advisable to:



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                         (i)    maintain or preserve the lien and security interest (and the priority
         thereot) of this Indenture o r carry out more effectively the purposes hereof;

                        (ii)    perfect, publish notice of o r protect the validity of any Grant made
         or to be made by this Indenture;

                         (iii)   enforce any o f the Collateral; or

                         (iv)    preserve and defend title to the Indenture Trust Estate and the
         rights of the Indenture Trustee, and tbe holders of the Notes in such Indenture Trust
         Estate against the c laims of all persons a nd pat1ics.

       The Issuer hereby dcsignaLes lhe lndcnlltre Trustee its agen t and attorney-in-fact to
execute any financing state ment, continuation statement or other instrument required to be
executed pursuant to this Section.

                SECTION 3.06 Opinions as to Indenture T rust Estate. (a) On the C losing
Date, the Issuer shall furnish to the l ndentm c Ttustee an Opinion o f Counsel either stating that,
in the opinion of such counsel, such action has been taken with respect to the recording and fi ling
of this rndcnture, any indentures s upplemental hereto, and any other requisite documents, and
with respect to the execution and filing or any fi nancing statements and continuation statements,
as are necessary to perfect and make effective the lien and secu1 ity interest of this Indenture and
reciting the details of such action, or stating that, in the opinion of such counsel, no such action is
necessary to make such lien and security interest effective.

                 (b)      On or before April 30 in each calendar year, beginning in 2006, the Issuer
sha ll furnish to the Indenture Trustee an Opinion of Counsel either stating that, in the opinion of
such counsel, such action has been taken with respect to the recording, fi ling, re-record ing and
refiling of thts Indenture, any mdcnturi.!S supplemental hereto and any other requisite documents
and with respect to the execution and filing o f any financ ing statemen ts and continuation
statements as is necessary to mainlain the lien and security interest created by this Jndenture and
rec iting the details of such action or stating that in the opinion of such counsel no such action is
necessary to maintain such lien and security interest. S uch Opinion of Counsel shall also
describe the recording, filing, re-recording and rcfiling of this fndenture, any indentures
supplemental hereto and any other requisite documents and the execution and filing of any
financing statements and continuation statements that will, in the opinion of such counsel, be
requi red to maintain the lien and security interest o f this Indenture until April 30 in the following
calendar year.

                SECTfON 3.07 Perfonnance o f Obligations; Servic ing of Financed Student
Loans. (a) The lssuer wi ll not take any action and will use its best efforts not to permit any
action to be taken by otJ1ers that would release any Person from any of such Person's material
covenants or obligations under any instrument or agreement included in t he Indenture Trust
Estate or that would result in the amendment, hy pothecation, subordination, tcnnination or
discharge of, or impair the validity or effectiveness of, any such instrwnent or agreement, except
as expressly provided in this Indenture or the other Basic Documents.



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                  (b)     Although the Issuer will contract with other Persons to assist it in
performing its duties under this Indenture, any performance of such duties by a Person identified
to the Indenture Trustee in an Onicers' Certificate of the Issuer shall be deemed to be action
taken by the Issuer. Initially, the Issuer has contracted with the ervicer and the Administrator to
as::.ist the Issuer in perfo rming its duties under this lndt:nture.

                (c)    The Issuer will enforce all of its rights under this Indenture and the Basic
Documents, including. without limitation, enforcing the covenants and agreements of the
Depositor in the Deposit and Sale Agreement (including covenants to the effect that the
Depositor will enforce covenants against the Sellers under the tudent Loan Purchase
Agreements), and will punctually perform and observe all of its obligations and agreements
contained in this Indenture, the other Basic Documents and in the instruments and agreements
inelruded in the Indenture Trust Estate, including fil ing o r causing to be filed all UCC financing
statements and continuation statements required to be filed by the terms of this Indenture in
accordance with and \\ ithin the time periods provided for herein and therein. except as
otherwise expressly provided therein. the Issuer shall not waive. amend, modify, supplement or
terminate any Basic Document or any provision thereof without the consent of the Indenture
Trustee and the Interested Noteholders holding a majority of the Outstanding Amount of the
related Classes ofNotes).

                 (d)    lfthe Issuer shall have knowledge of the occurrence of a Scrviccr Default,
an Administrator Defau lt or a Back-up Administrator Default the Issuer shall promptly notify
the Indenture Trustee and the Rating Agencies thereof: and shal l specify in such notice the
action, if any, the Issuer is taking with respect to such default. If a 'ervicer Default shall arise
from the failure ofthe erviccr to perform any of its duties or obligations under the ervicing
Agreement, or an Administrator Defiwlt shall arise fi·om the failure of the Administrator to
perform any or its duties or obligations under the Administration Agreement. or a Back-up
Administrator Default shall arise from the failure of the Back-up Administrator to perform any of
its duties or obligations under the Back-up Administration Agreement, as the case may be,"' ith
respect to the Financed Student Loans, the Issuer shall take all reasonable steps available ro it to
enforce its ri ghts under the Basic Documents in respect of such failure.

               (c)       Upon any pat1ial or complete termination of the 'ervicer·s rights and
powers pursuant to the ervicing Agreement, or an} termination of the Administrator"s rights
and powers pursuant to the Administration Agreement, or an) termination of the Back-up
Admin istrator"s rigllts and powers pursuant to the 13ack-up A elm in istrat ion Agrcl;menl, as the
case may be, the Issuer shall promptly notify the Indenture Trustee and the Rating Agencies. As
soon as a successor crvicer, a successor Administrator, or a successor Back-up Administrator is
appointed, the Issuer shall notify the Indenture Trustee and the Rating Agencies of such
appointment, spcci fying in uch notice the name and address of such uccessor erviccr, such
Successor Administrator or such Back-up Administrator.

                (t)     Without derogating from the absolute nature of the assignment granted to
the Indenture Trustee under this Indenture or the rights of the Jndenlure Trustee hereunder, the
Issuer agrees that it will not, without the prior written consent of the lndcnLUre Trustee and the
lntercstecl Noteholders holding a majority o f the Outstanding Amount of the Related Classes of
Notes, amend, modify, waive. supplement, term inatc or surrender, or agree to any amendment,

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modification, supplement, tennination, waiver or surrender of, the tcnns of any Collateral or the
Basic Documenrs, except to the extent othetWise provided therein, or waive timely performance
or observance by the Servicer, the Admin istrator, the Back-up Administrator, the Depositor, the
Issuer or tile Owner Trustee under the Basic Documents; provided, however, that no such
amendment shall (i) increase or reduce in any manner the amount of, or accelerate or delay the
timing of, co llections of payments with respect to Student Loans or d istributions that shall be
required to be made for the benefit of the holders of Notes, (ii) amend the aforesaid percentage of
the Outstanding Amount of the rdatcd Class or Classes of Notes, which aJc required to consent
to any such amendment, without the consent of all outstanding holders of all Classes of Notes
affected by such amendment. If any such amendment, modification, supplement or waiver shall
be so consented to by the Indenture Trustee and such holders of the Notes, the Issuer agrees,
promptly following a request by the Indenture Trustee to do so, to execute and deliver, in its own
name and at its own expense, such agreements, instruments, consents and other documents as the
Indenture Trustee may deem necessary or appropriate in the circumstances.

                SECTION 3.08       Negative Covenantc;. So long as any Notes arc Outstanding,
the lssuer shall not:

                        (i)    except as expressly pennitted by this indenture or any other Basic
        Document, sell, transfer. exchange or oilieiWise dispose of any of the properties or assets
        of the Tssuer, including those included in the Indenture Trust Estate, unless directed to do
        so by the ln1denture Trustee pursuanllo the terms hereof;

                        (ii)    claim any cred it on, or make any deduction from the principal or
         interest payable in respect of, the applicable Notes (other than amounts properly withheld
         from such payments under the Code or applicable state law) or assert any claim against
         any present or former holder of the Notes by reason of the payment of the taxes levied or
         assessed upon any part of the Indenture Tntst Estate; or

                        (iii)   (A) permit the validity or effectiveness of this Indenture to be
        impaired, or pem1it the lien of this Indenture to be amended, hypothecated, subordinated,
        terminated or discharged. or permit any Person to be released from any covenants or
        obligations with respect to the Notes under U1is Indenture except as may be expressly
        permitted hereby, (B) pennir any lien, charge, excise, claim, security interest, mortgage
        or other encumbrance (other than the lien of this lndennu·e) to be created on or extend to
        or othc1wise arise upon or burden the lndenlurc Trust Estate or any part I hereof or any
        interest therein or the proceeds thercof(other than tax liens and other liens that arise by
        operation oflaw, in each case arising solely as a result of an action or omission of the
        related Obligor, and other than as expressly pemlitted by the l3asic Documents) or (C)
        pem1it the lien of this Indenture not to constitute a valid first priority (other than with
        respect to any such tax or other lien) security interest in the Indenture Trust Estate.




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               SECTION 3.09 Annual Statement as to Compli anc~. The Issuer wi ll deliver to
the Indenture Trustee, on or before March 15 of each year, commencing March 15, 2006, an
Officers' Certificate of the Issuer stating that:

                       (i)     a review of the ac6vitics of the lssucr during the previous calendar
        year and ofperfom1ance under this Indenture has been made under such Authorized
        Officers' supervision; and

                       (ii)    to the best of such Authorized Officers' knowledge, based on such
        review, the Issuer has complied with all conditions and covenants under this Indenture
        throughout such year, or, if there has been a default in the corn pi ianee of any such
        condition or covenant, specifying each such default known to such Authorized Officers
        and the nature and status thereof.

                SECTION 3. 10 lssuer May Consolidate, etc.. Only on Certain Terms. (a) The
Issuer shall not consolidate or merge with or into any other Person unless:

                        (i)    the Person (if other than the Issuer) formed by or surviving such
        consolidation or merger shall be a Person organized and existing under the laws of the
        United States of America or any State and shall expressly assume, by an indenture
        supplemental hereto, executed and delivered to the Indenture Trustee, in form satisfactory
        to the Indenture Trustee, the d\IC and puncnaal payment of the principal ofancl interest on
        each C lass of Notes, and the performance or observance or every agreement and covenant
        of this Indenture on the part of the Issuer to be performed or observed, all as provided
        herein;

                       (ii)    immediately after giving effect to such transaction, no Default
        shall have occutTecl and be continuing;

                       (iii)    the Rating Agency Condition shall have been satisfied with respect
        to such transaction;

                       (iv)   the Issuer shall have received an Opinion of Counsel (and shall
        have delivered copies thereof to the Indenture Trustee) to the effect that such transaction
        will not have any material adverse Federal tax consequence to the Issuer, any holder of
        the Notes or any holder of the Certificates;

                        (v)    any action as is necessary to maintain the lien and security interest
        created by this Indenture shall have been taken; and

                        (vi)    the Issuer shall have delivered to the Indenture Trustee an Officers'
        Certificate of the Jssucr and an Opinion of Counsel each stating that such consolidation or
        merger and such supplemental indenture comply with this Article lll and that all
        condillons precedent herein provided for relating to such transaction have been complied
        with.

                (b)     The Issuer shall not convey or transfer all or substantially all its properties
or assets, including those included in the Indenture Trust Estate, to any Person unless:
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                         (i)    the Person that acquires by conveyance or transfer the properties
        and assets o f the Issuer the conveyance or transfer of which is hereby restricted shall
        (A) be a United States citizen or a Person organized and ex isting under the laws of the
        United States of America or any State, (B) expressly assume, by an indenture
        supplemental hereto, executed and delivered to the Indenture Trustee, in form satisfactory
        to the Indenture Tmstee, the due and punc tual payment of the principal of and interest on
        each Class of Notes a nd the performance or observance of every agreement a nd covenant
        of this I ndcnturc on the part of the Issuer to be pcrfon ncd or observed, all as provided
        herein, (C) expressly agree by means of such supplemental indenture that all right, title
        and interest so conveyed or transferred shall be subj ect and subordinate to the rights of
        holders of the Notes and (D) unless otherwise p rovided in such supple mental indenture,
        expressly agree to indemn ify, defend and hold harmless the Issuer against and from any
        loss, liability or expense arising under or related to this Indenture and the Notes:

                       (ii)   immediately after giving effect to such transaction, no Defaull
        shall have occurred and be continuing;

                        (iii)   the Rating Agency Condition shall have been satisfied with respect
         to such transaction;

                         (iv)   the Issuer shall have received an Opinion of Counsel (and shall
         have clclivtn:d w pics thereof to the Inde nture Trustee) to the effect that such transaction
         will not have any material adverse Federal lax consequence to the Issuer, any ho lder of
         the Notes, any holder of the Grantor Trust Certi fi cates, or any holder of the Certificates;

                       (v)     any action as is necessary to maintain the lien and security interest
        created by this rndenture shall have been taken; a nd

                          (vi)    the issuer shall have delivered to the Indenture Trustee an Offi cers'
         Ccrti fieate of the Issuer and an Opinion of Counsel each stating that such conveyance or
         transfer and such supplemental indenture comply with this Article 111 and that all
         conditions precedent herein provided for rela ting lo such transaction have been complied
         with.

               SECTION 3. 11 Successor or T ransferee. (a) Upon any consolidation or
merger of the lssucr in accordance with Section 3. 1O(a). the Person formed by or surviving such
consolidation or merger (if other tban the Issuer) shall succeed to, and be substituted for, and
may exercise every right and power of, the Issuer under this Indenture with the same effect as if
such Person had been named as the Issue r he rein.

               (b)     Upon a conveyance or transfer of all the assets and properties of the Issuer
pursuant to Section 3.lO(b), The National Collegiate Student Loan Trust 2005-3 w ill be released
from every covenant and agreement of this Indenture to be observed or performed on the part of
the Issuer with respcel to the Notes immediately upon the delivery by the Tssucr of written no lice
to the Indenture Trustee stating Lhal The National Collegiate Student Loan Trust 2005-3 is to be
so released.


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               SECTION 3.12 No Other Business. The Issuer shall not engage in any
business other than fi nancing, purchasing, owning, selling and servicing the Financed Student
Loans and making Additional Fundings in the manner contemplated by this lndenn1re a nd the
other Basic Documents and activities incidental thereto.

                SECTION 3. 13 No Borrowing. The Issuer shall not issue, incur, assume,
guara ntee or otherwise become liable, directly or indirectly, for any indebtedness except for the
Notes.

               SECTION 3.14 Disposing of Financed Student Loans. Other than pursuant to
Article V, Financed Student Loans may only be sold, transferred, exchanged or otherwise
disposed of by the Indenture Tmstee free from the lien of this Indenture (i) for transfer to a
Guarantee Agency pursuant to the terms of the applicable Guarantee Agreement; (ii) to a Seller
or the Depositor in accordance with the applicable Student Loan Purchase Agreement or the
Deposit and Sale Agreement; or (iii) to the Serviccr in and, in each case, if the Indenture Trustee
is provided with the following:

                (a)     an Issuer Order stating the sale price and directing that Financed Student
Loans be sold, transferred or otherwise disposed of and delivered to a transferee whose name
shall be specified; and

                (b)      a certificate sigm;d by an Authorized Officer of the issuer to the effect that
the disposition price is equal to or in excess of the amount required by the appl icable Guarantee
Agreement in the case of clause (i), by the applicable Student Loan Purchase Agreement in the
case of clause (ii), or by the Servicing Agreement in the case of clause (iii).

                (c)     Subject to the provisions of this Indenture and except for sales ofFinanced
Student Loans pursuant to this Section 3. 14, the Indenture Trustee shall release property from the
lien of this Indenture only upon receipt of an Issuer Order, an Opinion of Counsel and
independent certificates in accordance with TIA Sections 314(c) and 3 14(d)( I) or an Opinion of
Counsel in lieu of such independent certificates to the effect that the TJA docs not require any
such independent certificates.

               (d)     Each Noteholder, by the acceptance of a Note, acknowledges that from
time to time the Indenture Tmstee shall release the lien of this Indenture on any Financed
Student Loan to be sold pursuant to this Section 3.14, ancl each Noteholder, by the acceptance of
a Note, consents to any such release.

The Indenture Tmstee, as a third-party beneficiary under the Student Loan Purchase Agreements
entered into by the Depositor, who has assigned its entire right, title and interest in such Student
Loan Purchase Agreements to the Issuer pursuant to the terms of the Deposit und Sale
Agreement, shall have the right to request the repurchase of loans by the applicable Seller or the
Depositor, as the case may be, together with any indemnity payments due thereunder upon the
conditions and subject to the provisions contained in the Student Loan Purchase Agreements.
The Indenture Trustee shall make s uch a request to the applicable Seller under the related
Student Loan Purchase Agreement or the Depositor under the Deposit and Sale Agreement, as
the case may be, to repurchase and, as the case may be, pay any indemnity amounts due with

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respect to certain speci fie loans pursuant to the Student Loan Purchase Agreements or the
Deposit and Sale Agreement, as applicable, if (i) the rndenture Trustee has actual knowledge that
the conditions precedent to such a repurchase or indemn ity obl igation with respect to such loans
have been satisfied; (ii) it has notified the Issuer in writing that such conditions have been
satisfied; and (iii) the Issuer has not exercised its right to request the repurchase or indemnity of
the applicable loans by the applicable Seller or t11e Depositor, as the case may be, wit.h in I0 days
after receiving written notice fron1 the Indenture Tntstec.

               SECTION 3. 15 Guarantees. Loans. Advances and Other Liabilities. Except as
contemplated by this Indenture or the other Basic Documents, the issuer shall not make any loan
or advance or credit to, or guarantee (directly or indirectly or by an instrument having rhe effect
of assuring another's payment or performance on any obligation or capability of so doing or
otherwise). endorse or otherwise become contingently liable, directly or indirectly, in connection
with the obligations, stocks or dividends of, or own, purchase, repurchase or acquire (or agree
contingently to do so) any stock, obligations, assets or securities of, or any other interest in, or
make any capital contribution to, any other Person.

              SECTION 3.16 Capital Expenditw·es. The lssuer shall not make any
expenditure (by long-term or operating lease or otherwise) for capital assets (either realty or
personalty).

                 SECTION 3. 17 Restricted Payments. The Tssucr shall not, directly or
indirectly, (i) pay any dividend or make any distribution (by reduction of capital or otherwise),
whether in cash, property, securities or a combination thereof. to the Owner Trustee or any
owner of a beneficial interest in the Issuer or otherwise with respect to any ownership or equity
interest or security in or of the Issuer or to the Depositor, the Serviccr, tbc Administrator or the
Back-up Administrator, (ii) redeem, purchase, retire or otherwise acquire for value any such
ownership or equity interest or security or (iii) set aside or otherwise segregate any amounts for
any such purpose; provided, however, tbal the Issuer may make, or cause to be made,
distributions to such persons as contemplated by, and to the extent funds are available for such
purpose under, this Indenture and the other Basic Documents. The Issuer will not, directly or
indirectly, make payments to or distributions from the Collection Account except in accordance
with this Indenture and the other Basic Documents.

                SECTION 3.1 8         otice of ~vents of Default. The b suer shall give the
Indenture Trustee and the Rating Agencies prompt written notice of each Event or Default
hereunder and each default on the pari of the Servicer of its obiigations under the Servicing
Agreement or the Administrator of its obligations under the Administration Agreement. In
addition, the Issuer shall deliver to the Indenture Trustee, within five days afte1· the occurrence
thereof, written notice in the form of an Officers' Ccttificatc of the Issuer of any event whkh
with the giving of notice and the lapse of time would become an Event ofDefault under
Section 5.01(iii), its status and what action the Issuer is taking or proposes to take with respect
thereto.

                SECTION 3. 19 Further Instruments and Acts. Upon request of the Indenture
Trustee, the Issuer will execute and deliver such further instruments and do such further acts as


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may be reasonably necessary or proper to carry out more effectively the purpose of this
Indenture.

               SECTION 3.20 Additional Covenants. The Issuer covenants that it will acquire
or cause to be acquired Student Loans as described herein. The Noteholdcrs shall not in any
circumstances be deemed to be the owner or holder of the Financed Student Loans.

The Issuer, or its designated agent, shall be responsible for each of the following actions:

             (a)   The Issuer, or its designated agent, shall cause rhc benefits of the
Guarantee Agreements to fl ow to the Indenture Trustee.

                (b)     The Indenture Trustee shall have no obligation to administer, service or
collect the loans in the Indenture Trust Estate or to maintain or monitor the administration,
servicing or collection of such loans.

                (c)  The Issuer shall comply with all united States statutes, rules and
regulations which apply to the Student Loan Programs, the Program Manual and the Financed
Stud ent Loans.

                (d)    The Issuer shall cause to be diligently enforced and taken all reasonable
steps, actions and proceedings necessary for the enforcement of all terms, covenants and
conditions of all Financed Student Loans made and agreements in c01mection therewith,
including the prompt payment of all principal and interest payments and all other amounts due
the Issuer thereunder. The Issuer shall not penn it the release of the obligations of any borrower
under any Financed Student Loan and shall at all time~, to the extent permitted by law, cause to
be defended, enforced, preserved and protected the rights and privileges of the Issuer. the
Indenture Trustee and of the Notcholders under or with respect to each Financed Student L oan
and agreement in connection therewith.

              (e)   The Issuer sha ll take all appropriate action to ensure that at the time each
Student Loan becomes a part of the lndenrure Trust Estate it shal l be free and clear from a ll li ens.

               (f)     The Issuer shall diligently enforce, and take a ll steps, actions and
proceedings reasonably necessary to protect its rights with respect to each Financed Student
Loan, and to maintain any guarantee (including the Guarantee issued by TERT) on and to enforce
all terms, covenants and conditions of Financed Student Loans, includi ng its rights and remedies
under the Deposit and Sale Agreement and the TERf Pledge Fund.

The Trustee shall not be deemed to be the designated agent for the purposes of this Section
unless it has agreed in writing to be s uch agent.

             SECTION 3.21         Covenanr Regarding Financed Student loans. The Issuer
hereby covenants that all Student Loans to be acquired hereunder will meet the following:

                (a)    Each Student Loan is evidenced by an executed promissory note, wbicb
note is a valid and binding obligation of the Obligor, enforceable by or on behalf of the holder


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      thereof in accordance with its terms, subject to bankruptcy, insolvency and otbcr laws re lating to
      or a ffecting creditors' rights.

                     (b)     The amount of the unpaid principal balance of each Student Loan is d ue
      and owing, and no counterc laim, offset, defense or right to rescission exists with respect to any
, ·   such Student Loan which can be asserted and maintained or which, with notice, lapse oftimc, or
      the occurrence or failure to occur of any act or event, could be asserted and maintained by the
      Obligor against the Issuer as assignee thereof. The Issuer shall take all reasonable actions to
      assure that no maker of a Student Loan has or may acquire a defense to the payment thereof.

                     (c)     No Student Loan has a payment that is more than 90 days overdue other
      than such Student Loans that, in the aggregate, do not exceed 1.00% of the then aggregate
      outstanding principal amount of the Student Loans.

                       (d)     The Issuer has full right, title and interest in each Student Loan free and
      clear of all liens, pledges or encumbrances whatsoever.

                      (e)    Each Student Loan was made in compliance w ith all applicable state and
      federal laws, rules and regula tions, including, without limitation, all applicable
      nondiscrimination, truth-in-lending, consumer credit and usury laws.

                     (1)    A ll loan documentation shall be delivered to the Servicer (as cus todian for
      the lndentm e Trustee) prior to payment of the purchase price of such Student Loan.

                     (g)     Each S tudent Loan is accruing inte rest (whether or not such interest is
      being paid currently by the bon·owcr ot is being capi talized), except as otherwise expressly
      pcnnittcd by this Indenture.

                      (h)     Each Student Loan was originated in conformity w ith the " loan acceptance
      criteria" (including, without limitation, any general policies, e ligtble borrower criteria,
      creditworthiness crite ria and "good credit" criteria) and the "loan program terms" (including,
      without limitation, the loan a mount, the interest rate and the guaranty fee) (or any similar criteria
      or te1111s, however so designated, under the applicable Program Manual) contained in the
      Program Manual and otherwise, in substantial confonnity with the Program Manual.

                        (i)   Each S tudent Loan is guaranteed by a Guarantee Agency.

                     SECTI01 3.22 Additional Representations o f the Issuer. The Issuer hereby
      makes the following re presentations and warranties to the Indenture Trustee, on beha lf of the
      Noteholdcrs:

                       (a)      Valid and Continuing Security Interest. This Indenture creates a valid
      and continuing security interest (as de fined in the applicable Uniform Commercial Code
      ("UCC") in effect in the State of Delaware) in the Financed Student Loans and all other assets
      constituting part of the Indenture Tmst Estate in favor of the Indenture Trustee. which security
      interest is prior to all other liens, charges, security interests, mortgages or other encumbrances,
      and is enforceable as s uch as against creditors of and purchasers from the Issuer.


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               (b)     Accounts. The Financed Student l .oans constitute "accounts" or
" payment intangibles'' within the meaning ofthe applicable UCC.

                (c)     Good and Marketable Title. The Issuer owns and has good and
marketable title to the Financed Student Loans and all other assets constituting part of the
Indenture Trust Estate free and clear of any lien, charge, security interest. mongage or other
encumbrance, c laim or encumbrance of any Person, other that those granted pursuant to this
I ndcnture.

                (d)    Perfection by Filing. rhe Issuer has caused or will have caused, within
ten days ofthe Closing Date, the filing o f all appropriate linancing statements in the proper filing
oflicc in the appropriate jurisdictions under applicable law in order to perfect the security interest
in the f-inanced Student Loans and all other assets of the Indenture Trust Estate granted to the
Trustee hereunder.

                (c)     Pe1fection by Possession. The Issuer has given the Indenture T rustee a
copy of a written acknowledgment from the applicable custodian that the custodian is holding
executed copies of the promissory notes and master promissory notes that constitute or evidence
the Financed Student Loans, and that such custodian is holding such notes solely on behalf and
for the benefit of the Indenture Trustee.

                (I)    Priority. Other than the ~ccu rit) interest grunted to the Indenture Trustee
pursuant to this Indenture, the Issuer has not pledged, assigned . sold. granted a security interest
in, or otherwise conveyed any of the Financed tudcnl Loans or any other portion or the
Indenture Trust Estate. The Issuer has not authorized the filing of and is not aware of any
financing statements against the Issuer that include a description of collateral covering the
Financed Student Loans or any other portion of the Indenture Trust Estate other than any
financing statement relating to the security interest granted to the Indenture I rustcc hereunder or
that has been terminated. 'The Issuer is not a\\ are of any judgment or ta~ lien filings against the
Issuer.

                 (g)     Valid Business Rea.wms; No Fmudulent Tr(lmjers. The transactions
contemplated by th is Indenture are in the ordinary course o r the Issuer's business and the Issuer
has valid business reasons lor granting the Indenture Trust Estate pursuant to this Indenture. At
the t imc or each such grant: ( i) the Issuer granted the Indenture rrust Estate to the Indenture
Trustee v. ithout any intent to hinder. delay, or defraud an) current or future creditor of the Issuer;
(ii) the Issuer was not inso lvent and did not become insolvent as a result of any such grant; (iii)
the Issuer was not engaged and was not about to engage in any business or transaction for which
any property remaining with such entity wns an unreasonably sma ll capital or for which the
remaining assets of such entity are unreasonably smal l in relation to the business of such entity
or the transaction; (iv) the Issuer did not intend to incur, and did not believe or should not have
reasonably believed, that it ,~~.ould incur. debts beyond its abilit) to pay as they become due; and
(v) the consideration paid received by the Issuer lor the grant of the Indenture Trust Estate was
reasonably equivalent to the value of' the related grant.




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                  SECTION 3.23      Issuer ScP.arateness Covenants. So long as any of the Notes are
Outstanding:

              (a)      The fssucr shall not engage in any business or activity other than in
connection with the activities contemplated hereby and in the Basic Documents, and in
connection with the issuance ofNotes.

               (b)     The fu nds and other assets of the Fssuer shall nol be commingled with
those of any other inctividual, corporation, estate, partnership, joint venture, association, joint
stock company, tnJSt, unincorporated organization, or government or any agency or political
subdivision thereof.

               (c)     The Issuer shall not be, become or hold itscl f out as being Iiablc for the
debts of any other pa1ty.

                  (d)   The Issuer shall not form, or cause to be formed, any subsidiaries.

                (c)     The Issuer shall act solely in its own name and through its duly authorized
officers or agents in the conduct of its business, and shall conduct its business so as not to
mislead others as to the identity of the entity with which they are concerned.

                (f)    The Issuer shall maintain its records and books of account nnd shall not
commingle its records and books of account with the records and books of account of any other
Person. The books of the Issuer may be kept (subject to any provision contained in the statutes)
inside or outside the State of Delaware at such place or places as may be designated from time to
time by the board of trustees or in the bylaws of the Issuer.

                (g)     All actions of the lssuer shall be taken by a du ly authorized officer or
agent of the Issuer.

                 (h)    The Issuer shall not amend, alter, change or repeal any provision
contained in this Section without (i) the prior written consent ofthc Indcnturc Trustee, and
(ii) satisfying the Rating Agency Condition.

                (i)     The Issuer shall not amend its organi7.arional documents or change its
jurisdiction of fom1a tion without fi rst sat1sfying the Rating Agency Condition .

               (j)       All audited financial statements or the Issuer that are consolidated with
those of any Affil iate thereof will contain detailed notes clearly stating that (i) all of the Issuer's
assets are owned by the Issuer, and (ii) the Issuer is a separate entity with creditors who have
received ownership and/or security interests in the Issuer's assets.

                 (k)    The Issuer will strictly observe legal fonnal ilics in its dealings with any of
its Affiliates, and funds or other assets of the Issuer will not be commingled with those of any of
its Affiliates. The Issuer shall not maintain joint bank accounts or other depository accounts to
which any of its Affiliates has independent access. None of the lssucr's funds will at any time be
pooled with the funds of any of its Affiliates.


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                 (1)     The lssucr will maintain an arm's length relationship wilh each Seller (and
any Affi liate thereof), the Deposi tor (and any Affil iate thereof), and any of the Issuer's
Affil iates. Any Person that renders or otherwise furnishes services to the Issuer wil l be
compensated by the Issuer at market rates for such services it renders or othetwise furnishes to
the Tssuer except as othe1wise provided in this Tndcnture. The Issuer will not hold itself out to be
responsible for the debts of the Seller, or the Depositor, the parent or the decisions or actions
respecting the daily business and affairs of the Seller, the Depositor or the parent.

                (m)    The issuer shall not sell, transfer, exchange or otlherwise dispose of any
porlion of the indenture Trust Estate except as expressly pennilted by this Indenture.

              (n)     The Issuer shall not claim any credit on, or make any deduction from, the
principal amount of any of thc Notes by reason of the payment of any taxes levied or assessed
upon any portion of thc Indenture Trust Estate.

               (o)    The issuer shall not permit the validity or effectiveness of this indenture or
any grant hereunder to be impaired, or permit the lien of this Indenture to be amended,
hypothecated. subordinated, tem1inated or discharged, or pem1it any Person to be released from
any covenants or obligations under this Indenture, except as may be expressly permitted hereby.

                   SECTION 3.24     Reports by Issuer. The Issuer will:

                 (a)      File with the Indenture Trustee, within 15 days after the lssuer is required
to fil e the same wi th the SEC, copies of the annual reports and of lhc information, documents
and other reports (or copies of such portions of any of the foregoing as t he SEC may from time
to time by rules and regulations prescribe), if any. which the Issuer may be required to file with
the SEC pursuant to Section 13 or Section 15( d) of the Exchange Act;

                (b)     File with the Indenture Trustee and the SEC, in accordance with ruJei> and
regulations prescribed from time to time by the SEC, such additional infom1ation, documents
and reports, if any, with respect to compliance by the issuer with the conditions and covenants of
rhis Indenture as may be required from time to time by such rules and re~:,ru la tions; and

                (c)    Transmit by mail to the Noteholders, within 30 days after the filing thereof
wi th the Indenture Trustee, in the manner and to the extent provided in TI A Secti on 313(c), such
summaries of any information. documen ts and reports required to be filed by the Issuer, if any.
pursuant to Section 3.24(a) and (b) as may be required by rules and regulations prescribed from
time to time by the SEC.

The lndcnturc Trustee may conclusively rely and accept such reports from the lssuer as fulfilling
the requirements of this Section 3.24, with no further duty to examine such reports or to
determine whether such reports comply with the prescribed timing, rules and regulations of the
SEC. Delivcry of such reports to the Indenture Trustee is for informational purposes only and
the Indenture Trustee's receipt of such shall not constitute constructive notice of any information
contained therein or determinable from information contained therein, including the Issuer's
compliance with any of its covenants hereunder (as to which the Indenture Trustee is cntiilcd to
rely on an Officers' Certiticate).

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                SECTION 3.25 Rule 144A Information. For so long as any of the Private
Notes are outstanding and are "restricted securities" within the meani ng of Rule 144(a)(3) of the
Securities Act, (i) the lssuer will provide or cause to be provided to any holder of such Notes and
any prospective purchaser thereof designated by such a holder, upon the request of such holder
or prospective purchaser, the infonnation required to be provided to such holder or prospective
purchaser by Rule 144A(d)(4) under the Securities Act; and (ii) the Issuer shall update such
in formation from time to time in order to prevent such information from becoming fa lse and
misJcading and wi ll take such other actions as arc necessary to ensure that the sa1c harbor
exemption from the registration requirements of the Securities Act under Rule 144A is and will
be avai lable for resales of such Private Notes conducted in accordance.with Rule I 44A.

                                               ARTICLE TV

                                        Satisfaction and Discharge

                SECTION 4.0 I Satisfaction and Discharge of Indenture. This Indenture shall
cease to be of further effect with respect to the Notes except as to (i) rights of registration of
transfer and exchange, (ii) substitution of mutilated, destroyed, lost or stolen Notes, (iii) rights of
holders of the Notes to receive payments of principal thereof and interest thereon, (iv) Sections
3.03, 3.04, 3.05, 3.08, 3. I 0, 3. 12 and 3. 13, (v) the rights, obligations and immunities of the
Indenture Tntstee hereunder (i ncluding the rights of the Indenture Trustee under Section 6.07
and the obligations of the Indenture Trustee under Seclion4.02) and (vi) the rights ofholders of
the Notes. as beneficiaries hereof with respect to the properry so deposited with the Indenture
Tntstee payable to aUor any of tbem, and the lndenture Tntsree. on demand of and at the
expense of the Issuer, shall execute proper instruments acknowledging satisfaction and discharge
of this Indenture with respect to the Notes, when:

                                    (A)   a period of367 days has expired alter all Notes theretofore
                   authenticated and delivered (other than (i) Notes that have been destroyed, lost or
                   stolen and that have been replaced or paid as provided in Section 2.05 and
                   (i i) Notes for whose payment money has theretofore been deposited in trust or
                   segregated and held in tmst by the Issuer and thereafter repaid to the Issuer or
                   discharged from such trust, as provided in Section 3.03) have been delivered to
                   the Indenture Trustee for cancellation;

                                  (B)     a period of367 clays has expired after Lhe later or (i) the
                   date on wh ich no 1\otes are outstanding or (ii) the date on which Lhe Issuer has
                   paid or caused to be paid all other sums otherwise payable hereunder by the
                   l ssuer; and

                                    (C)     the Issuer has delivered to the Indenture Trustee an
                   Officers' Certificate of the Issuer and an Opinion of Counsel, each meeting th~
                   applicable requirements of Section I I .0 I and. subject to Section 11 .02, each
                   stating that all conditions precedent herein provided for relating to the satisfaction
                   and discharge of this Indenture have been complied with.



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                SECTION 4.02 Application of Trust Mooex. All moneys deposited with the
Indenture Trustee pursuant to Section 4.0 I hereof shall be held in trust and applied by it, in
accordance with the provisions of the Notes and this Indenture, to the payment, either directly or
through any Paying Agent, as the Indenture Trustee may determine, to the holders of the
particular Notes for the payment of which such moneys have been deposited with the Indenture
Tn1stee, of all sums due and to become due thereon for principaJ of and interest on each Class of
Notes; but such moneys need not be segregated from other funds except to the extent required
herein or required by law.

                SECTION 4.03 Repayment ofMoneys Held by Paying Agent. In connection
with the satisfaction and discharge of this Indenture with respect to the Notes, all moneys then
held by any Paying Agent ocher than the Indenture Tntstee under the provisions of this Indenture
with respect to such Notes shall, upon demand of the Issuer, be paid to the Indenture Tmstee to
be held and applied according to Section 3.03 and thereupon such Paying Agent shall be released
from all further liability with respect lo such moneys.

                                             ARTICLE V

                                               Remedies

                SECTION 5.0 I Events of Default. "Event of Default", wherever used herein,
means any one of the following events (whatever the reason for such event of Defau lt and
whether it shall be voluntary or involuntary or be effected by operation of law or pursuant to any
j udgment, decree or order of any court or any order, rule or regulation of any administrative or
govcnunental body):

                         (i)      default in the payment of any interest on any Note when the same
         becomes due and payable, and such default sha ll continue for a period of three (3)
         Business Days (provided, however, so long as (x) any of the Class A Notes are
         outstanding, each holder of any Class B Note or Class C Note or the ~ote Owner of any
         such Class D Note or Class C Note by such holder's acceptance of such Class B Note or
         Class C Note or beneficial interest therein, as the case may be, shall be deemed to have
         consented to the delay in payment of interest on such Class 8 Note or Class C Note and
         to have waived its right to institute suit for enforcement of any such payment, or (y) any
         of the Class B )lotcs are outstanding, each holder of any Class C Note or the Note Owner
         of any such Class C Nole by such holder's acceptance of such Class C Note or beneficia l
         interest therein, as the case may be, shall be deemed to have consented to the delay in
         payment of interest on such Class C Note and to have waived its right to institute suit for
         enforcement of any such payment); or

                          (ii)   default in the payment of the principal of any Note (x) when the
         same becomes due and payable (bul only to the extent there exists suffic ient A vailablc
          funds, therefor). or (y) on Lhe final Maturity Date witb respect thereto; or

                        (iii)   default in the observance or perfonnance ofany covenant or
          agreement of the lssucr made in this Indenture or any other Basic Document (oU1cr th<m a
          covenant or agreement, a default in the observance or pcrfonnancc of which is elsewhere

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          in this Section specifically dealt with), or any representation or warranty of the Issuer
          made in this Indenture or any other Basic Document or in any cet1ificate or other writing
          delivered pursuant hereto or in connection herewith proving to have been incorrect in any
          material respect as of the time when the same shall have been made, and such default
          shall continue or not be cured, or the circumstance or condition in respect of which such
          misrepresentation or warranty was incorrect shall not have been eliminated or otherwise
          cured, for a period of 30 days after there shall have been given, by registered or certified
          mail, to the lssuer by the Indenture Trustee or to the issuer and the indenture Trustee by
          the Interested 1oteholders, representing not less than 25% of the Outstanding Amount of
          the applicable Classes of Notes; a written notice specifying such default or incorrect
          representation or warranty and requiring it to be remedied and stating that suc h notice is a
          notice of Default hereunder; or

                           (iv)   the filing of a decree or order for relief by a court having
          jurisdiction in the premises in respect of the Issuer or any substantial part o f the Indenture
          Trust Estate in an involuntary case under any applicable Federal or state bankruptcy,
          insolvency or other s imilar law now or hereafter in effect, or appointing a receiver,
          liquidator, assignee, custodian, trustee, sequestrator or similar ofticial of the Issuer or for
          any substantial part of the Indenture Trust Estate, or ordering the winding-up or
          liquidation of the Issuer's affairs, and such dec ree or order shall remain unstayed and in
          effect for a period of 60 consecutive days; or

                           (v)     the commencement by the Issuer of a voluntary case under any
          applicable Federal or state bankruptcy, insolvency or other simi lar law now or hereafter
          in effect, or the consent by the Issuer to the entry of an order for relief in an involuntary
          case under any such Jaw, or the consent by the Issuer to the appointment or taking
          possession by a receiver, liquidator, assignee, custodian, trustee, sequestrator or simi lar
          official of the lssuer or for any substantial part ofthe Indenture Trust Estate. or the
          making by the Issuer of any general assignment for the benefit of creditors, or the failu re
          by the Issuer generally to pay its debts as such debts become due, or the taking of action
          by the Issuer in furtherance of any of the foregoing.

                SECTIO ' 5.02 Acceleration of Maturity: Rescission and Annulment. If an
Event of Default should occur and be continuing, then and in every such case the Indenture
Trustee at the direction of the l ntere~ted Noteholders representing not Jess than a majority of the
Outstanding /\mount of' the appl icable Classes ofNotes, shall declare aln the Notes to be
immediately due and payable, by a notice in writing to the Issuer (and to the Indenture Trustee if
given by the holders of the Notes). and upon any such declaration the unpaid principal amount of
the Notes, together with accrued and unpaid interest thereon through the date of acceleration,
shall become immediately due and payable.

At any time after such declaration of acceleration of maturity has been made and be tore a
judgment or decree for payment of the money due has been obtained by the Indenture T rustee as
hereinafter in th is Article V provided, the Interested Notcholders representing not less than a
majority of the Outstanding Amount of the applicable Classes of Notes, by wrillcn notice to the
Issuer and the Indenture Trustee, may rescind and annul such declaration and its consequences iC:


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                          (i)     the Issuer has paid or deposited with the Indenture Trustee a sum
         sufficient to pay:

                                 (A)      all payments of principal of and interest on al l Notes, and
                   all other amounts that would then be due hereunder or upon such Notes if the
                   Event of Default giving rise to such acceleration had not occurred; and

                                 (B)     all sums paid or advanced by the Indenture Trustee
                   hereunder and rhe reasonable compensation, expenses, disbursements and
                   advances of the Indenture Tmstee and its agents and counsel; and

                        (ii)   all Events of Default, other than the nonpayment of the principa l of
         the Notes that have become due solely by such acceleration, have been cured o:r waived
         as provided in Section 5.12.

No such rescission shall affect any subsequent default or impair any right consequent thereto.

                 SECTION 5.03 Collection oflndcbtedncss and Suits for Enforcement by
Indenture Trustee. (a) The Issuer covenants that if (i) default is made in the payment of any
interest on any Note when the same becomes due and payable, and such default continues for a
period of three Business Days, or (ii) default is made in the payment of the principal on the
related Final Maturity Date of a Class ofl\otcs when the same becomes due and payable in
accordance with Section 2.07(b), the Issuer will, upon demand of the Indenture Trustee, pay to
the Indenture Trustee, for the benefit oflhe holders of the Notes, the whole amount then due and
payable on such Noles for principal and interest, with intterest upon the overdue principal, and, to
the extent payment at such rate of interest shall be legal ly enforceable. upon overdue installments
of interest at the rate speci tied in Section 2.07 and in addition thereto such further amount as
shall be sufficient to cover the costs and expenses of collection, including the reasonable
compensation, expenses, disbursement~ and advances of the Indenture Trustee and its agents and
counsel.

                (b)    ln case the Issuer shall rail forthwith to pay such amounts upon such
demand, the Tndenture Trustee, in its own name and as trustee of an express trust, may, or shall at
the writlen direction of the Interested Noteholdcrs, repr~enting not less than a majority of the
Outstanding Amount of the appl icable Classes ofNotes, institute a Proceeding for the collection
of the stuns so due ~md unpaid, and prosecute such Proceeding to judgment or final decree, and
enfo rce the same against the Issuer or other obligor upon such Notes, and collect in the manner
provided by law out of the property of the lssuer or other obi igor upon such Notes wherever
situated, the mon<:ys adjudged or decreed to be payable.

                (c)     lfan Event ofDefault occurs and is continuing, the Indenture Trustee
may, or shall at the written direction of the Interested Noteholders, representing not Jess than a
majority of the Outstanding Amount of the applicable Classes of Notes, as more particularly
provided in Section 5.04, proceed to protect and enforce its rights, the rights of the holders of the
Notes, as applicable, by such appropriate Proceedings as the Indenture Trustee shall deem most
effective to protect and enforce any such rights, whether for the specific enforcement of any
covenant or agreement in this Indenture or in aid of the exercise of any power granted herein, or

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to enforce any other proper remedy or legal or equitable right vested in the Indenture T rustee by
this Indenture or by law.

                (d)      In case there shall be pending, relative to the Issuer or any other obligor
upon the Notes. or any Person having or claiming an ownership interest in the Indenture Tru ~ t
Estate, Proceedings under Title I I o f the United States Code or any other applicable Federal or
state bankruptcy, insolvency or other similar law, or in case a receiver, assignee or trustee in
bankruptcy or reorganizat ion, liquidator, sequestrato r or similar orlicial shall have been
appointed for or taken possession of the Issuer or its property or such other obl igor or Person, or
in case of any other comparable judicial Proceedings relative to the Issuer or other obligor upon
the Notes, or to the cred itors or property of the Issuer or such other obligor, the Indenture
Trustee, irrespecti ve o f whether the principal o f any Notes shall then be due and payable as
therein expressed o r by declaration or otherwise and irrespective ofwhcther the Indenture
Trustee shall have made any demand pursuant to the prov isions of this ection, may. or shall at
the written direction of the Interested Noteholders representing not less than a majority of the
Outstanding Amount of the applicable Classes o f Notes, be entitled and empowered, by
intervention in such proceedings or otherwise:

                          (i)     to file and prove a claim or claims for the whole amount of
         pr incipal or and interest 0111 each Class of Notes owing and unpaid in respect o f the Notes
         and to file such other papers or documents as may be necessary or advisable in order to
         have the c laims of the Indenture I rustee (including any claim for reasonable
         compensation to the Indenture Trustee and each predecessor Indenture Trustee, and their
         respective agents, attorneys and counsel, and for reimbursement or all expenses and
         liabilities incurred. and al l advances made. b) the Indenture Trustee and each predecessor
         Indenture rrustee, except as a result of negligence or bad faith) and the holders o f the
           otes allowed in such Proceedings;

                        (ii)    unless prohibited by applicable law and regulations, to vote on
         behalf of the holders or the Notes in any election of a trustee, a standby trustee o r Person
         performing similar functions in any such Proceedings;

                         (iii)   to collect and receive any moneys or other proper!) payable or
         deliverable on any such claims and to distribute all amounts received with respect to the
         cla ims of the holders of the Notes and of the lncle.nture Trustee on their behalf;

                         (iv)    to file such proofs of c lai m and other papers or documents as may
         be necessary or advisable in order to have the claims of the Indenture T rustee or the
         holders o f the Notes allowed in any judicial proceedings relative to the Issuer, its
         creditors and its property; and

                         (v)   to take any other action w ith respect to such claims including
         participating as a member of any official comm itLcc o r cred itor' s appointed in the matters
         as it deems necessary or advisable;

      and any trustee, receiver, liquidator, custodian or other similar official in any such
Proceeding is hereby authorized by each of such ho lders of the Notes to make payments to the

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Indenture Trustee, and, in the event that the Indenture Trustee shall consent to the making of
payments directly to such holders of the Notes to pay to the Indenture Trustee such amounts as
shall be sufficient to cover reasonable compensation to the [ndenture Trustee, each predecessor
Indenture Trustee a nd their respective agents, attomeys and counsel, and all other expenses and
liabilities incurred, and all advances made, by the lndemure Trustee and each predecessor
Indenture T rustee except as a result of negligence or bad faith.                                                   '
                (c)     Nothing herein contained shall be deemed to authorize the indenture
Trustee to authorize or consent to or vote for or accept or adopt on behalf of any holder of the
Notes any plan of reorganiution, arrangement, adjustment or composition affecting the Notes or
the rights of any holder of the Notes thereof or to authorize the Indenture Tmslee to vote in
respect of the claim of any ho lder of the Notes in any such proceeding except, as aforesaid, to
vote for the election of a trustee in bankmptcy or similar Person.

                (f)     All rights of action and of asserting claims under this Indenture, or under
any of the Notes may be enforced by the Indenture Trustee without the possession of any of the
Notes or the production thereof in any trial or other Proceedings relative thereto, and any such
action or Proceedings instituted by the Indenture Trustee shall be brought in its own name as
trustee of an express trust, and any recovery ofj udgment, subject to the payment of the expenses,
disbursements and compensation of the Indenture Trustee, each predecessor Indenture T rustee
and their respective agents and attorneys, shall be for the ratable benefit of the holders of the
Notes.

               (g)     In any Proceedings brought by the Indenture Trus tee (and also any
Proceedings involving the interpretation of any provision of this lndellntre to which the
Indenture Trustee shall be a party), the Indenture Trustee shall be held to represent all the holders
of the Notes and it shall not be necessary to make any ho Icier of the Notes a party to any such
Proceedings.

               SECTION 5.04 Remedies; Priorities. (a) If an Event of Default shall have
occurred and be continuing, the Indenture Trustee may, or shall at the written direction of the
Interested Noteholders representing not less than a majority of the Outstanding Amount of the
applicable Classes of Notes (or such different percentage as set forth below), do one or more of
the following (subject ro Section 5.05):

                         (i)      institute Proceedings in its own name and <IS trustee of' an express
          tmst for the collection of all amounts then payable on the Notes or under this Indenture
          with rc~pcct thcrdo, whether by declaration or otherwise, enforce any judgment obtained,
          and collect from the Issuer and any other obligor upon such Notes moneys adjudged due;

                          ( ii)   institute Proceedings from time to time for the complete or partial
          foreclosure o f this Indenture with respect to the Indenture Trust Estate securing t he
          Notes;

                          (iii)   exercise any remedies of a secured party under the UCC and take
          any other apj)l'Opriatc actiom to protect and enforce the rights and remedies of the
          Indenture Tntstec and the holders of the Notes; and

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                         (iv)    sell the Indenture Trust Estate securing the Notes or any portion
         thereof or rights or interest therein, at one or more public or private sales called and
         conducted in any manner permitted by law;

         provided, however, that the Indenture Trustee may not sell or otherwise liquidate the
indenture Trust Estate securing the Notes fo llowing an Event of Default, other than an Event of
Oef."lult described in Section 5.01 (i) or (ii), unless (x) I00% of the Notcholdcrs consent to such
sale, (y) the proceeds of such sale arc sufficient to pay in full the principal of and the accrued
interest on the Notes or (z) the Indenture Trustee determines that the collections on the Financed
Student Loans would not be sufficient on an ongoing basis to make all payments on the Notes as
such payments would have become due if such obligations had not been declared due and
payable, and the Indenture Trustee obtains the consent of the holders ofNotes, representing not
less than a 66.67% of the Omstanding Amount of the Notes.

                 (b)     1f the Indenture Trustee collects any money or property under this Article
V following the occurrence and during the continuation of an Event of Default with respect to
Sections 5.0 l (i) or 5.0 I(i i) above or following the acceleration of the Notes pursuant to Section
5.02 upon an Event of Default with respect to Sections 5.0 I(i) or 5.01(ii) above, it shall pay out
the money or property in the following order:

                 FIRST: QIQ rata based upon amounts owed to the Owner Trustee for amounts due
         under Article X or the Trust Agrcemcnr, tO the Indcnturc Trustee for amounts due under
         Section 6.07, to the Irish Paying Agent for amounts due under the Irish Paying Agent
         Agreement, to the Grantor Trustee for amounts due under the Grantor Trust Agreement,
         to the Back-up Administrator for amounts due under the Back-up Administration
         Agreement, not to exceed $250,000 per annum in the aggregate, and (ii) to the Servicer
         and the Administrator, the unpaid fees owed by the Issuer to such parties;

                 SECO='lD: to the holders of the Class A "otes for amounts due and unpaid on the
         Class A Notes fo r interest, ratably, without preference or priority of any kind, according
         to the amounts due and payable on the Class A Notes for interest;

                 TIIIRD: to the holders of the Class A Notes for amounts due and unpaid on the
         Class A t\otes for principal, ratably, without preference or priority of any kind, according
         to the amounts due and payable on the Cl<1ss A :-.:otes for principal, until the Outstanding
         Amount of the Class A Notes is zero.

                FOURTH: to the holders of the Class B Notes for amounts due and unpaid on the
         Class B Notes for interest. without preference or priority of any kind, according to the
         amounts due and payable on the Class B Notes for interest;

                FIFTH: to the holders of the Class B Notes for amounts due aod unpaid on the
         Class 8 Notes for principal, without preference or priority of any kind, according to the
         amounts due and payable on the Class 8 Notes for principal, until the Outstanding
         Amount of the Class B Notes is zero;



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                SIXTH: lo the holders of the Class C 1\'otes for amounts due and unpaid on the
         Class C Notes for interest, without preference or priority of any kind, according to the
         amounts due and payable on t11e Class C Notes for interest;

                SEVENTH: to the holders of the Class C Notes for amoums due and unpaid on
         the Class C Notes for principal, without preference or priority of any kind, according to
         the amounts due and payable on the Class C otcs for principal, until the Outstanding
         Amount of the Class C Notes is Lero;

                EIGHTH: QI.Q rata based upon amounts owed, to the Owner Trustee, the Indenture
         Trustee, the Irish Paying Agent, the Grantor Trustee and the Back-up Administrator, for
         all amounts due and owing to such parties under the 13asic Documents to the ex tent not
         paid pmsuant to priority FIRST above, to FMC, for any unreimbursed Advances made
         pursuant to Section 8. 1I, and to the Servicer, the Admi nistrator and the Guarantee
         Agency, for all amounts due and owing to such parties pursuant to tlle Basic Documents,

                !\!NTH: to the holders of the Class A-5 Notes any Prepayment Penalties
         remaining unpaid from prior Distribution Dates; and

                 TENTH: to the Owner Trustee (on behalf of the Issuer), for distribution to the
         Certificatcholdcrs in accordance with the terms of the Trust Agreement.

The Indenture Trustee may tix a record date and payment date for any payment to the holders of
the Notes pursuant to this Section. At least 15 days before such record date, the Issuer shall mail
to each holder of the Notes and the Indenture Trustee a notice that states the record date, the
payment date and the amount to be paid.

                (c)     lfthc lndenntrc Trustee collects any money or property under this Article
V following the occurrence and during the continuation of an Event of Default other than with
respect to Sections 5.0 I(i) or 5.0 I(ii) above or following the acceleration of the Notes pursuant
to Section 5.02 upon an Event of Default other than with respect to SecUons 5.01 (i) or 5.0 I (ii)
above, it shall pay out the money or property in tJ1e foll owing order:

                 FIRST: illQ rata based upon amounts owed (i) to the Owner Trustee for amounts
         due under Article X of the Trust Agreement, to the Indenture Trustee for amounts due
         under Section 6.07, to the Irish Paying Agent for amounts due under the Irish Paying
         Agent Agreement, to the Gralllor Trustee for amo~unts due under the Gramor Trust
         Agreement, to the Back-up Administrator for amounts due under the Back-up
         Administration Agreement, not to exceed $250,000 per annum in the aggregate, and (ii)
         to the Servicer and the Administrator, the unpaid fees owed by the Issuer to such parties;

                 SECOND: to Lhe holders of the Class A . otes for amounts due and unpaid on the
         Class A Notes for interest. ratably. without preference ot· priority of any kind, according
         to the amounts due and payable on the Class A Notes for interest;

                Tf-IJRD: to the holders of the Class B Notes for amounts due and unpaid on the
         Class B Notes for interest, without preference or prioriry of any kind, according to the
         amounts due and payable on tlle Class B r\otes for interest;
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                FOURTH: to the holders of the Class C Notes for amotmts due and unpaid on the
         Class C Notes for interest, without preference or priority of any kind, according to the
         amounts due and payable on the Class C Notes for interest;

                 FIFTH: to the ho lders of the Class A Notes for amounts due and unpaid on the
         Class A Notes for principal, ratably, without preference or priority of any kind, according
         to the amounts due and payable on the Class A Notes for principal, unti l the Outstanding
         Amount of the Class A Notes is zero.

                SIXTH: to the holders of the Class 8 Notes for amounts due and unpaid on the
         Class B Notes for principal. without preference or priority of any kind, according to the
         amounts due and.pay<tble on the Class B Notes for principal, until the Outstand ing
         Amount of the Class 8 Notes is zero;

                SEVEI\TH: to the holders of the Class C Notes for amounts due and unpaid on
         the Class C Notes for principal, without preference or prio1ity of any kind, according to
         the amounts due and payable on the Class C otes for principal, until the Outstanding
         Amount of the Class C Notes is zero;

                EIGl !TH: Q!Q rata based upon amounts owed, to the Owner Trustee, the
         Indenture Trustee, the [rish Paying Agent, the C'n·antor Trustee and the Back-up
         Administrator, for all amounts due and owning to such parties undt:r Lht: Basic
         Documents to the extent not paid pursuant to priority fo'IRST above, to FMC, for any
         unreimburscd Advances made pursuant to Section 8. 11 , and to the Servicer, the
         Administrator and the Guarantee Agency, for all amounts due and owing to such parties
         pursuant to the Basic Documenrs;

                NINTH: to the holders of the Class A-5 Notes any PrcpRyment Penalties
         remaining unpaid from prior Distribution Dates; and

                 TENTH: to the Owner Trustee (on behalf of the Issuer), for distribution to the
         Ccrtificatcholdcrs in accordance with the terms of the Trust Agreement.

                SECTION 5.05 Optional Preservation of the Financed Srudent Loans. If the
Notes have been declared to be due and payable under Section 5.02 fo llowing an Event of
Default and such declaration and its consequences have not been rescinded and annulled, the
Indenture Trustee may, or shall at the written direction of the lnlerested Noteholders,
representing not less than a majority of the Outstanding Amount of the applicable Classes of
Notes, elect to maintain possession of the related Indenture Trust Estate. lt is the desire of the
parties hereto and the holders of lhe Notes that there be at all times sufficient funds for the
payment of principal of and interest on each Class of Notes. and the Indenture Trustee shall take
such desire into account when determining whether or not to maintain possession of the
Indenture TJUst Estate. In determining whether to maintain possession of the Indentu re Trust
Estate, the Indenture Trustee may, but need not, obtain and rely upon an opinion of an
Independent investment banking or accounting firm of national reputation as to the feasibility of
such proposed action and as to the sufficiency of the Indenture Trust Estate for such purpose.


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                 SECTION 5.06 Limitation of Suits. No holder of the Notes shall have any
right to institute any Proceeding, judicial or otherwise, with respect to this fndenture, or for the
appointment of a receiver or rmstee, or for any other remedy hereunder, unless the followi ng
conditions listed below arc satisfied:

                      (i)      such holder of the Notes has previously given written notice to the
        Indenture Trustee of a continuing Event of Default;

                        (ii)    the holders of not less than 25% of the Outstanding Amount of the
        )Jotes, in the aggregate, have made written request to the Indenture Tmstee to institute
        such Proceeding in respect of such Event of Default in its own name as Indenture Trustee
        hereunder;

                       (iii) such holders of the Notes have offered to the lndenture Trustee
        reasonable indemnity against the costs, expenses and liabilities to be incurred in
        complying with such request;

                       (iv)    the Indenture Trustee for 60 days after its receipt of such notice,
        request and offer of indemnity has failed to institute such Proceeding; and

                       (v)     no direction inconsistent with such written request has been given
        to the indenture Trustee during such 60-day period by the holders of a majority of the
        Outstanding Amount of the Notes in the aggregate;

         it being understood and intended that no one or more holders of the 1 otcs shall have any
right in any mnnncr.whatevcr by virtue of, or by availing of, any provision of this Indenture to
affect, disturb or prejudice the rights of any other holders of the Notes or to obtain or to seck to
obtajn priority or preference over any other holders of the Notes or to enforce any right under
this Indenture, except in the manner herein provided.

Jfthe Indenture Trustee sha ll receive conflicting or inconsistent requests and indemnity from two
or more groups of Note holders, each representing less than a majority of the Outstanding
Amount of the Notes, the Indenture Trustee in its sole discretion may dctermjne what action, if
any, shall be taken, notwithstanding any other provisions of this Indenture.

                SECTION 5.07 Unconditional Rights ofNoteholders To Receive Principal and
interest. Notwi Lhstanding any other provisions in this Indenture, any holder of any Class of
Notes shall have the right, which is absolute and unconditional, to receive payment of the
principal of and interest. on such Note. on or after the respective due dates thereof expressed in
such Note or in this Indenture and to institute suit for the enforcement of any such payment, and
such right shall not be impaired without the consent of such holder of any such Class of Notes.

                SECTION 5.08 Restoration of Rights and Remedies. Ir the Indenture Trustee
or any holder of :--Joles has instiruted any Proceeding to enforce any righr or remedy under this
Indenture and such Proceed ing has been discontinued or abandoned for any reason or has been
detennined adversely to the Indenture Trustee or to such holder ofNotes, then and in every such
case the Issuer, the Indenture Trustee and the holders of the Notes shal l, subject to any
determination in such Proceeding, be restored severally and respectively to their former positions
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hereunder, and thereafter all rights and remedies of the Indenture Trustee and the holders of the
Notes shall continue as though no such Proceeding had been instituted.

               SECTION 5.09 Rights and Remedies Cumulative. No right or remedy herein
conferred upon or reserved to the Indenture Trustee or to the holders of the Notes is intended to
be exclusive of any other right or remedy, and every right and remedy s hall, to the extent
permitted by law, be cumulative and in addition to every other right and remedy given hereunder
or now or hereafter existing at law or in equity or otherwise. The assertion or employment of
any right or remedy hereunder, or otherwise, shall not prevent the concurren t assertion or
employment of any other appropriate right or remedy.

                SECTION 5. 10 Delay or Omission Not a Waiver. No delay or omission of the
Indenture Trustee or any holder ofNotes to exercise any right or remedy accru ing upon any
Default shal l impair any such right or remedy or constitute a waiver of any such Default or an
acquiescence therein. Every right and remedy given by this Article V or by law to the Indenture
Trustee or to the holders of the Notes may be exercised from time to time, and as often as may be
deemed expedient, by the Indenture Trustee or by the holders of the Notes.

               SECTION 5.11 Control by Noteholders. With respect to the Notes, the
Interested Noteholders, representing not les than a majority of the Outstanding Amount of the
applicable Classes of Notes (or, in each case, if only one Class is affected thereby, a majority of
the Outstanding Amount of such Class) shall havt: tht: right to direct the time, method and place
of conducting any Proceeding for any remedy available to the Indenture Trustee with respect to
the Notes or exercising any trust or power confetTcd on the Indenture Trustee; provided that:

                           (i)   such direction shall not be in conflict with any rule of law or with
         this 1ndenture;

                        (ii)   subject to the express terms of Section 5.04, any direction to the
         Indenture Trustee to sell or liquidate the Indenture Trust Estate shall be by the holders of
         not less than 100% of the Outstanding Amount of the Notes;

                        (iii)    if the conditions set forth in Section 5.05 have been satisfied and
         the Indenture Trustee elects to retain the Indenture Trust Estate pursuant to such Section,
         then any direction to the Indenture Trustee by the holders of less than I 00% of the
         Outstanding Amount of the 1 otcs, to sell or liquidate the Indenture Trust Estate shall be
         of no force and effect; and

                        (iv)    the Indenture Trustee may take any other action deemed proper by
         the fndcnture Trustee that is not inconsistent with such direction;

        provided, however, that, subject to Section 6.0 I, the Indenture Trustee need not take any
action that it determines might involve it in liability or might matcl'ially adve,·scly affect the
rights of any holders of the Notes not consenting to such action.

               SECTION 5.12 Waiver of Past Defaults. Prior to the declaration of the
acceleration of the Notes as provided in Section 5.02, the Interested Noteholders representing not
less than a majority of the Outstanding Amount of the applicable Classes ofNotes, may waive
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any past Default and its consequences except a Default (a) in payment when due of principal of
or interest on any Note or (b) in respect of a covenant or provision hereof which cannot be
modified or amended without the consen t of each holder of the Notes. In the case of any such
waiver, the Issuer, the Indenture Trustee and the holders of the Notes shall be restored to their
former positions and rights hereunder, respectively; but no such waiver shall extend to any
subsequent or other Default or impair any right consequent thereto.

Upon any such wa iver, such Defat1lt shall cease to exist and be deemed to have been cured and
not to have occurred for every purpose of this lndentme; but no such waiver shall extend to any
subsequent or other Defau lt or impair any right consequent thereto.

                 SECTION 5. 13 Undertaking for Costs. All parties to this Indenture agree, and
each holder of the Notes by such Noteholdcr's acceptance of any Note shall be deemed to have
agreed, that any court may in its discretion require, in any suit for the enforcement of any right or
remedy under this Indenture, or in any suit against the indenture Trustee for any action taken,
suffered or omitted by it as Indenture Trustee, the filing by any party litigant in such suit of an
undertaking to pay the costs of such suit, and that such court may in its discretion assess
reasonable costs, including reasonable attorneys' fees, against any party litigant in such suit,
havi ng due regard to the 1nerits and good faith of the claims or defenses made by such party
litigant; but the provisions of this Section shall not apply to (a) any suit instituted by the
Indenture Tmstee, (b) any suit instituted by any holder of the Notes or group of holders of the
Notes, in each case holding in the aggregate more than I 0% of the Outstanding Amount of the
Notes or (c) any suit instituted by a ny holder of the l\otes for the enforcement of the payment of
principal of or interest on any Note on or after the respective due dates expressed in such Note
and in this Indenture.

                 SECTION 5.14 Waiver of Stay or ExtensiQn Law~. The Issuer covenants (to
the extent that it may lawfully do so) that it will not at any time insist upon, or plead or in any
manner whatsoever, claim or take the benefit or advantage of, any stay or extension law
wherever enacted, now or at anytime hereafter in force, that may affect the covenants or the
pcrfo1mance of this Indenture; and the lssuer (to the extent that it may lawfully do so) hereby
expr~css l y waives al l benefit or advantage of any such law, and covenants that it wi ll not hinder,
delay or impede the execution of any power herein granted to the lndenture Trustee, but will
suffer and permit the execution of every such power as though no such law had been enacted.

                SECTION 5.15 Aclion Qn NQle.§. The fndenturc Trust~e's right to seek aJ1d
recover judgment on the Notes or under th is Indenture shall not be affected by the seeking,
obtajning or application or any other relief under or with respect to this Indenture. Neither tbe
lien of this Indenture nor any rights or remedies of the Indenture Trustee or the holders of the
Notes shall be impaired by the recovery of any j udgment by the Indenture Trustee against the
Issuer or by the levy of any execution under such judgment upon any portion of the Indenture
Tmst Estate or upon any ofthc assets of the Issuer. Any money or property collected by the
Indenture Trustee shall be applied in accordance with Section 5.04(b) or (c). as the case may be.

                SECTION 5.16 Performance and Enforcement of Certain Obligations. (a)
Promptly following a request from the Indenture Trustee. and at the Administrator's expense, the
Issuer shall take all such lawful action as the Indenture Trustee may request to compel or secure

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the performance and observance by the Depositor, the Sellers, the Administrator, the Back-up
Administrator, and the Servicer, as applicable, of each of their obligations to the Issuer under or
in connection with the Oasic Documents in accordance with the terms thereof. and to exercise
any and all rights, remedies, powers and privileges lawfully available to the Issuer under or in
connection with the Basic Docun11ents, including the transmission of notices of default and the
institution of legal or administrative actions or proceedings to compel or secure perfonnance by
the Depositor, the Sellers, the Administrator, the Back-up Administrator or the Servicer of each
of their obligations under the Basic Documents.

                (b)     If an Event of Default has occurred and is continuing, the Indenture
Tn1stee shall at rhe direction (which direction shall be in writing or by telephone (confirmed in
writing promptly thereafter)) of the [nterested Noteholders, representing not less than 66.67% of
the Outstanding Amount of the applicable Classes of Notes, exercise all rights, remedies,
powers, privileges and claims of the Issuer against the Depositor, the Sellers, the Administrator,
the Back-up Administrator, the Servicer or the Guarantee Agency under or in connection with
the Basic Documents, including the right or power to take any action to compel or secure
performance or observance by the Depositor, the Sellers, the Administrator, the Back-up
Administrator and the Servicer of each of their obligations to the Issuer thereunder and to give
any consent, request, notice, direction, approval, extension or waiver under the Basic Documents
and any right of the Issuer to take such action shall be suspended.

                SECTION 5.17 Notice of Defaults. Within 90 days after the occutTence of any
Default hereunder with respect to the Notes, the Indenture Trustee shall transmit in the manner
and to the extent provided in TlA Section 313(e), notice of such Default hereunder to which a
Responsible Officer of the Indenture Trustee has actual knowledge or is in receipt of a written
notice thereof in accordance with the terms of this Indenture, unless such Default shall have been
cured or waived; provided, however, that, except in the case of a Default in the payment of the
principal of or interest with respect to any Note, the Indenture Trustee shall be protected in
withholding such notice if and so long as a Responsible Officer of the Indenture Tmstee in good
faith determines that the withholding of such notice is in the interest of lhe Noteholders.

                                           ARTICLE VI

                                       The Indenture Trustee

               SECTJON 6.01       Duties oflndenture Trustee. (a) !fan Event ofDefault has
occurred and is continuing, the Indenture Trustee shall exercise the rights and powers vested in it
by this Indenture and use the same degree or care and skill in their exercise as a prudent person
wouJd exercise or use under the circumstances in the conduct of such person's own affairs.

                  (b)    Except during the continuance ofan Event of Default:

                         (i)    the I ndcnture Trustee undertakes to perfonn such duties and on ly
         such duties as are specifically set forth in this Indenture and the other Oasic Documents
         to which the Indenture Trustee is a party, and no implied covenants or obligations shall
         be read into this Indenture against the [ndenture Tntstce; and


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                         (ii)     in the absence of bad faith on its part, the Indenture Trustee may
          conclusively rely, as to the truth o f the statements and the correctness o fthe opinions
          expressed therein, upon certificates or opinions furnished to a Responsible Officer o f the
          I ndenturc Trustee and con forming to the requirements of this Indenture; provided,
          however, that the Indenture Trustee shall examine the certificates and opinions to
          determine w hether or not they conform to the requirements of this Indenture.

               (c)      The Indenture Trustee may not be relieved from l iability for its o wn
negligent action, its own negligent failure to act or its own w illful misconduct, except that:

                           (i)   this paragraph does not limit the ef fect of paragraph (b) o f this
            ectio n;

                         (ii)     the I ndenture Trustee shall not be liable fo r any error o fjudgment
          made in good faith by a Responsible Officer unless it is proved that the Indenture Trustee
          was negligent in a<;certaini ng the pertinent facts; and

                           (iii)   the Endenture Trustee shall not be liable with respect to any action
          it takes or o mits to take in good faith in accordance w ith a direction received by it
          pursuant to ection 5. 1I.

                (d)      Every prov ision of this Indenture that in any way relates to the Indenture
T rustee is subject to paragraphs (a), (b). (c) and (g) o f thi s Section 6.0 1.

                (c)    The Indenture Trustee shall not be liable to r interest on any money
received by it except as the Indenture Trustee may agree in v. riting " ith the Issuer.

               (f)     M oney held in trust by the Indenture Trustee need not be segregated from
other runds except to the extent required by Ia\\ or the terms of th i ~ l ndcnLurc.

                  (g)     No prov isio n of th is lndenrure shall require the Indenture 'I rustcc to
expend or risk its own funds or otherwise incur tinancial liability in the performance of any o r its
duties hereunder or in the excrc i ·e or any of its rights or powers, i f it shall have reasonable
grounds to believe that repayments of such funds or adequate indemnity satisfactOI) to it against
any loss. liabi lity or expense is not reasonably assured to it.

                 (h)     Except as expressly provided in the 13a~ i c Documents, the lndenlure
'I rustee shall have no obligation to administer, serv ice or collect the f-'inanced ' tudent Loans or
to maintain, monito r or otherw ise supervise the administration. ser vicing or collection of the
I· inanced Student Loans.

                (i)     In the event that the Indenture Trustee is the Paying /\gent or the N ote
Registrar, the rights and protections afforded to the Indenture Trustee pursuant to this lndentun.:
shall also be afforded to the Indenture Trustee in its capacity as Paying Agent or Note Registrar.

                    (j)      Every provision of this Indenture relating to the conduct or affecting the
liabi l ity o f or afro rding protection to the Indenture T rustee shall be subject to the prov isions o f
this cction 6.0 I .

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               SECTION 6.02 Rights oflndentmc Trustee. (a) The Indenture Trustee may
rely on any document believed by it to be genuine and to have been signed or presented by the
proper Person. The Indenture Tmstee need nor investigate any fact or matter stated in such
document.

                (b)       Before the Indenture Trustee acts or refrains from acting, it may require an
Officers' Certificate of the Issuer or an Opinion of Counsel. The Indenture Trustee shall not be
liable for any actio n it takes or omits to take in good fait h in reliance on such Officers ·
Certificate or Opinion of CounseL

                 (c)   The fndenture Trustee may execute any of the ttusts or powers hereunder
or perfom1 any du ties hereunder either directly or by or through agents or attorneys or a
custodian or nominee, and the lndenture Trustee shall not be responsible lor any misconduct or
negligence on the part of, or for the supervision of, any such agent, attorney, custodian or
nominee appointed with due care by it hereunder.

               (d)    The Indenture Trustee shall not be liable for any action it takes or omits to
take in good faith which it believes to be authori?:ed or within its rights or powers; provided.
however, that the Indenture Trustee's conduct does not constitute willful misconduct, negligence
or bad fa ith.

                (c)   The Indenture Tn1stcc may consu lt wiU1 counsel, aud the advice or opinion
of counsel with respect to lcgal mancrs relating to this Indenture and the Notes shall be full and
complete authorization and protection from liabi lity in respect to any action taken, omitled or
suffered by it hereunder in good faith and in accordance with the advice or opinion of such
counsel.

               (f)    In the event that the Person acting as Indenture Trustee is also acting as
secmitics intermediary, all the rights, powers. immunities and indemniti es afforded to the
Indenture Trustee under the Basic Documents shall also be afforded to the. ecurit ics
intermediary.

                (g)     Absent willful misconduct or fmud, the Indenture Trustee sha ll not be
liable for any punitive damages, regardless of the form of action and whether or not any such
damages were foreseeable or contemplated.

               (h)     The Indenture ·1rustee shall not be deemed to have notice of any Default
or Event of Defau lt unless a Responsible Officer of the Indenture Trustee has actual knowledge
thereof or unless written notice of any event 'vvhich is in fact such Default or Event of Default is
received by the Indenture Trustee at the Corporate Trust Office, and such notice references the
Notes under this Indenture.

               (i)    Any permissive right or authol'ity granted to the Indenture Trustee shall
not be construed as a mandatory duty.

                SECTION 6.03 Individual Rights of Indenture Trustee. The Indenture Trustee
in its individual or any other capacity may become the owner or pledgee of Notes and may
otherwise deal with the Jssuer or its Affiliates with the same righrs it would have if it were not
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Indenture Trustee. Any Paying Agent, 1\ote Registrar, co-registrar or co-paying agent may do
the same with like rights. rlowever, the Indenture Trustee must comply with Section 6.11.

                SECTION 6.04 Indenture Trustee's Disclaimer. The Indenture Trustee shall
not be responsible for and makes no representation as to the val idity or adequacy of this
Indenture or the Notes, it shall not be accountable for the Issuer's usc of the proceeds from the
Notes, and it shall not be responsible for any statement of the Issuer in the Indenture or in any
document issued in connection with the sale of the Notes or in the Notes other than the Indenture
Trustee's certificate of authentication.

                 SECTION 6.05 Notice of Defaults. If a Default occurs and is continuing and if
it is either actuall y known or written notice of the existence thereof has been received by a
Responsib le Officer of the Indenture Trustee, the Indenture Tmstcc shall mail to each holder of
the Notes notice of the Default within 90 days after it occurs. Except in the case of a Default in
payment of principal of or interest on the Notes, the Indenture Trustee may withhold the notice
to the holders of the Notes if and so long as a committee of its Responsible Officers in good faith
dctcnnincs that withholding the notice is in the interests of holders of the Notes.

               SECTTON 6.06 Reports by Indenture Trustee to Noteholders. The Indenture
Trustee shall deliver to each holder of the Notes (and to each Person who was a holder of the
Notes at any time during the appl icable calendar year) such infonnation as may be required to
enable such holder to prepare its Federal and state income tax returns.

                 SECTION 6.07 Compensation and Indemnity. The issuer shall pay to the
indenture Trustee from time to time reasonable compensation for all services rendered under this
Indenture, and also all reasonable expenses, charges, cou nsel fees and other disbursements,
including those of their attorneys, agents and employees, incurred in and about the perCormancc
of their powers and duties under this fndenture. The Tssuer further agrees to indemnify and save
the Indenture Trustee harmless against any liabilities which it may incur in the exercise and
perfonnance of its powers and dubes hereunder. and which are not due to its negligence or
wi llful misconduct, to the extent solely payable fro m the Indenture Trust Estate. To secure the
Indenture Trustee's right to receive amounts pursuant to this Section 6.07, the Indcnture Trustee
shall have a lien against the Indenture Trust Estate that is subordinate to the rights of the
.:-.loteholders. Without prejudice to its rights hereunder, when the Indenture Trustee incurs
expenses or renders services after a Default specified in Sections 5.0 I(iv) or (v) occurs. such
expenses and the compensation for such se::rvices (inclucli ng the fet\s and expenses or its agent
and cotmsel) shall constitute expenses of administration under the applicable bankmptcy law.
The provisions of this Section 6.07 shall survive the satisfaction and discharge of this Indenture
and the resignation or removal of the Indenture Trustee.

                SECTION 6.08 .fumlaccmcnt of indenture Trustee. No resignation or removal
of the Indenture Trustee and no appointment of a successor Indenture Trustee shall become
eiTective until the acceptance of appointment by the successor Indenture Trustee pursuant to this
Section 6.08. The Indenture Trustee may resign at any time by so notifying the lssuer. The
Administrator sha ll remove the lndenture Trustee if:

                            (i)   the Indenture Trustee fails to comply with Section 6. 11 ;

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                          (ii)   an Insolvency Event occurs with respect to the Indenture Trustee;

                          (iii)  a receiver or other public o fficer lakes charge of the Indenture
         Trustee or irts property; or

                          (iv)   the Indenture Trustee otherwise becomes incapable of acting.

Tflhe Indenture Trustee resigns or is removed or if a vacancy exists in the office oflnd entme
Trustee for any reason (the l nden~ure Trustee in such event being referred to herein as the
retiring Indenture Tmstcc), the Administrator shall promptly appoint a successor Indenture
Trustee.

A successor Indenture Trustee shall deliver a written acceptance of its a ppointmenllo the retiring
Inde nture Trustee and the Issuer. There upon the resignation or removal of the reti ring Indenture
T rustee shall become effective, and the successor Indenture Trustee sha11 have all the rights,
powers and duties of the Indenture Trustee under this Indenture. The successor Indenture
Tmstee shall mail a notice of its succession to the holders of the Notes and each Rating Agency.
The retiring Indenture Trustee shall promptly transfer all property held by it as Indenture Trustee
to the successor Indenture Trustee upon payment of all monies due and owing to the retiring
Indenture Trustee.

lf a s uccessor Indenture Tmstee does not take office within 60 days after the retiring lndent1•re
Trus tee resigns or is re moved, the retiring Indenture Trustee, the Issuer or the holders of a
majority in Outstanding Amount of the Notes may petition any court of competent jurisdiction
for the appointment of a successor Indenture Trustee.

lfthc Indenture Trustee fails to comply with Section 6.1l. any holder of the Notes may petition
any court of compete nt jurisdiction for the removal of the indenture Trustee and the appointment
o f a s uccessor Indenture Trustee.

Notwithstanding the replacemem of the Indenture Trustee pursuant to this Section. the Issuer's
and the Administrator's obligations under Section 6.07 shall continue for the benefit of the
reti ring Indenture Tntstee.

                 SEC'TIO 6.09 Successor Indenture Tntstee by Merger. lfthe lndenrure
Tntstee consolidates with, merges or convert into. or transfers all or substantia lly all its
corpo rate trust business or assets to, another corporation or banking association, the resulting,
surviving or transferee corporation without any further act shall be the successor Indenture
Trustee: provided that such corporation or banking association shall be otherwise qualified and
eligible under Section 6. J I. T he lndenturc Tmstcc shall provide the Rating Agencies prior
wrillcn notice or any such transacti on.

ln case at the time s uch successor or successors by merger, conversion or consolidation to the
Indenture Trustee shall succeed to the trusts created by this Indenture any ofthe Notes shall have
been authenticated but not delivered, any such successor to the Indenture Tmstee may adopt the
certificate of authentjcation of any predecessor trustee, and deliver such Notes so authenticated;
and in case at that time any of the N otes shall not have been authenticated, any successor to the
Indenture Tmstce may authenticate sttch Notes either in the name of any predecessor hereunder
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or in the name of the successor to the indenture Trustee; and in all such cases such certificates
shal l have the full force which it is anywhere in the Notes or in this Indenture provided that the
certificate of the lndenture Trustee shall have.

                SECTION 6.10 Appointment of Co-Trustee or Separate Trustee. (a)
Notwithstanding any other provisions of this Tndenture, at any time, for the purpose of meeting
any legal requirement of any jurisdiction in which any part of the Indenture Trust Estate may at
the time be located, the Indenture Trustee shall have the power and may execute and deliver all
instruments to appoint one or more Persons to act as a co-ll1Jstec or co-trustees, or separate
trustee or separate trustees, of all or any part of the Indenture Trust Estate, and to vest in such
Person or Persons, in such capacity and for the benefit of the holders of the Notes, such title to
the lndenture Trust Estate, or any paJt hereof, and, subject to the other provisions of this Section,
such powers, duties, obligations, rights and trusts as the Indenture Tmstee may consider
necessary or desirable. No co-tmstee or separate trustee hereunder shall be required to meet the
terms of eligibility as a successor trustee under Section 6.11 and no notice to holders of the Notes
of the appointment of any co-trustee or separate trustee shall be required under Section 6.08
hereof.

              (b)     Every separate trustee and co-trustee shall, to the extent permitted by law,
be appointed and act subject to the following provisions and conditions:

                        (i)    all rights, powers, duties and obligations conferred or itnposcd
        upon the Indenture Trustee shall be conferred or imposed upon and exercised or
        performed by the Indenture Trustee and such separate trustee or co-trustee jointly (it
        being understood that such separate trustee or co-tmstcc is not authorized to act
        separately without the Indenture Trustee joining in such act), except ro the extent that
        under any law of any jurisdiction in which any particular act or acts are to be performed
        the Indenture Trustee shall be incompetent or unqualilied to perform such act or acts, in
        which event such rights, powers, duties and obligations (including the holding of title to
        the indenture Trust Estate or any portion thereof in any such jurisdiction) shall be
        exercised and perfonned singly by such separate trustee or co-trustee, but solely at the
        direction of the Indenture Trustee;

                       (ii)   no trustee hereunder shall be personally liable by reason of any act
        or omission of any other trl!.lstcc hereunder; and

                      (iii)   the Indenture Trustee may at any time accept the res1gnation of or
        remove any separate trustee or co-trustee.

                 (c)     Any notice, request or other writing given to the Indenture Trustee shall be
deemed to have been given to each of the then separate trustees and co-trustees, as effectively as
if given to each of them. Every instrument appoiming any separate tntstee or co-tmstee shall
refer to this lndenttJre and the conditions of this A1ticle VI. Each separate tmstee and co-trustee,
upon its acceptance of the trusts conferred, shall be vested wi th the estates or property specified
in its instrument of appointment, either jointly with the 1ndenrure Trustee or separately, as may
be provided therein, subject to all the provisions of this Indenture, specifically including every
provision of this Indentu1·e relating to the conduct of, affecting the liability of, or affording

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protection to, the Indenture Tmstee. Every such instrument shall be filed with the indenture
Trustee.

                 (d)      Any separate trustee or co-trustee may at any time constitute the Indenture
Trustee, its agent or attorney-in-fact with full power and authority, to the extent not prohibited by
law. to do any lawful act under or in respect of this Indenture on 1ts behalf and in its name. rf
any separate trustee or co-trustee s hall die, become incapable of acting, resign or be removed, all
its estates, properties, rights, remedies and trusts shalt vest in and be exercised by the 1ndenturc
Trustee, to the extent pcnnitted by law, without the appointment of a new or successor trustee.

                SECTlON 6.1 1 Eligibility; Disqualification. There shall at all times be an
Indenture Trustee hereunder which shall be eligible to act as Indenture Trustee under TJA
Scclion 31 O(a)( I) and shall have a combined capital and surplus of at least $50,000,000 (and,
with respect to any successor Indenture Trustee, having a rating of at least "Baa3" from Moody's
unless the Rating Agency Condition is satisfied). If such corporation publishes reports of
condition at least annually, pursuant to law or the requirements of federal, state, territorial or
District of Columbia supervising or examining authority, then for the purposes of this
Section 6.11, the combined capita] and surplus of such corporation shall be deemed to be its
combined capital and surplus as set forth in its most recent report of condition so published. lf at
any time the Indenture Trustee shall cease to be eligible in accordance with me provisions of this
Section 6.11, it shall resign immediately in the manner and wirb the effect specified in this
Article VJ. Neither the lssuer nor any Ptmmn directly or indirectly contmlling or controlled by,
or under common control with, the Issuer shall serve as Indenture Ttustee.

                SECT10N 6.12 Back-up Certification. The Indenture Trustee shall provide the
Depositor with a certificate substantially in the form attached hereto as Exhibit 1 at the request of
the /\dministrator; provided that the Indenture Trustee shall have no responsibi lity to file such
certificate with the Securities and Exchange Commission.

                                           ARTICLE VII

                                  Notcholdcrs' Lists and Reports

                  SECTION 7.0 I Issuer To Furnish lndenture Trustee Names and Addresses of
)Joteholders. The Issuer wi II furnish or cause to be fimushed to the Indenture Trustee (a) not
more than five days after the earlier of (i) each Record Date and (ii) three momhs aner the last
Record Date, a list, in such form as the Indenture Trustee may reasonably require, of the names
and addresses of the holders of the Note· as of such Record Date, (b) at such other times as the
Indenture Trustee may request in writing, within 30 days after receipt by the Issuer of any such
request, a list of similar form and content as of a date not more than I 0 days prior to the rime
sl1ch list is furnished; provided, however, that so long as the Indenture Trustee is the Note
Registrar, no such list shall be required to be furnished.

              SECTION 7.02 Preservation oflnformation; Communications to Noteholders.
(a) The Indenture Trustee shall preserve, in as current a form as is reasonably practicable, the
names and addresses of the holders of the Notes contained in the most recent list fumished to the
Indenture Trustee as provided in Section 7.01 and the names and addresses of the holders of the

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Notes received by the Indenture Trustee in its capacity as ).lote Registrar. The indenture Trustee
may destroy any list furnished to it as provided in such Section 7.01 upon receipt of a new list so
furnished.

                 (b)    Upon receipt by the Indenture Trustee of any request by a holder of the
).lotcs to receive a copy of the cunent list of holders of the Notes, the Indenture Trustee shall
promptly notify the Administrator thereof by providing to the Administrator a copy of such
request and a copy of the list of holders of !he Notes produced in response thereto.

               (c)     The Indenture Trustee shall furnish to the holders of the Notes promptly
upon receipt of a written request therefor, duplicates or copies of all reports, notices, requests,
demands, certificates, financial statements and any other instruments furnished to the Indenture
Trustee under the Basic Documents.

               SECTION 7.03 Reports by Issuer. (a) The issuer sha ll cause the Administrator
to fumish the issuer, the indenture Trustee and the Grantor Trustee !he reports required by the
Administration Agreement and by Section 3.24 of this Indenture.

              (b)     Un less the Issuer otherwise detennincs, the fiscal year of the Issuer shall
end on June 30 of each year.

                                          ARTICLE VUJ

                              Accounts. Disbursements and Releases

                SECTION 8.0 I Collection of Money. (a) Except as otherwise expressly
provided herein, the Lndenture T rustee may demand payment or delivery of, and shall receive
and collect, directly and without intervention or assistance of any fiscal agent or other
intermediary, all money and other property payable to or receivable by the Indenture Trustee
pursuant to this Indenture. The Indenture Trustee shall apply all such money received by it on
beha ICof the holders of the Notes as provided in this lndenrure. Except as otherwise expressly
provided in this Indenture, if any default occurs in the making of any payment or performance
under any agreement or instrument thai is part of the Indenture Trust Estate, the Indenture
Trustee may take such action as may be appropriate to enforce such payment or performance,
including the institution and prosecution of appropriate Proceedings. Any such action sball be
without prejudice to any right to claim a Default under this Indenture and any right to proceed
thereafter as provided in Article V.

               (b)     The rndenn1re Trustee shall deposit into the Collection Account all
payments it receives from the Servicer by or on behalf of the Obligors with respect to the Student
Loans, and all related Liquidation Proceeds and Recoveries, as collected during the Col lection
Period. For purposes ofthis Article Vlll, the phrase "payments by or on behalf of Obligors"
shall mean payments made with respect to the Student Loans, as applicable, by or on behalf of
borrowers thereof and the Guarantee Agency.

              (c)    The Indenture Trustee shall deposit into the Collection Account the
aggregate Purchase Amount it receives with respect to Purchased Student Loans and all other
amounts received from the Sellers or the Servicer with respect to the Student Loans. The
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Indenture Trustee also shall deposit into the Collection Account all amounts transferred from the
Pre-Funding Account pursuant to Sec[ion 8.1 0.

                SECTION 8.02 Trust Accounts. (a)(i) The Issuer, for the benefit of the
Notcholders and itself, shall estab lish and maintain in the name of the Indenture Trustee an
Eligible Deposit Account (the "Collection Account"), bearing a designation clearly indicating
that the funds deposited therein arc held for the benefit of the Notcholdcrs and the Issuer. The
Collection Account wi ll initially be established as a segregated account at U.S. Bank National
Association in the name of the Indenture Trustee. The Issuer will make an initial deposit on the
Closing Date into the Collection Account of cash equal to $ 1,282,227,853, of which
$1, 196, 164,477 amount will be disbursed on the Closing Date by the Indenture Trustee, pursuant
to written instructions of the Administrator, to acquire the Initial Financed Student Loans
and $86,063,376 wi ll be disbursed on the Closing Date by the Indenture Trustee, pursuant to
written instructions of the Administrator, to pay the First Marblehead Corporation a structuring
advisory fee.

                 (ii)     The Issuer, for the benefit of the Notcholdcrs and itself, shall establish and
         maintain in the name oflhe Indenture Trustee an El igible Deposit Account (the "Reserve
         Account"), bearing a designation clearly indicating that the funds deposited therein are
         held for the benefit of the Noteholders and the Issuer. The Reserve Account initiaJly wil l
         be established as a segregated account at U.S. Bank National Association in the name of
         the Indenture Trustee. The Issuer will make an mi lia! deposit on the Closing Date into the
         Reserve Account of cash or certain Eligible Investments equal to the Reserve Account
         Initial Deposit.

                 (iii) The Issuer, for the benefit of the Notcholders and itself, shall establish and
         maintain in the name or the l ndenture Trustee an El igible Deposit Account (I he "Pre-
         Funding Account"). bearing a designation clearly indicating that the l'unds deposited
         therein are held for the benefit of the l\"'oreholders and the Issuer. The Pre-runding
         Account ini tially will be establis heel as a segregated account at U.S. Bank National
         Association in the name of the Indenture Trustee. The Issuer will make an initial deposit
         on the Closing Date into the Pre-Funding Account of cash or certain Eligible Investments
         equal to $143,530,079 (the " Pre-Funded Amount"), to be used for the purchase of
         Subsequent Student Loans and as provided by Section 8. 10 hereof.

               (b)     Funds on deposil in the Colleclion Account, the Reserve Accouru and the
Pre-Funding Accou nt (together, the ''Trust Accounts") shall be invested by the Indenture Trustee
(or any custodian or designated agent with respect to any amounts on deposit in such accounts)
in Eligible Investments pursuant to written insrrucrions by the Issuer; provided, however, it is
understood and agreed that the Indenture Trustee shall not be liable for any Joss arising from
such investment in Eligible Investments. All such Eligible Investments shall be held by (or by
any custodian on behalf of) the Indenture Tntstce for the benefit of the Noteholdcrs and the
Issuer; provided that on the Business Day preceding each Distribution Date on which funds in
the applicable Trust Account will be needed, all interest and other investment income (net of
losses and investment expenses) on funds on deposit therein shall be deposited into the
Collection Account and shall constitute a portion of the Available Funds for such Distribution
Date. Other than as described in the following proviso or as otbetwise pem1itted by the Rating

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Agencies, funds on deposit in the T!·ust Accounts shall be invested in Eligible Jnvcsllncnls that
w ill mature so that such funds w ill be available at the close o f business on the Business Day
preceding the fo llow ing Distribution Date for which such funds arc needed; p rovided, however,
that funds on deposit in T rust Accounts may be invested in Elig ible Investments o f the Indenture
T rustee which may mature so that such funds w ill be ava ilable on such Distribution Date. Funds
deposited in a T rust A ccount on a Business Day which immediately precedes a Distribution Date
uron the maturity o f any Elig ible lnvesLJnents are not requ ired to be in vested overnight.

                 (c)      The Indenture Trustee, on behalf o fthe Notehold ers. shall possess all
right, title and interest in all funds on deposit from time to time in the Trust Accounts and in all
proceeds therco f (including all income thereon) and all such funds, in vestments. proceeds and
income shall be part of the Indenture Trust Estate. Subject to the Issuer 's power to instruct the
Indenture T rustee pursuant to paragraph (b) above, the Trust Accounts shall be under the so le
dominion and contro l o rthe Indenture Trustee for the benefit of the Noteho ldcrs. I f. at any time,
any of the rrust Accounts ceases to be an El igible Deposit Account, the Indenture T rustee (or the
Administrator on its behal f) agrees, by its acceptance hereto. that it shall within 5 13usiness Days
(or such longer period, not to exceed 30 calendar days, as to which each Rating Agency may
consent) establish a new Trust A ccount as an Eligible Depos it Account and shall transfer any
cash and/or any investments to such new rrust Account. In connection w ith the foregoing. the
Issuer agrees that, in the C\'ent that any of the Trust Accounts are not accounts w ith the I ndenturc
Trustee, the Issuer shall notify the Indenture Trustee. in w riting, promptly upon any o f such Trust
Accounts ceasing to be an l~li g iblc Depos it Account.

                                    (A)      With respect to the Trust Account Property, the Indenture
                    T rustee agrees, by its acceptance hereof, that:

                                    (B)     any T rust Account Property that is held in depos it accounts
                    shall be held solely in Elig ible Deposit Accounts: and. subject to Section 8.02(b).
                    each such Eligible Deposit Account shall be subject to the exclusive custod) and
                    control of the Indenture 'I rustec, and the Indenture I n 1stcc shall ha\ c so le
                    signature authority w ith respect thereto;

                                   (C)     an) rrust Account Property shall be Del ivered to the
                    Indenture ·rrustcc in accordance '' ith the definition of··l)el ivery" and shall be
                    held. pendi ng maturity or di-.position. solely b) the Indenture I ru~tec or such
                    other Person acting solely lo r the Indenture rru~tce as requ ired lo r Del ivery;

                                     (D)     In the event that the Indenture Trustee, in its capacity as
                    securities intermedi ary has or subsequently obtains b) agreement, operation of
                    law or other" isc a security interest in the T rust Accounts or any security
                    entitlement credited thereto, the Indenture T rustee, in its capacity as securities
                    intermediary hereby agrees that such security interest shal l be subordinate to the
                    secur ity interest o flhe Indenture T rustee for the benclit of the Noteho ldcrs. I he
                    financial assets and other items deposited to the Trust Accounts w ill not be
                    subject to deduction, set-of f. banker's lien. or any other ri ght in favor o f any
                    person other than the Indenture Trustee (except that the Indenture Trustee. in its
                    capacity as securities intermediary may set o iT (i) the face amount of any checks

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                  which have been credited to the Trust Accounts but are subsequently returned
                  unpaid because of uncollected or insufficient funds, and (ii) all amounts due to it
                  in respect of its customary fees and expenses for the routine maintenance and
                  operation of the Trust Accounts;

                                 (E)    The Issuer shall instruct the Indenture Trustee to make
                  withdrawals and payments from the Trust Accounts for the purpose ofpcm1ilting
                  the Indenture Trustee to carry out its duties under this lndenturc;

                                  (F)     Each Trust Account provided for herein to be established
                  and maintained by the Indenture Tmstee shall be so established and maintained by
                  the Indenture Trustee, as securities intermedia1y (in such capacity, the "Secllrities
                  Tntermedi<uy"). Each item of"investmcnt property" within the meaning of
                  Section 9- 102(a)(49) of the New York Uniform Commercial Code (which shall
                  not be deemed to include the Financed Student Loans or the re lated notes
                  evidencing the Financed Student Loans) or '·money" within the meaning of
                  Section 1-201(24) of the New York Uniform Commercial Code, that is (whether
                  investment properly, security, instrument or cash) cred ited to such a Trust
                  Account shall be treated as a "financia l asset" within the meaning of Section 8-
                  102(a)(9) of the New York Uniform Commercial Code. The State ofNew York
                  shall be deemed to be the Securities Intermediary's location for purposes of the
                  New York Uniform Commercial Code, and each such Trust Accounl (as well as
                  the securities entitlements related thereto) shall be governed by the laws of the
                  State ofNew York; and

                                  (G)    Following the filing of any UCC financing statement with
                  respect to this Indenture the Indenture T rustee hereby agrees to notiry the lssucr
                  six months prior to the expiration or such filing of the need to file continuation
                  statements, and to the extent permitted by law, the Issuer shall execute and file
                  such continuation statements, ;md provide a copy thereof to the Indenture Trustee
                  along with an Opinion of Counsel to the effect that all action has been taken as is
                  necessary to maintain the lit.:n and security interest created by this Inden ture.

                (d)    On each Distribution Date on which neither a Class B Note Interest
Trigger nor a Class C Note Interest Trigger IS in effect , the Administrator shall instruct the
Indenture Trustee in writing (based on the infonnation contained in the Administrator's Onicer's
Certificate and each related Servicer 's Report deliven.:d pursuant to the Administration
Agreement) to make the following deposits and distributions to the Persons or to the account
specified below by II :00 a.m. (New York time), to the extent of the amount of Available Funds
in the Collection Account, in the following order of priority (except as otherwise provided in
Sections 5.04(b) or 5.04(c) and the Indenture Trustee shall comply with such instruction:

               (I) FIRST, ru:Q rata: (i) Indenture Trustee fees and expenses, Irish Paying Agent
        fees and expenses, Grantor Trustee fees a nd expenses, Owner Trustee fees and expenses,
        and Back-up Administrator fees and expenses in a n aggregate amount not to exceed
        $250,000, 1~ ill!.l}!l_fTI; (ii) Servicing Fees with respect to the Financed Student Loans due
        on such Distribution Dale and a ll prior unpaid Servic ing Fees allocated to the Financed

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         Student Loans up to the amount specified in the Servicing Agreement, and
         (iii) Admin istration Fees with respect to the Financed Student Loans up to the amount
         specified in the Administration Agreement;

               (2) SECOND, to TERI, the additional guaranty fees pursuant to the TERl
         Guaranty Agreements, which will be deposited into the TERT Pledge Fund;

                 (3) THIRD, to the holders of each Class o f Class A Notes, the Noteholders'
         lnterest Distribution Amount for such Class A Notes on a Q[Q rata basis;

                (4) FOURTH , to the holders of the Class 8 Notes, the Notcholdcrs' Interest
         Distribution Amount for the Class B Notes;

                (5) FIFTH, to the holders of rhe Class C Notes, the Noteholders' fnteresl
         Distribution Amount for the Class C Notes;

                (6) SIXTH, to the Reserve Account, an amount, up to the amount, if any,
         necessary to reinstate the balance of the Reserve Account to the greater of the amounts
         determined pursuant to clauses (b) and (c) of the definition of Specified Re ervc Account
         Balance;

                  (7) SEVENT! r, to T ERI, to purchase Rehabilitated Fin:mced Shtdent Loans;

                   (8) EIGHTH, to the holders of (i) the C lass A- 1 Notes, until paid in full , then (i i)
         the Class A-2 Notes. until paid in fu ll, then (iii) the Class A-3 Notes, until paid in fu ll,
         then (iv) the Class A-4 ~otes, until paid in full, then (v) the Class A-5- 1 Notes, until paid
         in full, then (vi) the Class 1\-5-2 Notes, until paid in full, then (vii) the Class 1\-5-3 Notes,
         until paid in full, then (viii) the Class A-5-4 Notes, until paid in full, then (ix) the Class
         A-5-5 otes, unti l paid in full, then (x) the Class A-5-6 Notes. until paid 111 full, then (xi)
         the Class A-5-7 0lotes, until paid in full. then (xii) the Class A-5-8 Notes, until paid in
         full, then (xi ii) the Class A-5-9 Notes, until paid in full, then (xiv) the Class A-5-10
         Notes, unti l paid in full, then (xv) the Class A-5- 1 I Notes, unti l paid in full, then (xvi) the
         Class A-5- 12 Notes, until paid in fu ll, then (xv ii) the Class A-5- 13 Notes, until paid in
         full, then (xviii) the Class A-5-14 Notes, until paitl in full, then (x ix) the Class A-5- 15
         Notes, until paid in full, then (xx) the Class A-5-16 otes, until paid in full , then (xxi) the
         Class /\-5- 17 otcs, until paid in fu ll, then (xxli) the Class /\-5-18 Notes, until paid in
         full, then (xxiii) the Class A-5-1 9 Notes, unti l paid in full, then (xxiv) the Class A-5-20
         _ otes, until paid in fu ll. then (xxv) the Class A-5-21 1\otes, until paid in full, then (xxvi)
         the Class A-5-22 Notes, until paid in full, then (xxvi i) the Class A-5-23 Notes, until paid
         in tltll, then (xxviii) the Class A-5-24 Notes, until paid in full , then (xxix) the Class A-5-
         25 Notes, until paid in full, then (xxx) the Class B Notes, until paid in full, and fin ally,
         (xxxi) the Class C Notes, until paid in full, the Noteholders' Principal Distribution
         Amount; provided, however, that on and after the Stcpdown Date and so long as no
         Subordinate Note Principal Trigger has occurred and remains in effect, the C lass.A
         Percentage of the Notcholders' Principal Distri bution Amount will be payable to the
         Class A Notes (in the same order of priority set forth above), the Class B Percentage of
         the Noteholders' Principal Distribution Amount will be payable to the Class B Notes and

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         the Class C Percentage of the Noteholders' Principal Distribution Amount will be
         payable to the Class C Notes until paid in full ;

                 (9) NINTH. Jilll rata: (i) any unreimburscd Advances to FM C and (ii) for all
         amounts in excess of thc maximum amounts specified in priority FIRST: for Indenture
         Trustee fees and expenses pursuant to the Indenture; for Irish Paying Agent fees and
         expenses pursuant to the Irish Paying Agent Agreement; for Grantor Trustee fees and
         expenses pursuant to the Grantor Trust Agreement; Owner Trustee fees and expenses
         pursuant to the T111st Agreement; for Back-up Administrator fees and expenses pursuant
         to the Back-up Administration Agreement; indemnities, fees and expenses of the
         Servicer; and the portion of the Administration Fee and expenses allocated to the Notes
         and all unpaid Administration Fees and expenses from prior Collection Periods a llocated
         to the Notes;

                 ( I0) TENTH, (a) if a Turbo Trigger is in effect, to the holders of the Notes, any
         remaining amounts as payment of principal allocated among the Noteholdcrs as described
         in priority EIGTITI I until the Outstanding Amount of each Class of Notes is reduced to
         zero;

                (I I)    ELEVE T H, to the holders of the Class A-5 Notes any Prepayment
         Penalty for that Distribution Date and any Prepayment Penalties remaining unpaid from
         prior Distribution Dates; and

                ( 12) TWELFTH, to f MC, any unpaid and accrued structuring advisory fees,
         and then to the Certificateholders, any remaining amounts.

         Notwithstanding the foregoing, for each Distribution Date on which (i) a Class B Note
Interest Trigger is in effect, amounts payable pursuant to priority FOURTH and priority FIFTH
wi ll instead be paid following priority El GHTH, and (ii) a Class C Note Interest Trigger is in
effect, amounts payable pursuant to priority FIFTH will be paid following priority EIGHT II.

                SECTION 8.03 General Provisions Rcgardjng Accounts. (a) So long as no
Default shall have occurred and be conti nuing, a ll or a portion or the runds in the Trust Accounts
shall be invested in Eligible Investments and reinvested by the Indenture Trustee upon Issuer
Order, subject to the provisions of Section 8.0 I(b); provided, however, that funds in the Pre-
Funding Account shall be invested only in Eligible Investments described in clause (a) of the
definition thereof. A ll income or other gain from investments of moneys deposited in the Trust
Accounts shall be deposited by the Indenture Trustee in the Collection Account, and any loss
resulting from such investments shall be charged to such Trust Account. The Issuer will not
direct the Indenture Trustee to make any investment of any funds or lo sell any investment held
in any of the Tmst Accounts unless the security interest granted and perfected in such account
will continue to be perfected in such investment or the proceeds of such sale, in either case
without any further action by any Person, and, in connection wiih any direction to the lndenture
Trustee to make any such investment or sale, if requested by the Indenture Trustee, the Issuer
shall deliver to the lndenture Trustee an Opinion of Counsel, acceptable to the Indenture Trustee,
to such effect.


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                (b)    Subject to Seclion 6.0l(c), the Indenture Trustee shall not in any way be
held liable by reason of any insufficiency in any of the Trust Accounts resulting from any loss on
any Eligible Investment included therein except for losses attributable to the lndennrre Tmstee's
failure to make payments on such Eligible Investments issued by the Indenture Trustee, jn its
commercial cApAcity as principal obligor and not as tmstee, in accordance with their terms.

                (c)      Tf (i) the Issuer shall have failed to give investment directions for any
f'uncls on deposit in the Trw.;t Accounts to the Indenture Trustee by 10:00 a.m. Eastern Time (or
such other time as may be agreed by the Issuer and Indenture Trustee) on any Business Day; or
(ii) a Default shall have occurred and be continuing, but the Notes shall not have been declared
due and payable pursuant to Section 5.02, or, if such Notes shall have been declared due and
payable following an Event of Default, amounts collected or receivable from the Indenture Trust
Estate are being applied in accordance with Section 5.04 as if there had not been such a
declaration; then the Indenture Trustee shall, to the fullest extent practicable, invest and reinvest
funds in the Tmst Accounts in one or more Eligible Investments.

                SECTION 8.04 Release oflndenture Trust Estate. (a) Subject to the payment
of its fees and expenses pursuant to Section 6.07, the Indenture Trustee may, and when required
by the provisions of this lndenlure shall, execute instruments to release property from the lien of
this Indenture, or convey the lndenrure Trustee's interest in the same, in a manner and under
circumstances that are not inconsistent with the provisions of this Indenture. No party relying
upon an in:strurm:nl executed by the Indenture Trustee as provided in this Article Vlll shall be
bound to ascertain the Indenture Trustee's authority, inquire into the satisfaction of any
conditions precedent or see to the application of any moneys.

                (b)    The Indenture Trustee shall, at such time as there arc no 1\otes
Outstand ing and all sums due the Indenture Trustee pursuant to Section 6.07 have been paid,
release any remaining portion of the Indenture Tmst Estate that secured the Notes from the lien
of this Indenture and release to the Issuer or any other Person entitled thereto any funds then on
deposit in the Tnrsr Accounts. The Indenture Trustee shall release property from the lien of this
Indenture pursuant to this Section 8.04(b) only upon receipt of an Issuer Request accompanied
by an Officers' Certificate of the Issuer and an Opinion of Counsel meeting the applicable
requirements of Section 11.01.

                SECTION 8.05 OJli.niQn Qf Counsel. The Indent11l'e ·1rustee shall receive at
lea~f seven days' notice when requested by the Issuer to take any action pursuant to Section
8.04(a), accompan ied by copies of any instmments involved, and the Indenture Trustee shall also
require, except in connection with any action contemplated by Section 8.04(c), as a condition to
such action, an Opinion of Counsel, in form and substance satisfactory to the Indenture Tmstee,
stating the legal effect of any such action, outlining the steps required to complete the same, and
concluding that all conditions precedent to the taking of such action have been complied with
and such action will not materially and adversely impair the security for the Notes or the rights
of the holders of the Notes in contravention of' the provisions of thil> Indenture. Counsel
rendering any such opinion may rely, without independent investigation, on the accuracy and
validity of any certificate or other instrument delivered to the Indenture Trustee in connection
with any such action.


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                SECTION 8.06 Cost of issuance Account. The Issuer shall establish and
maintain in the name of the Indenture Trustee an Eligible Deposit Account (the "Cost of
Issuance Account"). The Cost oflssuance Account shall not be a Trust Account and the
Noteholders shall have no interest in the amount deposited therein. The Cost of Issuance
Account initially wjll be established as a segregated account at U.S. Bank National Association
in the name of the Indenture Trustee. The fssuer shall make a deposit into the Cost of fssuance
Account on the Closing Date in an amount equal to $4,300,000. Upon receipt of written
instructions from Lhc Administrator, the Indenture Trustee shall remit funds on deposit in the
Cost of Issuance Account to pay the costs and expenses incurred by the Issuer in connection with
issuing the Notes. Commencing 60 days after the Closing Date, the Indenture Trustee shall remit
funds, if any, remaining in the Cost of issuance Account as directed in writing by the
Administrator.

                SECTION 8.07 Application of Collections. (a) With respect to each Financed
Student Loan, all collections (including all Guarantee Payments) with respect thereto for the
Collection Period shall be applied to interest and principa l on such Financed Student Loan by
aiJocating to interest the portion of such collection equal to the product of (A) the applicable
interest rate on such Financed Student Loan, (B) the unpaid principal balance of such Financed
Student Loan, and (C) the period of time elapsed since tJ1e preceding payment of interest on such
Financed Student Loan was made (over the actual number of days in a year) (" Interest
Collections") and by allocating the remainder of such collection to principal.

                     (b)   All Liquidation Proceeds shall be applied to the related Financed Student
Loan.

                SECTION 8.08 Reserve Account. (a) On the Closing Date, the Issuer shall
deposit the Reserve Account Initial Deposit into the Reserve Account. The Indenture Trustee
shall deposit into the Reserve Aceount the amounts. if any, requi red to be deposited pursuant to
Sections 8.02 and 8.1 1.

                (b)     (i) If the amounts payable for any Distribution Date pursuant to Section
8.02(d)(l) exceed the amount distributed or allocated to the applicable parties on such
Distribution Date, the Administrator shall instruct the indenture Trustee in '>vriting to withdraw
from the Reserve Account on such Distribution Date an amount equal to such excess, to the
extent of funds available therein, and to distribute or allocate such amoums to the applicable
parties pro rata (based upon the amount owed to uch pani~!s) .

                           (ii)   [Reserved]

                            (iii)  If the amounts payable for any Distribution Date pursuant to
           Section 8.02(d)(2) exceed the amount transferred to the TERJ Pledge fund on such
           Distribution Date, the Admjnistrator shall instruct the Indenture Trustee in writing to
           wi thdraw from the Reserve Account on such Distribution Date an amount equal to such
           excess, to the ex~ent of funds available therein after giving effect to paragraphs (ib)(i)
           through (b)(i i) above, and to transfer such amount to the TERJ Pledge Fund.



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                         (iv)   If the Noteholders' Interest Distribution Amount with respect to
         the Class A Notes for a Distribution Date exceeds the amount distributed to the holders of
         the Class A Notes on such Distribution Date, the Administrator shal l instruct the
         Indenture Trustee in writing to w ithdraw from the Reserve Account on such Distribution
         Date an amount equa l to such exces~. to the extent of funds available therein after giv ing
         effect to paragraph (b)(i) through (b)(iii) above, and to distribute such amount QIQ rata
         (based on the amount of such excess allocable to the holders of the Class A Notes), to the
         holders of the Class A Notes entitled thereto.

                          ( v)    lf on the Final Maturity Date for a Class o f Class A 1'\otes, the
         outstanding principal balance of the appl icable Class of C lass A Notes (prior to giving
         effect to any distribution of principal thereon on such date) exceeds the amount of
         princ ipal distributed to the holders of the applicable C lass of C lass A Notes on s uch date,
         the Administrator sha ll instruct the Indenture Trustee in writing on such date to withdraw
         from the Reserve Account on such date an amount equal to such excess, to the extent of
         funds available therein , after giving effect to paragraphs {b)(i) through (b)(iv) above and
         to distribute such amount to tbe holders of the applicable Class of Class A Notes, in the
         same order and priority as is set forth in Section S.02(d)(8).

                         (vi)    lf the Noteholders' Interest Distribution Amount with respect to
         the Class B Notes for a Dis tribution Date exceeds the amount distributed to the holders of
         the Class D Notes on such Distribution Date, tht: Administrator s hall instnJCI the
         Indenture Trustee in writing to withdraw from the Reserve Account on such Distribution
         Date an amount equa l to such excess, to the extent of funds available therein after giving
         effect to paragraph (b )(i) through (b )(v) above, and to distribute such amount, to the
         holders o f the Class B f'\otes entitled thereto.

                         (vii) If on the Final Maturity Da te for the Class B Notes. the
         outstanding principal balance of the Class B Notes (prior to g iving effect to any
         distribution of principal thereon on such date) exceeds the amount of principal distributed
         to the holders of the C lass B Notes on such date, the Administrator shall instruct the
         Indenture Trustee in writing on such date to withdraw from the Reserve Account on such
         date an amount equal to such excess, to the extent of funds available therein, after giving
         effect to paragraphs (b)( i) through (b)(vi) above and to distribute such amount to the
         holders of the Class B 1\otcs.

                         (viii) Tfthe Noteholders'lnterest Distribution Amount with respect to
         the Class C Notes for a Distribution Date exceeds the amount distributed to the holders of
         the Class C Notes on such Distribution Date, the Administrator shall instruct the
         Lndcnture Trustee in writing to withdraw from the Reserve Account on such Distribution
         Date an ctmount equal to such excess, to the extent of funds avai lable therein after giv ing
         effect to paragraph (b)(i) through (b)(vii) above, and to di~trihutc such amount to the
         holders of the Class C 1'\otcs entitled thereto.

                         (ix)    If on the Final Maturity Date for the C lass C Notes, the
         outstanding principal balance of the Class C Notes (prior to giving effect to any
         distribution of principal thereon on such date) exceeds the amount of p1incipal distributed

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        to the holders of the Class C Notes on such date, the Administrator shall instruct the
        Indenture Trustee in wri ting on such date to withdraw from the Reserve Account on such
        date an amount equal to such excess, to the extent of funds available therein, after giving
        effect to paragraphs (b)(i) through (b)(viii) above and to distribute such amount to the
        holders of the Class C Notes.

                (c)    lfthe amount on deposit in the Reserve Account on any Distribution Date
(without giving effect to al l deposits or withdrawals therefrom on such Distribution Date) is
greater than the Specified Reserve Account Balance for such Distribution Date, the Issuer shall
instruct the Indenture Trustee in writing to deposit the amount of such excess into the Collection
Account for distribution on such Distribution Dare.

               SECTION 8.09 Statements to Notcholders. On each Detennination Date
preceding a Distribution Date, pursuant to the Administration Agreement tbe Administrator shall
provide to the Indenture Trustee (with a copy to the Owner Trustee and the Rating Agencies) for
the Indenture Trustee to forward on such succcccling Distribution Date to each holder of record
of the Notes a statement setting forth at least the following information as to the Notes, to the
extent applicable:

                        (I)     the amount of the distribution allocable to principal of each Class
                 of Notes;

                        {2)     the amount of the distributtion allocable to interest on each Class of
                 Notes, together with the interest rates applicable with respect thereto;

                         (3)     the Pool Balance as of the close of business on the la~t day of the
                 preceding Collection Period, after giving effect to the related payments allocated
                 to principal reported under clause (I) above;

                         (4)    the aggregate outstanding principal balance of each Class ofNotes
                 as of such Distribution Date, after giving effect to related payments allocated to
                 principal reported under clause (I) above;

                         (5)     for each Distribution Date (A) the amount of fees and expenses
                 paid to the Indenture Tmstce, the Owner Trustee and the Grantor Trustee; (B) the
                 amount of the Servici ng Fcc and cxpcn~es paid to the Serviccr; (C) the amount or
                 fees paid to TERl; (D) the amount of the Administration Fee and expenses paid to
                 the Administrator, and (E) the amount of the Back-Up Administration Fee and
                 expenses paid to the Back-Up Administrator, and, in each case. with respect to
                 such Collection Period, together with the amount, if any, rema ining unpaid after
                 giving effect to all such payments;

                        (6)      for each Distribution Date, the amount of the aggregate Realized
                 Losses for the Financed Student Loans, if any, for such Collection Period and the
                 balance of the Financed Student Loans that arc delinquent in each delinquency
                 period as of the end of such Collection Period;


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                           (7)     the balance of Lhe Reserve Account on such Distribution Date,
                   after giving effect to changes therein on such Distribution Date;

                          (8)    the amounts withdrawn from the Reserve Account on suc h
                   Distribution Date;

                           (9)    for Distribution Dates during the Funding Period, the remaining
                   Pre-Funded Amount on such Distribution Date, after giving effect to changes
                   therein during the related Collection Period;

                           (I 0) for the fi rst Distribution Date on or following the end of the
                   f-unding Period, the amount of any remaining Pre-Funded Amount that has not
                   been used to make Additional Fundi ngs with respect to Subsequent Student Loans
                   and is being deposited into the Collection Account;

                          (II)    the amount of any Advance with respect to such Distribution Date;

                          (12) the amount transfened to the TERl Pledge Fund to acquire
                   Rehabilitated Student Loans with respect to such Distribution Date; and

                          ( 13)   the amount of the distri bution allocable to Prepayment Penalties.

                          Each amount set forth pursuant to c lauses ( 1), (2), (3), (5) and (6) above
                  shall be expressed as a dollar amount per $50,000 of Original Principal Balance of
                  a Note. A copy of the statements referred to above may be obtained by any Note
                  Owner by a written request to the Indenture Trustee addressed to the Corporate
                  Trust Onice.

                SECTION 8. I 0 Pre-Funding Account. (a) On the Closing Date, the Issuer will
deposit in the Pre-Funding Account, S 143,530,079, to be used by the Trust to acquire Subsequent
Stude nt Loans and as otherwise provided in this Section 8. I0. On each Subsequent Transfer
Date during the Funding Period on which Subsequent Student Loans arc to be conveyed to the
Issuer, the Issuer shall deliver to th e Indenture Trustee a Student Loan Acquisition Certificate
substantially in the form attached as Exhibit B hereto and, instruct the Indenture Trustee in
writing to withdraw from the Pre-Funding Account an amount up to I I 3.25% of the sum of the
principal balance or, plus to the extent capitalized or to be capitalized upon commencement of
repay ment or during deferment or forbearance, accrued i t~ terest on, such Subsequent Student
Loans. The Administrator shall instruct the Indenture Trustee in writing to distribute such
amount as directed by the Administrator to purchase Subsequent Student Loans; provided,
however, upon each acquisition of Subsequent Student Loans, the amount deposited in the TERI
Pledge Fund must be equal to or greater than 5.75% of the principal balance of such Subsequent
Student Loans being acquired.

              (b)     On or prior to the fi rst Distribution Date following the end of the Funding
Period, the Administrator sha ll instruct the Indenture Trustee in writing to transfer on such
Distribution Date from the Pre-Funding Account to the Collection Account an amount equal to
the funds remaining in the Pre-r:unding Account. Any such funds so transferred shall be
considered Available Funds for the related Distribution Date.
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               SECTION 8.1 1 Advance~. (a) On or prior to any Distribution Date, a
Certificateholder may, but shall not be obligated to, make an optional deposit (each, an "Optional
Deposit") to the Reserve Account from funds to be released to such Cem·tificateholder pursua nt to
Section 8.02(d)(l 1) on such Distribution Date or othetwise. Any such Optional Deposit shall be
applied on the related Distribution Date in the same manner as other funds on deposit in the
Reserve Account on lhe related Distribution Date in accordance with Section 8.08.

               (b)     lf on any Determination Date the amount required to be distributed on the
upcoming Distribution Date pursuant to Section 8.02(d)(J), would exceed the sum of the
aggregate amount in the Collection Account and theRe erve Account, the AdminjsLrator, in its
sole option, may elect to deposit, or have an Affiliate deposit, in the Reserve Account (no later
than the Business Day immediately preceding such Distribution Date) an amount up to the
amount of such deficjency (such deposit, is referred to as arJ "Advance").

                                            ARTICLE IX

                                       Supplemental Indentures

               SECTION 9.0 I Supplemental Indentures Without Consent ofNoteholders. (a)
Without the consent of any holders of the Notes but with prior notice to the Rating Agencies, the
Issuer and the Indenture Trustee, when authorized by an Issuer Order, at any time and from time
to time, may enter into one or more indentures supplemental hereto, in form satisfat:tory to the
Indenture Trustee, for any of the following purposes:

                         (i)      to correct or amplify the description of any property at any time
         subject to the lien of this Indenture, or better to assure, convey and confirm unto the
         Indenture Trustee any property subject or required to be subjected Lo the lien of this
         Indenture, or to subject to the lien of this Indenture additional property;

                        (ii)    to evidence the succession, in compliance with the appl icable
         provisions hereof, of another p~rson to the Issuer, and the assumption by any such
         successor of the covenants of the lssuer herein and in the Notes contained;

                        (iii) to add to the covenant!> of the Issuer, for the benefit of the holders
         of the Notes, or to surrender any righl or power herein conferred upon the Issuer;

                        (iv)   to convey, transfer, assign, mortgage or pledge any property to or
         with the Indenture Trustee;

                            (v)     to cure any ambiguity, to correct or supplement any provision
         herein or in any supplemental indenture which may be inconsistent with any other
         provision herein or in any supplemental indenture or to make any other provisions with
         re...;;pcct to matters or questions arising under this Indenture or in any supplemental
         indenture; provided that such action hall not materially adversely affect the interests of
         the holders of the Notes; or

                       (vi)    to ev idence and provide for the acceptance of the appointment
         hereunder by a successor trustee with respect to the Notes and to add to or change any of
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          the provisions of U1is Indenture as shall be necessary to facilitate the administration of the
          tntsts hereunder by more than one Lntstee, pursua11tto the requirements of Article vr.

The Indenture Trustee is hereby authorized to join in the execution of any such supplemental
indenture and to make any further appropriate agreements and stipulations that may be therein
contained.

                (b)    T he Administrator, on behalfoftbe lssm:r and the Indenture T rustee,
when authorized by an Issuer Order, may, also without the consenr of any of the holders of the
Notes but upon satisfYing the Rating Agency Condition, enter into an indenture or indentures
supplemental hereto for the purpose of adding any provisions to, or changing in any manner or
eliminating any of the provisions of, this Indenture, including modifying in any manner the rights
of the holders of the Notes under this Indenture; provide,d , however, that such action shall not, as
evidenced by an Opinion of Counsel, adversely affect in any material respect the interests of any
holder o f the Notes.

                 SECTION 9.02 Supplemental Indentures with Consent ofNoteholders. The
Issuer and the Indenture Trustee, when authorized by an lssuer Order, a lso may, with prior notice
to the Rating Agencies, and with the consent of the Interested Noteholders holding a majority of
the Outstanding Amounr of the related Classes of Notes, enter into an indenture or indenntres
supplemental hereto for the purpose of adding any provisions to. or c hangjng in any manner or
eliminating any of the provisions of, this Indenture or of modifying in any manner the r ights of
the holders of the Notes under this Indenture; provided, however, that no such supplemental
indenture sha ll, without the consent of the holder of each Outstanding Note affected thereby:

                           (i)     change the date of payment of any installment of principal of or
          interest on each C lass of Notes, or reduce the principal amount thereof or the interest rate
          thereon. change the provisions of this Indenture relating to the application of collections
          on, or the proceeds of the sale of, the Indenture Trust Estate to payment of principal of or
          interest on the app licable Notes, or change any place of payment where, or the coin or
          currency in which, any Note or the interest thereon is payable, or impair the right to
          institute suit for the enforcement of the provisions of this Indenture requiring the
          application of funds available therefor, as provided in Article V, to the payment of any
          such amount due on the Notes on or aOer the respective due dates thereof;

                         (ii)    reduce the percentage of the Outstanding Amount of the Notes, the
          consent of the holders of which js required for any such supplemental indenture, or the
          consent of the holders of the Notes of which is required for any waiver of compliance
          with certain provisions of this Indenture or certain defaults hereunder and their
          consequences provided for in this Indenture;

                        (iii)     modify or alter the provisions of the proviso to the definition of the
          term "Outstanding11 ;

                          (iv)    reduce the percentage of the Outstanding Amount of the Notes
          required to direct the Indenture Trustee to direct the Issuer to sell or liquidate the
          Jndenture Trust Estate pursuant to Section 5.04;

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                       (v)     modify any provision of this Section except to increase any
        percentage specified herein or to provide that certain additional provisions of this
        Indenture or the other Basic Documents cannot be modified or waived without the
        consent of the holder of each Outstanding Note affected thereby;

                        (vi)    modify any of the provisions of this Indenture in such manner as to
        affect the calculation of the amount of any payment of interest or principal due on any
        applicable Note on any Distribution Date (including the calculation of any of the
        individual components of such calculation);

                         (vii) permit the creation of any Jien ranking prior to or on a parity with
        the lien of this Indenture w ith respect to any part of the Indenture Trust Estate o r, except
        as otherwise pennitted or contemplated here in, tem1inate the lien of this Indenture on any
        property at any time subject hereto or deprive any holder of any Note of the security
        provided by the lien of this Indenture; or

                        (viii)   change the definition of Interested Noteholders.

It shall not be necessary for any Act of ho lders of the No tes under this Section to approve thl!
particular fonn of any proposed supplementa l indenture, but it shall be sufficient if such Act
s hal l approve the substance thereof.

Promptly after the execution by the Issuer and the lndenrure Trustee of a ny supplemencal
indenture pursuant to this Section, the Indenture Trustee s hall mail to the holders of the Notes to
which such amendment or supplemental indenture relates a notice prepared by the Issuer setting
forth in general terms the substance of such supplemental indentme. Any fail ure of the Indenture
Trustee to mail such notice, or any defect therein, shall not, however, in any way impair or affect
the validity of any s uch supplementa l indenture.

                 SECTION 9.03 Execution of Supplemental fndenrures. In executing, or
permiuing the additional trusts created by, any supplemental indenture permitted by this Article
lX or the modifica tions thereby of the trusts created by this Indenture, the Indenture Trustee shal l
be entitled to receive, and subject to Sections 6.0 I and 6.02, shall be fully protected in relying
upon, an Opinion of Counsel stating that the execution of such supplemental indenture is
authorized or permitted by this Indenture. The Indenture Trustee may, bur shall not be obligated
to, ente r into any such supplemental indenture that affects the Indenture Trnstee 's own rights,
duties, liabilities or immunities under this Indenture or otherwise.

                SECTION 9.04 Effect Qf ~mental Indenture. Upon the execution of any
supplementa l indenture pursuant to the provisions hereof, this Indenture s hall be and be deemed
to be modified and amended in accordance therewith, and the respective rights, limitations of
rights, obligations, duties, liabilities and immunities under this Indenture of the Indenture
Tmstcc, the Issuer and the holders ofthe Notes shall thereafter be determined, exercised and
enforced hereunder subject in all respects to s uch modifications and amendments, and a lithe
terms and conditions of any such supplemental indenture shall be and be deemed to be part of the
tcnns and conditions of this Indenture for any and all purposes.

                  SECTION 9.05      [Reserved]
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                SECTION 9.06 Reference in Notes to Supplemental Indentures. Notes
authenticated and delivered after the execution of any supplemental indenture pursuant to this
Article IX may, and ifreqtlired by the Jn.denrure Trustee shall, bear a notation in fom1 approved
by the Jndenturc TnJstee as to any matter provided for in such supplemental indenture. If the
Issuer or the Indenture Trustee shall so dctennine, new Notes so modified as to conform, in the
opinion of the Indenture Tntstee and the Issuer, to any such supplemental indenture may be
prepared and executed by the Issuer and authenticated and delivered by the Indenture Trustee in
exchange for Outstanding Noles.

                SECTION 9.07 Conformity With the Trust Indenture Act. Every Supplemental
Indenture executed pursuant to this Article IX shall conform to the requirements of the TJA as
then in effect.

                                             ARTlCLE X

                                       Reporting Requirements

                SECTION 10.01 Annual Statement as to Compliance. The Issuer will cause the
Servicer to deliver to the Administrator, any applicable annual statements as to compliance
required by the Servicer's Servicing Agreement. Copies of any such annual statements will be
provided to the Rating Agencies rating the Notes.

                SECTION I 0.02 Annual Independent Public Accountants' Scrvic_ing Report.
Within 90 days of the end of the Servicer's regular fiscal-year or calendar-year audit period, the
Issuer shall cause the Servicer to cause a firm of independem public accountants to fumish a
statement to the Administrator and the Indenture Tt ustet: in accordance with the Servicing
Agreement. Copies of any such statement shall be provided to the Rating Agencies rating the
Notes.

                                            ARTlCLE XI

                                            Miscellaneous

                SECTION 11.0 I Compliance Certi licates and Opinions., etc. Upon any
application or request by the Issuer to the Indenture Trustee to take any action under any
provision of this lndcnntrc, the Issuer shall furnish to the Indenture Trust~e (i) an Offkcrs'
Certificate of the fssuer stating thart all conditions precedent, if any, provided for in this Indenture
relating to the proposed action have been complied with and (ii) an Opinion of Counsel stating
that in lhe opinion of such counsel all such conditions precedent, if any, have been complied
with, except that, in the case of any such application or request as to which the furnishing of such
documents is specifically required by any provision of this Indenture, no additiona l certificate or
opinion need be furnished.

Every certificate or opinion with respect to compliance with a condition or covenant provided for
in this Indenture shall include:



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